                                  Case 20-11924-JTD                 Doc 1        Filed 08/05/20           Page 1 of 166


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Prysm, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Spudnik, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  513 Fairview Way
                                  Milpitas, CA 95035
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Santa Clara                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.prysm.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Prysm, Inc.                                                                                   Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3343

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 20-11924-JTD                  Doc 1         Filed 08/05/20            Page 3 of 166
Debtor   Prysm, Inc.                                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                                25,001-50,000
    creditors                    50-99                                          5001-10,000                                50,001-100,000
                                 100-199                                        10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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                                               
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                                    Case 20-11924-JTD                 Doc 1     Filed 08/05/20            Page 6 of 166
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Delaware
 In re       Prysm, Inc.                                                                                       Case No.
                                                                               Debtor(s)                       Chapter      11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                70,000.00
              Prior to the filing of this statement I have received                                        $                70,000.00
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.
         
     Date                                                                     Charles J. Brown, III DE 3368
                                                                              Signature of Attorney
                                                                              Gellert Scali Busenkell & Brown, LLC
                                                                              1201 N. Orange Street
                                                                              Suite 300
                                                                              Wilmington, DE 19801
                                                                              302-425-5813 Fax: 302-425-5814
                                                                              cbrown@gsbblaw.com
                                                                              Name of law firm




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 Fill in this information to identify the case:
 Debtor name Prysm, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 11711 N. College                Attn: David                     Rent                                                                                                   $494,105.40
 LLC                             Ciechanowicz
 9339 Priority Way
 West Dr                         david@chanorep.c
 Suite 120                       om
 Indianapolis, IN
 46240
 Asia Optical Int'l,             Attn: Toni Hi                   Trade debt/Critical                                                                                  $1,909,319.69
 Ltd.                                                            Vendor
 Palm Grove House                tonyjhi@sintai.com
 P.O. Box 438
 TORTOLA, BVI
 AvNet Electronic                Attn: Robert L.                 Trade debt                                                                                               $88,584.73
 Marketing                       Pollak
 PO Box 100340
 Pasadena, CA                    gpa@glassberg-pol
 91189-0340                      lak.com
 Breakaway                       Attn: Kelly       Trade debt                                                                                                             $61,563.45
 Communications                  Fitzgerald
 381 Park Avenue
 South                           kfitz@breakaway.c
 Suite 1216                      om
 New York, NY 10016
 CMP Advanced                    Attn: Sindo                     Trade debt                                                                                             $106,629.36
 Mechanical                      Valverde
 Solutions Ltd.
 1241 Cascades                   svalverde@cmp-a
 Chateauguay,                    ms.com
 Quebec J6J 4Z2
 CANADA
 Crane Worldwide                 Attn: Lisa Mateos               Trade debt                                                                                               $62,745.30
 San Francisco
 P.O. Box 844174                 Lisa.Mateos@cran
 Dallas, TX 75284                eww.com




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Prysm, Inc.                                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Divco West Real                 Attn: Greg Walker               Rent                                                                                                 $2,832,139.57
 Estate
 Services, LLC                   gwalker@divcowes
 575 Market Street,              t.com
 35th Floor
 San Francisco, CA
 94105
 El Baba Smart                   Attn: Ihab Baba                 Trade debt                                                                                               $85,000.00
 Technology
 Dubai World Central             ihab.baba@babas
 PO Box 712948                   marttech.com
 DUBAI, AE
 ESRT 1350                       Attn: Todd Lawlor               Rent                                                                                                   $226,431.26
 Boradway LLC
 P.O. Box 28627                  tdl@sternbach.com
 New York, NY
 10087-8627
 FedEx                           Attn: Nathan                    Trade debt/Key                                                                                           $98,723.86
 PO Box 7221                     Motzko                          Vendor
 Pasadena, CA 91109
                                 nathan.motzko@fe
                                 dex.com
 Lohika Systems Inc              Attn: Daniel                    Trade debt/Critical                                                                                    $219,871.00
 1001 Bayhill Drive              Dargham                         Vendor
 # 108
 San Bruno, CA                   daniel.dargham@lo
 94006                           hika.com
 Min Aik Technology              Attn: Ewa Lee     Trade debt                                                                                                             $77,539.68
 Co. Ltd.
 12F-1, #492-1, Sec.1,           ewa.lee@minaik.co
 Wan Shou RD.,                   m.tw
 Kuei Shan Shiang,
 Tao Yuan Hsien
 TAIWAN
 Momentum                        Attn: Tamara                    Trade debt/                                                                                              $85,089.80
 Microsystems, Inc.              Saliba                          Critical Vendor
 2030 Duane Ave. #
 110                             tamara@momentu
 Santa Clara, CA                 mmicro.com
 95054
 OCR                             Attn : Joe Grillo               Trade debt/Key                                                                                           $87,014.01
 PO Box 369                                                      Vendor
 Goldenrod, FL                   joe@ocr-services.c
 32733                           om
 PQ Labs                         Attn: Anthony      Trade debt/Critical                                                                                                   $91,700.28
 3754 Spinnaker                  Cruzet             Vendor
 Court
 Fremont, CA                     anthony@pqlabs.c
 94538-6537                      om




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Prysm, Inc.                                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Prundential Overall             Attn: Patricia                  Trade debt                                                                                               $54,878.89
 Supply                          Conetta
 Cleanroom Service
 P.O.Box 11210                   patconetta@stacoll
 Santa Ana, CA                   ect.com
 92711-1210
 SPIRE HRA                                                       Trade debt                                                                                               $67,083.40
 One O'Hare, LP                  mcarroll@foxwibel.
 1700 Broadway                   com
 Suite 650
 Denver, CO 80290
 Trump Card Corp.                Attn: Marcus                    Trade debt                                                                                               $56,634.54
 23807 Aliso Creek               Sherwood
 Rd.
 Suite 200                       marcus@baxter-bai
 Laguna Niguel, CA               ley.com
 92677
 Whale Rock LLC                  Attn: Christopher               Rent                                                                                                     $79,485.86
 56 Winthrop St.                 Hart
 Concord, MA 01742
                                 ch@hartwright.co
                                 m
 Wilson Sonsini                  Attn: Scott Ruzas               Legal                                                                                                  $157,415.20
 Goodrich & Rosati
 P.O. Box 742866                 sruzas@wsgr.com
 Los Angeles, CA
 90074




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Prysm, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        4,636,132.16

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        4,636,132.16


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $     265,781,288.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        7,853,788.57


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        273,635,076.57




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Prysm, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number
                   Silicon Valley Bank
                   3003 Tasman Drive
            3.1.   Santa Clara, CA 95054                                    Payroll, Opex, Bank fee      6525                                           $0.00




            3.2.   Silicon Valley Bank                                      Accounts Receivables         1126                                           $0.00




            3.3.   Silicon Valley Bank                                      Cash Sweep Account           3451                                 $956,556.00




            3.4.   Silicon Valley Bank                                      Payrolls, Rents              4472                                  $75,899.00




            3.5.   Silicon Valley Bank                                      Credit Card Collateral       0359                                  $50,000.00




            3.6.   Silicon Valley Bank                                      Non-Personal Checking        6403                                        $113.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 1
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 Debtor            Prysm, Inc.                                                                Case number (If known)
                   Name

                     UBS Financial Service Inc.
                     The UBS Tower
                     1 North Wacker Dr.
            3.7.     Chicago, IL 60606                                      Reserves                         15DE            $653,439.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                             $1,736,007.91
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Concord Municipal Light (Utilty Deposit)                                                                  $12,000.00




            7.2.     SPIRE One O'Hare- Chicago (Security Deposit)                                                              $16,850.91




            7.3.     Duke Energy- Chicago (Utility Deposit)                                                                        $500.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Ogrin Partners (Vendor Deposit)                                                                             $1,620.22




            8.2.     Alconix Corporation (Vendor Inventory)                                                                  $337,155.03




            8.3.     Asia Optical (Vendor Inventory)                                                                           $20,000.00




            8.4.     Audio-Technica Corp (Vendor Inventory)                                                                    $20,004.26




            8.5.     China Synery Group (Vendor Inventory)                                                                       $7,840.00




            8.6.     Panasonic (Vendor Inventory)                                                                              $31,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 2
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 Debtor            Prysm, Inc.                                                                     Case number (If known)
                   Name




            8.7.     SL HiTech Limited (Vendor Inventory)                                                                               $540.00




            8.8.     Sun Strong Precision Metal Internationals (Vendor Inventory)                                                   $10,000.00




            8.9.     Whale Rock (Rent deposit)                                                                                      $18,000.00



            8.10
            .    Fairview Landlord                                                                                                    $7,500.00



            8.11
            .    Bartlett Landlord                                                                                                  $90,000.00




 9.         Total of Part 2.                                                                                                    $573,010.42
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                 3,514.24   -                                0.00 = ....         $3,514.24
                                              face amount                            doubtful or uncollectible accounts



            11a. 90 days old or less:                                 6,217.75   -                                0.00 = ....         $6,217.75
                                              face amount                            doubtful or uncollectible accounts



            11a. 90 days old or less:                                93,709.44   -                                0.00 = ....       $93,709.44
                                              face amount                            doubtful or uncollectible accounts



            11a. 90 days old or less:                                29,412.00   -                                0.00 = ....       $29,412.00
                                              face amount                            doubtful or uncollectible accounts



            11a. 90 days old or less:                                 1,740.00   -                                0.00 = ....         $1,740.00
                                              face amount                            doubtful or uncollectible accounts



            11a. 90 days old or less:                                22,110.00   -                                0.00 = ....       $22,110.00
                                              face amount                            doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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 Debtor         Prysm, Inc.                                                                        Case number (If known)
                Name


           11a. 90 days old or less:                                  9,600.00   -                                0.00 = ....        $9,600.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  4,920.00   -                                0.00 = ....        $4,920.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 29,000.00   -                                0.00 = ....      $29,000.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,149.60   -                                0.00 = ....        $3,149.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,218.00   -                                0.00 = ....        $1,218.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 15,131.00   -                                0.00 = ....      $15,131.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,800.00   -                                0.00 = ....      $10,800.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            197,650.00       -                                0.00 = ....     $197,650.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 22,167.00   -                                0.00 = ....      $22,167.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  5,018.00   -                                0.00 = ....        $5,018.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  5,376.24   -                                0.00 = ....        $5,376.24
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,883.60   -                                0.00 = ....        $2,883.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,234.00   -                                0.00 = ....        $1,234.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   193.50    -                                0.00 = ....          $193.50
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 4
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 Debtor         Prysm, Inc.                                                                        Case number (If known)
                Name




           11a. 90 days old or less:                                 18,899.75   -                                0.00 = ....      $18,899.75
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 29,792.00   -                                0.00 = ....      $29,792.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 76,126.00   -                                0.00 = ....      $76,126.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                            160,328.00       -                                0.00 = ....     $160,328.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 24,255.00   -                                0.00 = ....      $24,255.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 25,692.00   -                                0.00 = ....      $25,692.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 31,780.00   -                                0.00 = ....      $31,780.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,799.30   -                                0.00 = ....        $3,799.30
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 35,910.00   -                                0.00 = ....      $35,910.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 20,220.00   -                                0.00 = ....      $20,220.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,931.63   -                                0.00 = ....      $10,931.63
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                                    42,750.00   -                               0.00 =....        $42,750.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    21,600.00   -                               0.00 =....        $21,600.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 5
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 Debtor         Prysm, Inc.                                                                        Case number (If known)
                Name


           11b. Over 90 days old:                               130,445.00       -                               0.00 =....                  $130,445.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    12,299.10   -                               0.00 =....                   $12,299.10
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                            $1,109,872.15
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                            Valuation method used   Current value of
                                                                                                            for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Prysm Displays (India) Private Limited                            99.9         %                                           Unknown




           15.2.     Prysm Europe Ltd.                                                 100          %                                           Unknown




           15.3.     Prysm Europe BVBA                                                 100          %                                           Unknown




           15.4.     Prysm Middle East DMCC                                            100          %                                           Unknown




           15.5.     Anacore, Inc.                                                     100          %                                           Unknown




           15.6.     Kaybus, Inc.                                                      100          %                                           Unknown



                     Kaybus India Private Limited is 100% owned
           15.7.     by Kaybus, Inc.                                                                %                                           Unknown




           15.8.     Prysm Hong Kong Limited                                           100          %                                           Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 6
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 Debtor         Prysm, Inc.                                                                      Case number (If known)
                Name



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                   $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of       Valuation method used   Current value of
                                                      physical inventory         debtor's interest       for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Raw Materials and Work
           In Progress (est
           liquidation at 10%)                                                          $5,762,286.25    Liquidation                      $576,228.63



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Prysm equipment (est
           liquidation at 50%)                        12/31/2018                        $1,195,966.43    Liquidation                      $597,983.22



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                         $1,174,211.85
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 7
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 Debtor         Prysm, Inc.                                                                   Case number (If known)
                Name

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture
            Office funriture and fixtures (est liquidation
            value at 0)                                                                 $3,001.10     Liquidation                               $0.00



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Computer hardware (est liquidation at 20%)                                $15,053.89      Liquidation                         $3,010.78


            Machinery and Equipment (est liquidation at
            10%)                                                                     $400,190.53      Liquidation                       $40,019.05



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                           $43,029.83
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            SEE ATTACHED LIST                                                          Unknown                                            Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 8
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 Debtor         Prysm, Inc.                                                                   Case number (If known)
                Name




 61.       Internet domain names and websites
           anacore.com                                                                 Unknown                                Unknown


           kaybus.com                                                                  Unknown                                Unknown


           kaybus.info                                                                 Unknown                                Unknown


           kaybus.net                                                                  Unknown                                Unknown


           kaybus.org                                                                  Unknown                                Unknown


           laserphosphordisplay.info                                                   Unknown                                Unknown


           laserphosphordisplay.net                                                    Unknown                                Unknown


           laserphosphordisplay.org                                                    Unknown                                Unknown


           mediastation.com                                                            Unknown                                Unknown


           prysm.co.in                                                                 Unknown                                Unknown


           prysm.com                                                                   Unknown                                Unknown


           prysm.in                                                                    Unknown                                Unknown


           Prysm.info                                                                  Unknown                                Unknown


           prysmdisplays,com                                                           Unknown                                Unknown


           prysmgov.com                                                                Unknown                                Unknown


           prysmgov.info                                                               Unknown                                Unknown


           prysmgov.net                                                                Unknown                                Unknown


           prysmgov.org                                                                Unknown                                Unknown


           prysmtech.org                                                               Unknown                                Unknown


           prysmtechnologies.com                                                       Unknown                                Unknown


           prysmtechnologies.net                                                       Unknown                                Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 9
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 Debtor         Prysm, Inc.                                                                   Case number (If known)
                Name



            prysmtechnologies.org                                                      Unknown                                          Unknown


            prysmtechnology.org                                                        Unknown                                          Unknown


            sltesting.com                                                              Unknown                                          Unknown


            spudnikinc.com                                                             Unknown                                          Unknown


            spudnikinc.info                                                            Unknown                                          Unknown


            spudnikinc.net                                                             Unknown                                          Unknown


            spudnikinc.org                                                             Unknown                                          Unknown


            synthesize.com                                                             Unknown                                          Unknown


            visualworkplace.us                                                         Unknown                                          Unknown


            mammothhq.com                                                              Unknown                                          Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                         6OLOPXO
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 10
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 Debtor         Prysm, Inc.                                                                   Case number (If known)
                Name

                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Net Operating Losses                                                                Tax year 2010-2020                    Unknown



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                       6OLOPXO
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 11
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 Debtor          Prysm, Inc.                                                                                         Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                     Current value of real
                                                                                                     personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,736,007.91

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $573,010.42

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,109,872.15

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,174,211.85

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $43,029.83

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $4,636,132.16             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $4,636,132.16




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 12
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                         Prysm, Inc.
Schedule A/B Part 10 Intangibles and Intellectual Property List
                                                     Case 20-11924-JTD       Doc 1   Filed 08/05/20      Page 24 of 166
                                                             Copyright List- PAS

creation_date    Fam_ID             Title                first_public_distribution         Filing_date           Copyright_office_Reg_date        Copyright_office_Reg_Number
  12/17/2015    SKCR0004    Synthesis Release 2.2               09/30/2015                 12/16/2015                   12/16/2015           TX 8-203-422
  04/20/2016    SKCR0001   Synthesis Release 1.2.2                                         12/16/2015                   07/31/2015           TX 8-200-320
  04/28/2016    SKCR0005   Synthesis Release 2.3.1              03/11/2016                 05/12/2016                   05/12/2016           TX 8-278-002
  08/01/2016    SKCR0002   Synthesis Release 1.8.7                                         12/16/2015                   07/31/2015           TX 8=210-224
  08/01/2016    SKCR0003   Synthesis Release 1.9.2                                         12/16/2015                   07/31/2015           TX 8-210-225
  08/01/2016    SKCR0007   Synthesis Release 2.0.3              06/11/2015                                              07/31/2015           TX 8-212-654
  10/24/2016    SKCR0009    Synthesis Release 2.6               09/22/2016                 11/29/2016                   11/29/2016           TX 8-347-281
                                           Case 20-11924-JTD non-US
                                                              Doc 1 Filed 08/05/20
                                                                     PATENTS                        Page 25 of 166

   Title                                        Country        Filing_date        Serial_number             Grant_number      Grant_date Current Owner
KNOWLEDGE AUTOMATION SYSTEM                      China          8/6/2015           201580054451.6            CN 106796578 B   5/10/2019     PAS
AND METHOD, AS WELL AS A MEMORY


SHARED STREAMING FROM ANY                    European Union     3/24/2016          16162216.2                602016007957.7   11/15/2018    PAS
SOURCE


Techniques for Sharing Real-Time Content     United Kingdom     3/24/2016                                    3076647          11/15/2018    PAS
Between Multiple Endpoints


USER PRESENCE DETECTION AND                      China          6/16/2016          201610431144.1            CN 106257396 B   7/9/2019      PAS
DISPLAY OF PRIVATE CONTENT AT A
REMOTE COLLABORATION VENUE




                                                                         ®
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                                         Case 20-11924-JTD Doc 1 pending
                                                         non-US   Filed 08/05/20
                                                                             PAS Page 26 of 166

Appln Status                  Title                             App Type              Date Filed      Appln No        Inventor/ Applicant
    China        Techniques for Sharing Real-Time Content             Direct        3/30/2016        201610190716.1
                 Between Multiple Endpoints



European Union   USER PRESENCE DETECTION AND                          Direct        6/14/2016        EP16174426.3
                 DISPLAY OF PRIVATE CONTENT AT A
                 REMOTE COLLABORATION VENUE


    China        OPENING INSTANCES OF AN ASSET                        Direct        1/25/2017        20171000612143



    China        Shared Applications Including Shared                 Direct        4/23/2018        2018103688115
                 Browser Applications that Permit Retrieval,
                 Presentation and Traversal of Information
                 Resources

    China        Disparate Workflow Integration Using a               Utility       9/17/2018        201811083086.3
                 Meshed Visualization Canvas



  Germany        Techniques for Sharing Real-Time Content          Validation       3/24/2016        16162216.2
                 Between Multiple Endpoints




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                                                       Case 20-11924-JTD
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                                                                                    PATENTS

            Title                                          App Type               Date Filed                 Appl. No   Pub. No      Inventor/ Applicant   Owner/Assignee
LOCKING INTERACTIVE ASSETS ON LARGE GESTURE-                    utility            3/31/2015            14/675,615      10,379,695                             PAS
SENSITIVE SCREEN DISPLAYS

Techniques for Sharing Real-Time Content Between                utility            3/31/2015            14/675,602      9,906,594                              PAS
Multiple Endpoints
AUTOMATED COLLECTIVE TERM AND PHRASE INDEX                      utility            9/23/2015            14/862,621      9,864,741                              PAS

CONTENT SHARING WITH CONSISTENT ASPECT RATIOS                Utility Trck 1        2/2/2016             15/013,925      10,296,277                             PAS
                                                                (T1 Priority
CONTENT SHARING WITH CONSISTENT ASPECT RATIOS                   utility            2/2/2016             15/013,911      10,261,741                             PAS

GRAPHICAL USER INTERFACE FOR ASPECT RATIO                      design              2/8/2016             29/620,230       D797768                               PAS
SELECTION
GRAPHICAL USER INTERFACE FOR PRESENTING A GRID                 design              2/8/2016             29/620,040       D797128                               PAS
OF WINDOWS

Application of Asset Control Features to Assets in a            utility            5/19/2016            15/159,594      10,574,735                             PAS
Shared workspace

USER PRESENCE DETECTION AND DISPLAY OF PRIVATE                  utility            6/14/2016            15/182,520      10,609,135                             PAS
CONTENT AT A REMOTE COLLABORATION VENUE

Confidentiality-based File Hosting                              utility            6/15/2016            15/183,539      10,104,129                             PAS
TECHNIQUES FOR CLOUD SERVER CONNECTION                          utility            2/3/2017             15/424,740      10,355,872                             PAS
INDICATOR

Drag to Undo/Redo a Digital Ink Canvas Using a Visible          utility            4/10/2017            15/483,673      10,229,518                             PAS
History Palette
Shared Applications Including Shared Browser                    utility            4/21/2017            15/493,962      10,129,306                             PAS
Applications that Permit Retrieval, Presentation and
Traversal of Information Resources
GRAPHICAL USER INTERFACE FOR ASPECT RATIO                      design              9/15/2017            29/617,898       D843386                               PAS
SELECTION
Confidentiality-based File Hosting                           continuation          10/3/2018            16/151,172      10,454,976                             PAS



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                                                                                    PATENTS

            Title                                          App Type           Date Filed                 Appl. No   Pub. No      Inventor/ Applicant   Owner/Assignee
Shared Applications Including Shared Browser                 continuation      10/3/2018            16/151,150      10,454,981                             PAS
Applications that Permit Retrieval, Presentation and
Traversal of Information Resources
Application of Asset Control Features to Assets in a         continuation      2/20/2020            16/796,548                                             PAS
Shared workspace




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                                                                            PAS 1 Pending
                                                                                   Filed 08/05/20             Page 29 of 166

           Title                                    App Type               Date Filed                 Appl. No        Pub. No   Inventor/ Applicant   Owner/Assignee
Disparate Workflow Integration Using a Meshed            utility            9/6/2018             16/123,746                                                PAS
Visualization Canvas

TECHNIQUES FOR DISPLAYING SHARED DIGITAL              continuation          11/18/2019           16/687,572                                                PAS
ASSETS CONSISTENTLY ACROSS DIFFERENT DISPLAYS




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                                                 US
                                    Case 20-11924-JTD       Trademark        Activity
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                                                   office      Official_
         Fam_ID                                    action      Gazette_             Granted_    Granted_
Fam_ID   suffix   Application No.    filing_date   count         date               Reg_date    Reg_Num    class_number Title

SKT0008 B1US02    87/252,656        11/30/2016       1                              7/31/2018   5532047        009       Synthesis Hex GUI




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    Title                                         Country         Filing_date        Serial_number      Grant_number      Grant_date Current Owner
Display Systems and Devices Having                 China           3/31/2006          200680019439.2     CN 101218621 B   7/13/2011     Prysm
Screens With Optical Fluorescent Materials


Display Systems and Devices Having             European Union      3/31/2006          06740108.3         1866901          5/16/2012     Prysm
Screens With Optical Fluorescent Materials


Display Systems and Devices Having                 Japan           3/31/2006          2008-504392        5243239          4/12/2013     Prysm
Screens With Optical Fluorescent Materials


Display Systems and Devices Having            Republic of Korea    3/31/2006          10-2007-7025455    0958228          5/7/2010      Prysm
Screens With Optical Fluorescent Materials


Servo-Assisted Scanning Beam Display               China           2/15/2007          200780013521.9     CN 101421773 B   6/22/2011     Prysm
Systems Using Fluorescent Screens


Servo-Assisted Scanning Beam Display           European Union      9/15/2008          07750816.6         1989699          7/31/2013     Prysm
Systems Using Fluorescent Screens


Servo-Assisted Scanning Beam Display               Japan           8/13/2008          2008-555348        5020980          6/22/2012     Prysm
Systems Using Fluorescent Screens


Servo-Assisted Scanning Beam Display          Republic of Korea    9/12/2008          10-2008-7022466    0967268          6/23/2010     Prysm
Systems Using Fluorescent Screens


OPTICAL DESIGNS FOR SCANNING                       China           6/23/2008          200680048762.2     ZL               11/2/2011     Prysm
BEAM DISPLAY SYSTEMS USING                                                                               200680048762.2
FLUORESCENT SCREENS




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    Title                                        Country         Filing_date        Serial_number      Grant_number       Grant_date Current Owner
OPTICAL DESIGNS FOR SCANNING                  European Union      5/23/2008          06836510.5         1977413           3/12/2014      Prysm
BEAM DISPLAY SYSTEMS USING
FLUORESCENT SCREENS

OPTICAL DESIGNS FOR SCANNING                       India          5/21/2008          4330/DELNP/2008    279555            1/25/2017      Prysm
BEAM DISPLAY SYSTEMS USING
FLUORESCENT SCREENS

OPTICAL DESIGNS FOR SCANNING                      Japan           4/24/2008          2008-537899        4612723           10/22/2010     Prysm
BEAM DISPLAY SYSTEMS USING
FLUORESCENT SCREENS

OPTICAL DESIGNS FOR SCANNING                 Republic of Korea    5/23/2008          10-2008-7012441    1029920           4/11/2011      Prysm
BEAM DISPLAY SYSTEMS USING
FLUORESCENT SCREENS

Phosphor Compositions For Scanning            European Union      12/3/2008          07761919.5         2021861           9/26/2012      Prysm
Beam Displays


Multilayered Fluorescent Screens for          European Union      12/8/2008          07783797.9         2026834           2/25/2015      Prysm
Scanning Beam Display Systems


Multilayered Fluorescent Screens for              China           1/15/2009          200780024416.5     ZL200780024416.   12/14/2011     Prysm
Scanning Beam Display Systems                                                                           5


Phosphor Compositions and Other                   China           5/4/2007           200780020461.3     CN 101460880 B    5/23/2012      Prysm
Fluorescent Materials for Display Systems
and Devices

Phosphor Compositions and Other                   Japan           11/5/2008          2009-510110        5119502           11/2/2012      Prysm
Fluorescent Materials for Display Systems
and Devices




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    Title                                         Country         Filing_date        Serial_number      Grant_number       Grant_date Current Owner
Phosphor Compositions For Scanning            Republic of Korea    12/5/2008          10-2008-7029836    1026307           3/24/2011     Prysm
Beam Displays


Delivering and Displaying Advertisement or         China           11/18/2009         200880016617.5     CN101682709       11/6/2013     Prysm
Other Application Data to Display Systems


DELIVERING AND DISPLAYING                      United Kingdom      10/20/2009         0918372.4          GB2460802         9/5/2012      Prysm
ADVERTISEMENT OR OTHER
APPLICATION DATA TO DISPLAY
SYSTEMS
Screens with Light-Emitting Stripes for      Russian Federation    12/16/2009         2009146834         2442197           2/10/2012     Prysm
Scanning Beam Display Systems


Multilayered Screens with Light-Emitting      Republic of Korea    12/17/2009         10-2009-7026349    1117912           2/10/2012     Prysm
Stripes for Scanning Beam Display
Systems

FLEXURE ACTUATOR                                   China           2/20/2010          2010101l4405.X     ZL201010114405.   3/27/2013     Prysm
                                                                                                         X


FLEXURE ACTUATOR                               United Kingdom      2/11/2010          1002335.6          2467841           3/28/2012     Prysm



Multilayered Screens with Light-Emitting           China           12/31/2009         200880023058.0     ZL200880023058.   2/9/2011      Prysm
Stripes for Scanning Beam Display                                                                        0
Systems

Servo Feedback Control Based on                    China           6/27/2008          200880022220.7     CN 101689341 B    7/18/2012     Prysm
Designated Scanning Servo Beam in
Scanning Beam Display Systems with
Light-Emitting Screens



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    Title                                         Country         Filing_date        Serial_number      Grant_number      Grant_date Current Owner
Display Systems and Devices Having            Republic of Korea    2/16/2010          10-2010-7003404    1196509          10/25/2012     Prysm
Screens With Optical Fluorescent Materials


DETECTING SCREEN BREAKAGE IN                   United Kingdom      2/26/2010          1003337.1          2468947          4/4/2012       Prysm
DISPLAY SYSTEMS


Servo Feedback Control Based on               Republic of Korea    1/26/2010          10-2010-7001799    1117822          2/9/2012       Prysm
Designated Scanning Servo Beam in
Scanning Beam Display Systems with
Light-Emitting Screens
Servo Feedback Control Based on                European Union      1/5/2010           08781135.2         2168115          10/25/2017     Prysm
Designated Scanning Servo Beam in
Scanning Beam Display Systems with
Light-Emitting Screens
COMPOSITE SCREENS FORMED BY                        China           4/16/2010          201010152200.0     ZL               12/18/2013     Prysm
TILED LIGHT-EMITTING SCREENS                                                                             201010152200.0


Servo Feedback Control Based on              Russian Federation    1/26/2010          2010102520         2425427          7/27/2011      Prysm
Designated Scanning Servo Beam in
Scanning Beam Display Systems with
Light-Emitting Screens
SERVO-ASSISTED SCANNING BEAM                  Republic of Korea    5/17/2010          10-2010-7010808    1226814          1/21/2013      Prysm
DISPLAY SYSTEMS HAVING SCREENS
WITH ON-SCREEN
REFERENCE MARKS
Servo Feedback Control Based on Invisible          Japan           12/14/2009         2010-515204        5450404          1/10/2014      Prysm
Scanning Servo Beam in Scanning Beam
Display Systems with Light-Emitting
Screens
Multi Beam Scanning Device                         China           8/19/2008          200880103799.X     CN 101784939 B   11/21/2012     Prysm




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    Title                                       Country         Filing_date        Serial_number       Grant_number      Grant_date Current Owner
Multi Beam Scanning Device                  Republic of Korea    3/18/2010          2010-7005969        XX-XXXXXXX       2/20/2012      Prysm



Multi Beam Scanning Device                 Russian Federation    3/19/2010          2010110611          2430390          9/27/2011      Prysm



Multi Beam Scanning Device                   European Union      8/19/2008          08827916.1          2189833          5/3/2017       Prysm



Multibeam Scanning Device                        Japan           8/19/2008          2009-529029         5384350          10/11/2013     Prysm



SMALL BEZEL DISPLAY SCREEN                       China           6/28/2010          201010214995.3st    ZL               5/27/2015      Prysm
HAVING A SUPPORTING FILM LAYER                                                                          201010214995.3


Two Dimensional Scanning Projection              Japan           10/15/2008         2010-505259         5492765          3/7/2014       Prysm
Device


Two Dimensional Scanning Projection              China           10/15/2008         200880128258.2      CN 101981486 B   1/16/2013      Prysm
Device


Two Dimensional Scanning Projection          United Kingdom      10/15/2008         1018022.2           GB2471431        11/14/2012     Prysm
Device


Multilayered Screens with Light-Emitting         China           5/19/2008          201010282135.3      CN 101950122 B   1/4/2012       Prysm
Stripes for Scanning Beam Display
Systems




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    Title                                       Country         Filing_date        Serial_number      Grant_number      Grant_date Current Owner
BEAM SCANNING BASED ON TWO-                      China           7/27/2009          200980125648.9     CN 102084281 B   10/31/2012     Prysm
DIMENSIONAL POLYGON SCANNER
FOR DISPLAY AND OTHER
APPLICATIONS
BEAM SCANNING BASED ON TWO-                 Republic of Korea    11/8/2010          10-2010-7025080    1264009          5/7/2013       Prysm
DIMENSIONAL POLYGON SCANNER
FOR DISPLAY AND OTHER
APPLICATIONS
BEAM SCANNING BASED ON TWO-                       India          8/10/2010          6439/CHENP/2010    306876           2/5/2019       Prysm
DIMENSIONAL POLYGON SCANNER
FOR DISPLAY AND OTHER
APPLICATIONS
Scanning Optical Device                          Japan           9/26/2008          2010-530662        5307148          7/5/2013       Prysm



Scanning Optical Device                          Japan           9/26/2008          2010-530661        5249338          4/19/2013      Prysm



FINE BRIGHTNESS CONTROL IN                   United Kingdom      1/4/2011           1100056.9          GB2477384        12/21/2011     Prysm
PANELS OR SCREENS WITH PIXELS


Method for adjusting light deflector and         Japan           5/27/2010          2010-539074        5249348          4/19/2013      Prysm
light deflecting unit


System and method for adjusting optical          Japan           6/3/2010           2010-540246        5154661          12/14/2012     Prysm
element


Scanning Projection Device                       Japan           5/27/2010          2010-539073        5226081          3/22/2013      Prysm




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    Title                                        Country        Filing_date        Serial_number     Grant_number      Grant_date Current Owner
Optical Element Adjusting/Holding                 Japan          11/17/2008         2010-537653       5384517          10/11/2013     Prysm
Mechanism


System for removing a display unit from a     European Union     1/31/2011          11152749.5        2355075          5/6/2013       Prysm
multi panel display


DYNAMIC POWER AND BRIGHTNESS                      China          6/7/2011           201110209414.1    CN 102298918 B   5/4/2016       Prysm
CONTROL FOR A DISPLAY SCREEN


OPTICAL COMPONENT CALIBRATION                 United Kingdom     6/7/2011           1109490.1         2481120          6/7/2016       Prysm
SYSTEM FOR LASER-BASED DISPLAY
DEVICE

OPTICAL COMPONENT CALIBRATION                     China          6/7/2011           201110218561.5    CN 102289072 B   11/25/2015     Prysm
SYSTEM FOR
LASER-BASED DISPLAY DEVICE

LOCAL DIMMING ON LIGHT-EMITTING               United Kingdom     6/3/2011           1109396.0         GB2481114        3/18/2015      Prysm
SCREENS FOR IMPROVED IMAGE
UNIFORMITY IN SCANNING BEAM
DISPLAY SYSTEMS
LOCAL DIMMING FOR IMPROVED                        China          6/8/2011           201110159768.X    CN 102279466 B   3/19/2014      Prysm
IMAGE UNIFORMITY IN SCANNING
BEAM DISPLAY SYSTEMS

DISPLAY SCREEN WITH LOW-INDEX                 United Kingdom     6/8/2011           1109572.6         2481127          6/1/2016       Prysm
REGION SURROUNDING PHOSPHORS


NEIGHBORHOOD BRIGHTNESS                       United Kingdom     6/7/2011           1109499.2         GB 2481122       8/9/2017       Prysm
MATCHING FOR UNIFORMITY IN A
TILED DISPLAY SCREEN




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    Title                                         Country        Filing_date        Serial_number     Grant_number         Grant_date Current Owner
NEIGHBORHOOD BRIGHTNESS                           Germany         6/7/2011           102011077142.5    10 2011 077 142.5   9/5/2013      Prysm
MATCHING FOR UNIFORMITY IN A
TILED DISPLAY SCREEN

Display Systems and Devices Having                 China          3/31/2006          201110176648.0    CN 102231252 B      3/19/2014     Prysm
Screens With Optical Fluorescent Materials


Display Systems and Devices Having             United Kingdom     3/31/2006          06740108.3        1866901             5/16/2012     Prysm
Screens With Optical Fluorescent Materials


Display Systems and Devices Having                Germany         3/31/2006          06740108.3        602006029488.3      5/16/2012     Prysm
Screens With Optical Fluorescent Materials


Display Systems and Devices Having                France          3/31/2006          06740108.3        1866901             5/16/2012     Prysm
Screens With Optical Fluorescent Materials


OPTICAL BEAM CONTROL BASED ON                      China          1/30/2012          201210029305.6    CN 102621689 B      2/11/2015     Prysm
FLEXURE ACTUATION WITH
POSITIONING SENSING AND SERVO
CONTROL
EDGE ILLUMINATION OF BEZELLESS                     China          10/4/2010          201080055276.X    CN 102667583 B      1/14/2015     Prysm
DISPLAY SCREEN


EDGE ILLUMINATION OF BEZELLESS                 United Kingdom     4/18/2012          1206775.7         GB2486387           3/18/2015     Prysm
DISPLAY SCREEN


Phosphor Compositions For Scanning                France          5/4/2007                             2021861             9/26/2012     Prysm
Beam Displays




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    Title                                        Country        Filing_date        Serial_number     Grant_number      Grant_date Current Owner
Phosphor Compositions For Scanning               Germany         9/27/2012          12405REGPTEPDE    602007025737.9   9/26/2012      Prysm
Beam Displays


Phosphor Compositions For Scanning            United Kingdom     12/3/2008                            2021861          9/26/2012      Prysm
Beam Displays


PHOSPHOR COMPOSITIONS AND                     European Union     3/26/2012          12161355.8        2549330          8/30/2017      Prysm
OTHER FLUORESCENT MATERIALS
FOR DISPLAY SYSTEMS AND DEVICES

2-D STRAIGHT-SCAN ON IMAGING                      China          9/26/2012          201210377602.X    CN 103018899 B   7/29/2015      Prysm
SURFACE WITH A RASTER POLYGON


2-D STRAIGHT-SCAN ON IMAGING                  United Kingdom     9/20/2012          GB1216753.2       GB2494985        12/16/2015     Prysm
SURFACE WITH A RASTER-POLYGON


COMPOSITE PHOSPHOR MATERIALS                  United Kingdom     9/26/2012          1217162.5         2497159          11/11/2015     Prysm
FOR EMITTING VISIBLE LIGHT AND
APPLICATIONS IN GENERATION OF
VISIBLE LIGHT INCLUDING LIGHT-
EMITTING SCREENS
COMPOSITE AND OTHER PHOSPHOR                      Japan          10/1/2012          2012-219548Bi     5839587          11/20/2015     Prysm
MATERIALS FOR EMITTING VISIBLE
LIGHT AND APPLICATIONS IN
GENERATION OF VISIBLE LIGHT
INCLUDING LIGHT-EMITTING SCREENS
System for removing a display unit from a     United Kingdom     1/31/2011          11152749.5        2355075          5/6/2013       Prysm
multi panel display


Multilayered Fluorescent Screens for              Japan          5/27/2013          2013-111037       5537701          5/9/2014       Prysm
Scanning Beam Display Systems




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    Title                                       Country         Filing_date        Serial_number      Grant_number      Grant_date Current Owner
Multilayered Screens with Light-Emitting         Japan           5/20/2013                             5858584          12/25/2015     Prysm
Stripes for Scanning Beam Display
Systems

Closed Loop Verification of Rendered             China           7/19/2013          201310305519.6     CN 103581635 B   5/11/2016      Prysm
Content


Multilayered Fluorescent Screens for        Republic of Korea    6/17/2013          10-2013-7015675    1329493          11/7/2013      Prysm
Scanning Beam Display Systems


Servo-Assisted Scanning Beam Display         European Union      7/29/2013          13178331.8         2711918          7/4/2018       Prysm
Systems Using Fluorescent Screens


REDUCTION OF INTENSITY RINGING IN                China           9/10/2013          201310409659.8     CN 103675971 B   6/1/2016       Prysm
FLORESCENT DISPLAYS


Servo-Assisted Scanning Beam Display            Germany          9/15/2008          07750816.6         602007031995.1   7/31/2013      Prysm
Systems Using Fluorescent Screens


Servo-Assisted Scanning Beam Display         United Kingdom      9/15/2008          07750816.6         1989699          7/31/2013      Prysm
Systems Using Fluorescent Screens


Servo-Assisted Scanning Beam Display             France          9/15/2008          07750816.6         1989699          7/31/2013      Prysm
Systems Using Fluorescent Screens


COMPOSITE SCREENS FORMED BY                      China           4/16/2010          201310581611.5     CN 103744262 B   12/7/2016      Prysm
TILED LIGHT-EMITTING SCREENS




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    Title                                        Country        Filing_date        Serial_number        Grant_number        Grant_date Current Owner
Servo Feedback Control Based on Invisible         Japan          12/25/2013         2013-266441          5697219            2/20/2015      Prysm
Scanning Servo Beam in Scanning Beam
Display Systems with Light-Emitting
Screens
OPTICAL DESIGNS FOR SCANNING                  United Kingdom     5/23/2008          06836510.5           1977413            3/12/2014      Prysm
BEAM DISPLAY SYSTEMS USING
FLUORESCENT SCREENS

OPTICAL DESIGNS FOR SCANNING                     Germany         5/23/2008          60 2006 040 684.3    602006040684.3     3/12/2014      Prysm
BEAM DISPLAY SYSTEMS USING
FLUORESCENT SCREENS

OPTICAL DESIGNS FOR SCANNING                     France          5/23/2008                               1977413            3/12/2014      Prysm
BEAM DISPLAY SYSTEMS USING
FLUORESCENT SCREENS

SELF ALIGNING IMAGER ARRAY                    United Kingdom     4/10/2014          1406510.6            2515868            12/28/2016     Prysm



SELF ALIGNING IMAGER ARRAY                        China          4/10/2014          201410142366.2       CN 104102003 B     4/12/2017      Prysm



Multilayered Fluorescent Screens for              Japan          4/25/2014                               5990666            8/26/2016      Prysm
Scanning Beam Display Systems


Multilayered Fluorescent Screens for          United Kingdom     12/8/2008                               2026834            4/9/2015       Prysm
Scanning Beam Display Systems


Multilayered Fluorescent Screens for             Germany         12/8/2008                               60 2007 040358.8   3/9/2015       Prysm
Scanning Beam Display Systems




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ROLLABLE DISPLAY SCREEN QUILT         China          3/6/2015           201510100317.7    CN 104898272 B   8/21/2018      Prysm



SEAMLESS EMISSION TILE QUILT          China          10/2/2013          201380051991.X    CN 104703787 B   10/16/2018     Prysm



SEAMLESS EMISSION TILE QUILT         Germany         4/2/2015           112013004878.7    112013004878.7   11/22/2018     Prysm



SEAMLESS EMISSION TILE QUILT      United Kingdom     4/2/2015           1505708.6         GB2521077        4/18/2018      Prysm



2-D STRAIGHT-SCAN ON IMAGING          China          9/26/2012          201510388944.5    CN 104977715 B   8/14/2018      Prysm
SURFACE WITH A RASTER POLYGON


Scanning Beam Display System      European Union     12/15/2015         15200013.9        3038078          6/19/2019      Prysm



Scanning Beam Display System          China          12/24/2015         201510993334.8    CN 105739225 B   2/2/2018       Prysm



LAMBERTION SERVO SENSOR           European Union     3/4/2016           16158721.7        3073734          12/26/2018     Prysm
POSITION AND TIMING


LAMBERTION SERVO SENSOR               China          3/7/2016           201610128991.0    CN 105938700 B   8/30/2019      Prysm
POSITION AND TIMING




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    Title                                         Country         Filing_date        Serial_number      Grant_number        Grant_date Current Owner
NON-STRAIGHT SEAMING                           European Union      8/19/2016          15752784.7         3108357            4/26/2018      Prysm



Display Systems and Devices Having            Republic of Korea    3/31/2006          10-2007-7025455    0958228            5/7/2010       Prysm
Screens With Optical Fluorescent Materials


MULTILAYERED SCREENS FOR                           China           10/10/2016         2016100885139.8    201610885139.8     5/4/2018       Prysm
SCANNING BEAM DISPLAY SYSTEMS


SELF ALIGNING IMAGER ARRAY                     United Kingdom      4/10/2014          1619483.9          GB2541584          12/20/2017     Prysm



Multi Beam Scanning Device                     United Kingdom                                            2189833            5/31/2017      Prysm



Multi Beam Scanning Device                        Germany                                                602008 050 111.6   5/31/2017      Prysm



BROWSER BASED SNAP GRID                        United Kingdom      1/31/2017          1701557.9          2548223            9/12/2018      Prysm



Multi Beam Scanning Device                         France                                                EP2189833          6/14/2017      Prysm



PHOSPHOR COMPOSITIONS AND                         Germany                                                602007052231.5     8/30/2017      Prysm
OTHER FLUORESCENT MATERIALS
FOR DISPLAY SYSTEMS AND DEVICES




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PHOSPHOR COMPOSITIONS AND              United Kingdom                                          2549330             8/30/2017      Prysm
OTHER FLUORESCENT MATERIALS
FOR DISPLAY SYSTEMS AND DEVICES

Servo Feedback Control Based on        United Kingdom                                          EP2168115           10/25/2017     Prysm
Designated Scanning Servo Beam in
Scanning Beam Display Systems with
Light-Emitting Screens
Servo Feedback Control Based on           Germany                                              60 2008 052 665.8   12/6/2017      Prysm
Designated Scanning Servo Beam in
Scanning Beam Display Systems with
Light-Emitting Screens
Servo Feedback Control Based on           France                                               08781135.2          12/22/2017     Prysm
Designated Scanning Servo Beam in
Scanning Beam Display Systems with
Light-Emitting Screens
NON-STRAIGHT SEAMING                      Germany         2/19/2015                            602015011473.6      4/26/2018      Prysm



MULTILAYERED SCREENS FOR                  Germany                                              602016003966.4                     Prysm
SCANNING BEAM DISPLAY SYSTEMS


MULTILAYERED SCREENS FOR                  France                                               3153923                            Prysm
SCANNING BEAM DISPLAY SYSTEMS


MULTILAYERED SCREENS FOR               United Kingdom                                          3153923                            Prysm
SCANNING BEAM DISPLAY SYSTEMS


LAMBERTION SERVO SENSOR                   Germany                                              602016008556.9      12/26/2018     Prysm
POSITION AND TIMING




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LAMBERTION SERVO SENSOR          United Kingdom                                          3073734                        Prysm
POSITION AND TIMING


Scanning Beam Display System        Germany         12/15/2015         15200013.9        602015032169.3   6/19/2019     Prysm




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   Title                                    Country        Filing_date        Serial_number     Grant_number   Grant_date Current Owner
LOCAL DIMMING FOR IMPROVED                   India          6/6/2011           1596/DEL/2011                                 Prysm
IMAGE UNIFORMITY IN SCANNING
BEAM DISPLAY SYSTEMS

MULTILAYERED SCREENS FOR                 European Union     10/10/2016         EP16193127.4                                  Prysm
SCANNING BEAM DISPLAY SYSTEMS


Servo-Assisted Scanning Beam Display     United Kingdom     7/29/2013          13178331.8                                    Prysm
Systems Using Fluorescent Screens


Scanning Beam Display System             United Kingdom     12/15/2015         15200013.9                      6/19/2019     Prysm



DISPLAY SYSTEM WITH MULTIPLE                 WIPO           5/24/2019          PCT/US19/34060                                Prysm
BEAM SCANNERS


Laser Diode Drive Method and                 China          8/1/2019           201910707964.2                                Prysm
Arrangement


LAMBERTION SERVO SENSOR                      China          8/6/2019           201910721905.0                                Prysm
POSITION AND TIMING


BEAM SCANNING ENGINE AND                     China          1/31/2020          202010077721.8                                Prysm
DISPLAY SYSTEM WITH MULTIPLE
BEAM SCANNERS




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                                                                                    PATENTS

           Title                                           App Type               Date Filed                 Appl. No   Pub. No     Inventor/ Applicant   Owner/Assignee
Laser Beam Scanning Apparatus and Method                        utility            6/7/1991             07/711,757      5,166,944                             Prysm
Laser Beam Scanning Apparatus and Method                        utility            6/5/1992             08/162,043      5,646,766                             Prysm
Methods and Apparatus for Image Projection                      utility            5/22/1995            08/447,104      5,614,961                             Prysm

Methods and Apparatus for Image Projection                      utility            12/15/1995           08/573,511      5,715,021                             Prysm

Light Beam Scanning Apparatus and Method                        utility            7/3/1997             08/887,947      6,008,925                             Prysm
Laser Beam Display                                              utility            10/8/1998            09/169,163      6,175,440                             Prysm
Light Beam Display                                              utility            10/8/1999            09/806,163      6,621,609                             Prysm
Light Beam Display with Interlaced Light Beam Scanning          utility            10/24/2001           10/000,945      6,839,042                             Prysm
Laser Displays Using UV-Excitable Phosphors Emitting            utility            4/27/2005            11/116,998      7,474,286                             Prysm
Visible Colored Light

Display Systems Having Screens With Optical Fluorescent         utility            1/18/2006            11/335,813      7,791,561                             Prysm
Materials

Display Screens Having Optical Fluorescent Materials            utility            1/19/2006            11/337,170      7,733,310                             Prysm

Optical Designs for Scanning Beam Display Systems               utility            8/24/2006            11/510,495      8,089,425                         ,   Prysm
Using Fluorescent Screens


Multilayered Fluorescent Screens for Scanning Beam              utility            8/31/2006            11/514,720      8,000,005                         ,   Prysm
Display Systems



Servo-assisted scanning beam display systems using              utility            9/1/2006             11/515,420      8,451,195                             Prysm
fluorescent screens


Scanning beams displays based on light-emitting screens         utility            10/27/2006           11/553,971      7,994,702                             Prysm
having phosphors
Correcting Pyramidal Error of Polygon Scanner In                utility            12/13/2006           11/610,479      7,884,816                             Prysm
Scanning Beam Display Systems

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            Title                                              App Type               Date Filed                 Appl. No   Pub. No     Inventor/ Applicant   Owner/Assignee
POST-OBJECTIVE SCANNING BEAM SYSTEMS                                utility            4/30/2007            11/742,014      7,697,183                             Prysm

Servo Feedback Control Based on Invisible Scanning                  utility            6/27/2007            11/769,580      7,878,657                             Prysm
Servo Beam in Scanning Beam Display Systems with
Light-Emitting Screens
Organic Compounds for Adjusting Phosphor Chromaticity               utility            12/12/2007           11/955,344      8,013,506                             Prysm
Delivering and Displaying Advertisement or Other                    utility            3/20/2008            12/052,709      9,525,850                             Prysm
Application Data to Display Systems

Patterning a surface using pre-objective and post-                  utility            4/7/2008             12/099,147      8,169,454                             Prysm
objective raster scanning systems
Display systems having screens with optical fluorescent             utility            4/29/2008            10/578,038      8,803,772                             Prysm
materials

Multilayered Screens with Light-Emitting Stripes for                utility            5/19/2008            12/123,418      8,038,822                             Prysm
Scanning Beam Display Systems


Beam Scanning Based on Two-Dimensional Polygon                      utility            7/25/2008            12/180,114      7,869,112                             Prysm
Scanner for Display and Other Applications
LASER DISPLAYS USING PHOSPHOR SCREENS                            continuation          1/6/2009             12/349,489      8,232,957                             Prysm
EMITTING VISIBLE COLORED LIGHT

Reducing visibility of inter-screen gap in tiled display            utility            2/2/2009             12/364,490      9,261,723                             Prysm
systems
FLEXURE ACTUATOR                                                    utility            2/17/2009            12/372,558      8,130,436                             Prysm
COMPOSITE SCREENS FORMED BY TILED LIGHT-                            utility            4/16/2009            12/425,357      8,493,284                             Prysm
EMITTING SCREENS
Multi-panel display screen having a supporting film layer           utility            6/26/2009            12/493,128      8,258,685                             Prysm

EDGE ILLUMINATION OF BEZELLESS DISPLAY SCREEN                       utility            10/5/2009            12/573,677      8,416,368                             Prysm
Servo feedback control based on designated scanning                  CIP               12/21/2009           12/643,623      8,556,430                             Prysm
servo beam in scanning beam display systems with light-
emitting screens



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            Title                                            App Type               Date Filed                 Appl. No   Pub. No      Inventor/ Applicant   Owner/Assignee
POST-OBJECTIVE SCANNING BEAM SYSTEMS                          national phase         2/3/2010             12/594,938      8,045,247                              Prysm

MULTIBEAM SCANNING DEVICE                                     national phase         2/22/2010            12/674,652      8,248,679                              Prysm
Display systems for high contrast display applications            utility            3/19/2010            12/727,886      8,591,042                              Prysm
OPTICAL COMPONENT CALIBRATION SYSTEM FOR                          utility            6/7/2010             12/795,490      9,052,521                              Prysm
LASER-BASED DISPLAY DEVICE

LOCAL DIMMING ON LIGHT-EMITTING SCREENS FOR                       utility            6/8/2010             12/796,591      9,217,862                              Prysm
IMPROVED IMAGE UNIFORMITY IN SCANNING BEAM
DISPLAY SYSTEMS
Beam scanning systems based on two-dimensional                national phase         7/8/2010             12/812,188      8,593,711                              Prysm
polygon scanner
Display Systems Having Screens With Optical Fluorescent           utility            9/7/2010             12/877,069      8,698,713                              Prysm
Materials

Two Dimensional Scanning Projection Device                    national phase         9/27/2010            12/891,712      9,772,544                              Prysm
SERVO-ASSISTED SCANNING BEAM DISPLAY SYSTEMS                   continuation          11/30/2010           12/956,749      8,384,625                              Prysm
USING FLUORESCENT SCREENS


SIGNAL AND POWER INTERCONNECT FOR DISPLAY                         utility            12/29/2010           12/980,599      8,788,733                              Prysm
DEVICE

Fine brightness control in panels or screens with pixels          utility            1/14/2011            13/007,505      8,379,063                              Prysm
System for Removing a Display Unit From a Multi Panel             utility            1/28/2011            13/016,851      8,801,357                              Prysm
Display

SCANNING OPTICAL DEVICE                                       national phase         3/28/2011            13/073,930      8,223,415                              Prysm
SCANNING OPTICAL DEVICE                                       national phase         3/28/2011            13/073,902      8,228,581                              Prysm
MULTILAYERED FLUORESCENT SCREENS FOR                            divisional           4/1/2011             13/078,835      8,203,785                          ,   Prysm
SCANNING BEAM DISPLAY SYSTEMS


                                                                                                                                      Uebbing



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MULTILAYERED FLUORESCENT SCREENS FOR                              divisional           4/1/2011             13/078,859      8,233,217                             Prysm
SCANNING BEAM DISPLAY SYSTEMS



DITHERED POWER MATCHING OF LASER LIGHT                              utility            4/29/2011            13/098,010      8,830,214                             Prysm
SOURCES IN A DISPLAY DEVICE

DYNAMIC POWER AND BRIGHTNESS CONTROL FOR A                          utility            6/3/2011             13/153,304      9,607,577                             Prysm
DISPLAY SCREEN
Power Calibration of Multiple Light Sources in a Display            utility            6/6/2011             13/154,380      8,947,410                             Prysm
Screen
Power calibration of multiple light sources in a display            utility            6/6/2011             13/154,387      9,053,659                             Prysm
screen
SCANNING BEAM DISPLAYS BASED ON LIGHT-EMITTING                   continuation          8/8/2011             13/205,582      8,344,610                             Prysm
SCREENS HAVING PHOSPHORS
REDUCING MICRO-DEFECTS IN FRESNEL LENSES                            utility            8/31/2011            13/223,089      8,520,323                             Prysm
OPTICAL BEAM CONTROL BASED ON FLEXURE                               utility            9/23/2011            13/243,731      8,274,724                             Prysm
ACTUATION WITH POSITIONING SENSING AND SERVO
CONTROL
2-D STRAIGHT-SCAN ON IMAGING SURFACE WITH A                         utility            9/26/2011            13/245,655      9,041,762                             Prysm
RASTER POLYGON
COMPOSITE AND OTHER PHOSPHOR MATERIALS FOR                          utility            10/4/2011            13/252,984      9,699,422                             Prysm
EMITTING VISIBLE LIGHT AND APPLICATIONS IN
GENERATION OF VISIBLE LIGHT INCLUDING LIGHT-
EMITTING SCREENS
Method of forming a flexure assembly                                utility            10/11/2011           13/271,075      8,857,052                             Prysm
ROLLABLE DISPLAY SCREEN                                             utility            5/11/2012            13/470,051      8,830,577                             Prysm
Closed Loop Verification of Rendered Content                        utility            7/20/2012            13/554,979      9,377,673                             Prysm
MULTIBEAM SCANNING DEVICE                                         divisional           7/27/2012            13/560,840      8,441,704                             Prysm
Reduction of intensity ringing in fluorescent displays              utility            9/13/2012            13/615,449      8,809,811                             Prysm
Positioning sensing and position servo control                       CIP               9/25/2012            13/626,860      8,582,191                             Prysm


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            Title                                          App Type              Date Filed                 Appl. No   Pub. No      Inventor/ Applicant   Owner/Assignee
PORTABLE DISPLAY                                               utility            1/7/2013             13/735,407      9,469,080                              Prysm

DISPLAYS HAVING BUILT-IN MOIRÉ REDUCTION                   national phase         3/15/2013            13/823,928      9,121,577                              Prysm
STRUCTURES
TILE ROW PIXEL SHIFT IN A TILED DISPLAY SYSTEM                 utility            5/13/2013            13/892,409      9,336,748                              Prysm
Servo feedback control based on designated scanning         continuation          10/11/2013           14/052,513      8,814,364                              Prysm
servo beam in scanning beam display systems with light-
emitting screens
Beam scanning based on two-dimensional polygon             national phase         11/26/2013           14/091,328      9,041,991                              Prysm
scanner having a designated facet for blanking operation
for display and other applications
SELF ALIGNING IMAGER ARRAY                                     utility            4/8/2014             14/247,558      9,532,016                              Prysm
Scanning Beam Display System                                   utility            12/24/2014           14/583,023      9,998,717                              Prysm

Lambertian servo sensor position and timing                    utility            3/6/2015             14/640,485      9,667,928                              Prysm
ROLLABLE DISPLAY SCREEN QUILT                                  utility            3/6/2015             14/640,460      9,291,887                              Prysm
SEAMLESS EMISSION TILE QUILT                               national phase         3/27/2015            14/432,140      9,995,997                              Prysm

2-D STRAIGHT-SCAN ON IMAGING SURFACE WITH A                 continuation          5/26/2015            14/721,013      9,440,451                              Prysm
RASTER POLYGON
OPTICALLY EXCITED PHOSPHOR DISPLAY SCREENS                     utility            9/25/2015            14/866,692      10,365,407                             Prysm
HAVING COLORING FILTERING PIGMENTS EMBEDDED IN
PHOSPHOR MIXTURES
Multilayered screens for scanning beam display systems         utility            10/8/2015            14/878,947      9,690,181                              Prysm

LOCAL DIMMING ON LIGHT-EMITTING SCREENS FOR                    utility            12/21/2015           14/977,395      9,729,837                              Prysm
IMPROVED IMAGE UNIFORMITY IN SCANNING BEAM
DISPLAY SYSTEMS
FEEDBACK CONTROL OF DISPLAY SYSTEMS WITH                    continuation          1/7/2016             14/990,358      9,467,668                              Prysm
LIGHT-EMITTING SCREENS HAVING EXCITATION LIGHT
SOURCE AND PHOSPHOR LAYER


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         Title                                    App Type               Date Filed                 Appl. No   Pub. No      Inventor/ Applicant   Owner/Assignee
COMPENSATION FOR OVERLAPPING SCAN LINES IN A           utility            5/25/2016            15/164,535      9,888,218                              Prysm
SCANNING-BEAM DISPLAY SYSTEM
2-D STRAIGHT-SCAN ON IMAGING SURFACE WITH A         continuation          8/18/2016            15/240,686      9,676,206                              Prysm
RASTER POLYGON
NON-STRAIGHT SEAMING                               national phase         9/15/2016            15/126,406      10,401,721                             Prysm
PORTABLE DISPLAY                                    continuation          10/4/2016            15/285,158      10,303,416                             Prysm

SELF ALIGNING IMAGER ARRAY                          continuation          11/21/2016           15/356,784      9,819,923                              Prysm
LARGE DISPLAY SYSTEMS WITH SCREEN TENSION              utility            12/19/2016           15/383,988      10,063,817                             Prysm
ADJUSTABLITLITY
LAMBERTION SERVO SENSOR POSITION AND TIMING         continuation          3/16/2017            15/460,874      9,900,571                              Prysm
VACUUM HOLD-DOWN OF SEAMLESS IMAGE PANEL TO            utility            5/23/2017            15/602,936      10,296,041                             Prysm
POLYCARBONATE PROTECTIVE FRONTPLANE
MULTILAYERED SCREENS FOR SCANNING BEAM              continuation          6/23/2017            15/632,269      10,095,099                             Prysm
DISPLAY SYSTEMS

SELF ALIGNING IMAGER ARRAY                          continuation          8/30/2017            15/690,381      10,187,621                             Prysm
COMPENSATION FOR OVERLAPPING SCAN LINES IN A        continuation          2/2/2018             15/887,393      10,218,947                             Prysm
SCANNING-BEAM DISPLAY SYSTEM
LAMBERTION SERVO SENSOR POSITION AND TIMING         continuation          2/19/2018                            10,447,982                             Prysm
MULTILAYERED SCREENS FOR SCANNING BEAM              continuation          8/3/2018             16/053,903      10,317,787                             Prysm
DISPLAY SYSTEMS

LARGE DISPLAY SYSTEMS WITH SCREEN TENSION            divisional           8/14/2018            16/103,239      10,674,123                             Prysm
ADJUSTABILITY




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          Title                                    App Type              Date Filed                 Appl. No        Pub. No   Inventor/ Applicant   Owner/Assignee
LASER DIODE DRIVE METHOD AND ARRANGEMENT               utility            7/31/2019            16/528,283                                               Prysm
REDUCING VISIBILITY OF INTER-SCREEN GAP IN TILED       utility            10/31/2019           16/670,499                                               Prysm
DISPLAY SYSTEM
Scanning Beam Display System                        continuation          11/12/2019           16/680,968                                               Prysm

DYNAMIC POWER AND BRIGHTNESS CONTROL FOR A          continuation          12/18/2019           16/719,293                                               Prysm
DISPLAY SCREEN
BEAM SCANNING ENGINE AND DISPLAY SYSTEM WITH           utility            1/21/2020            16/748,063                                               Prysm
MULTIPLE BEAM SCANNERS




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                                                   Case Activity
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                                                             Filing_date      allowance_date           Grant_date   Grant_number                                      class

SKT0002 B1EP01       European Union      009715021          2/7/2011                               12/7/2011        9715021          PRYSM                            009
SKT0002 B1CN01       China               9801968            1/26/2015                              2/20/2016        9801968          PRYSM                            009
SKT0002 B2CN01       China               10553622           6/20/2012                              11/7/2013        11099929         PRYSM in Chinese Characters 溥美   009
SKT0015 B1CN01       China               20400352           6/23/2016                              8/14/2017        20400352         Visual Workplace                 009
SKT0015 B1CN02       China               20400353           6/23/2016                              8/14/2017        20400353         Visual Workplace                 038




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                                                    office      Official_
          Fam_ID                                    action      Gazette_             Granted_    Granted_
Fam_ID    suffix   Application No.    filing_date   count         date               Reg_date    Reg_Num     class_number Title

SKT0002   B1US01   77/809,545        8/20/2009        2       4/20/2010              4/19/2011   3,948,560      009        PRYSM
SKT0015   B1US01   86/958,855        3/30/2016        2                              8/29/2017   5278291      009 &042     Visual Workplace
SKT0002   B1US02   87/561,111        8/8/2017                                        5/7/2019    5,742,467      009        PRYSM
SKT0002   B1US03   87/561,111        8/8/2017                                        5/7/2019    5,742,467      042        PRYSM
SKT0016   B1US01   90/027,071        6/29/2020                                                                  009        Prysm Technologies
SKT0016   B2US01   90/027,084        6/29/2020                                                                  042        Prysm Technologies




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 Fill in this information to identify the case:

 Debtor name          Prysm, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    AAN Investment LLC                            Describe debtor's property that is subject to a lien                 $116,687.00                 Unknown
        Creditor's Name                               All assets
        7540 Windsor Dr.
        Suite 210
        Allentown, PA 18195
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Akhil Saklecha                                Describe debtor's property that is subject to a lien                 $143,047.00                 Unknown
        Creditor's Name                               All assets
        360 W. Hubbard St.,
        Apt. 2909
        Chicago, IL 60654
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 10
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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   AR Jain Management LLC                         Describe debtor's property that is subject to a lien                     $357,617.00   Unknown
       Creditor's Name                                All assets
       180 Baytech Dr.
       San Jose, CA 95134
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Artiman Ventures Special                       Describe debtor's property that is subject to a lien               $17,063,074.00      Unknown
       Creditor's Name                                All assets
       Opportunities Fund LP
       1731 Embarcadero Rd.
       Suite 212
       Palo Alto, CA 94303
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   Aseem Saklecha                                 Describe debtor's property that is subject to a lien                     $214,570.00   Unknown
       Creditor's Name                                All assets
       7188 Sharon Drive
       San Jose, CA 95129
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 10
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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

       Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6   Black Meadow Limited                           Describe debtor's property that is subject to a lien                     $12,602.00   Unknown
       Creditor's Name                                All assets
       1C Cantonment Rd. #39-29
       SINGAPORE 085301
       Republic of Singapore
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7   BP-11A                                         Describe debtor's property that is subject to a lien                       $167.00    Unknown
       Creditor's Name                                All assets
       Spinnaker Capital LLC
       One Joy Street
       Boston, MA 02108
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Corniche Capital Holdings
 2.8                                                                                                                            $7,954.00   Unknown
       Inc.                                           Describe debtor's property that is subject to a lien


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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

       Creditor's Name                                All assets
       MDE'S Bldg., 2nd Fl.,
       Purcell Estate
       PO Box 4406
       TORTOLA, VG 1110, BVI
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.9   Flagg Living Trust                             Describe debtor's property that is subject to a lien                     $6,301.00   Unknown
       Creditor's Name                                All assets
       U/A DTD 2/11/2002
       1199 Camino Vallecito
       Lafayette, CA 94549
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 0     GII Prysm Investments                          Describe debtor's property that is subject to a lien                 $3,081,485.00   Unknown
       Creditor's Name                                All assets
       Gulf Islamic Investments
       501 Tower 2, Blvd. Plaza,
       Downtown
       DUBAI, UAE
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 1     Gore Creek LLC                                 Describe debtor's property that is subject to a lien                       $916.00    Unknown
       Creditor's Name                                All assets
       Spinnaker Capital LLC
       One Joy Street
       Boston, MA 02108
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Harmony Partner Group
 2     LLC                                            Describe debtor's property that is subject to a lien                      $2,645.00   Unknown
       Creditor's Name                                All assets
       Spinnaker Capital LLC
       One Joy Street
       Boston, MA 02108
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 3     John Kryzanowski                               Describe debtor's property that is subject to a lien                     $16,745.00   Unknown
       Creditor's Name                                All assets
       820 Grapestone Lane
       Sonoma, CA 95476

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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 4     Kalpendu Shastri                               Describe debtor's property that is subject to a lien                     $532,628.00   Unknown
       Creditor's Name                                All assets
       5529 Willow Way
       Orefield, PA 18069
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Kopercrest Capital
 5     Holdings Inc.                                  Describe debtor's property that is subject to a lien                       $6,534.00   Unknown
       Creditor's Name                                All assets
       Mill Mall Tower, 2nd Fl
       Wickhams Cay 1, P.O. Box
       4406
       Road Town, TORTOLA, BVI
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Kuwait Investment
 6     Authority                                      Describe debtor's property that is subject to a lien              $243,841,781.00    Unknown
       Creditor's Name                                All assets
       Ministries Complex- Block
       No. 3
       P.O. Box 64- Safat 13001
       KUWAIT
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 7     Macintosh II LLC                               Describe debtor's property that is subject to a lien                      $460.00    Unknown
       Creditor's Name                                All assets
       Spinnaker Capital LLC
       One Joy Street
       Boston, MA 02108
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 8     North Point Partner LLC                        Describe debtor's property that is subject to a lien                     $5,290.00   Unknown
       Creditor's Name                                All assets
       Spinnaker Capital LLC
       One Joy Street
       Boston, MA 02108
       Creditor's mailing address                     Describe the lien


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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name


                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 9     Promerica Capital LLC                          Describe debtor's property that is subject to a lien                       $7,934.00   Unknown
       Creditor's Name                                All assets
       Spinnaker Capital LLC
       One Joy St.
       Boston, MA 02108
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 0     Prysm AV Investors, L.L.C.                     Describe debtor's property that is subject to a lien                     $353,096.00   Unknown
       Creditor's Name                                All assets
       2000 University Ave. #602
       Palo Alto, CA 94303
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2
 1      River Edge Partners LLC                       Describe debtor's property that is subject to a lien                     $4,591.00              Unknown
        Creditor's Name                               All assets
        Spinnaker Capital LLC
        One Joy Street
        Boston, MA 02108
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2
 2      S. Atiq Raza and                              Describe debtor's property that is subject to a lien                     $5,164.00              Unknown
        Creditor's Name                               All assets
        Nandini Saraiya, JTWROS
        1781 Arastradero Rd.
        Palo Alto, CA 94304
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                           $265,781,288
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    .00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.



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 Debtor       Prysm, Inc.                                                               Case number (if known)
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity




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 Fill in this information to identify the case:

 Debtor name         Prysm, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $494,105.40
           11711 N. College LLC                                               Contingent
           9339 Priority Way West Dr                                          Unliquidated
           Suite 120                                                          Disputed
           Indianapolis, IN 46240
                                                                             Basis for the claim:    Rent
           Date(s) debt was incurred 2/1/2019
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $6,558.32
           ACC Business                                                       Contingent
           PO Box 105306                                                      Unliquidated
           Atlanta, GA 30348-5306                                             Disputed
           Date(s) debt was incurred 1/27/2019
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $9,328.16
           ACC Business                                                       Contingent
           PO Box 105306                                                      Unliquidated
           Atlanta, GA 30348-5306                                             Disputed
           Date(s) debt was incurred 1/27/2019
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number 5072
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $840.00
           Adduci Mastriani                                                   Contingent
            & Schaumberg                                                      Unliquidated
           1133 Connecticut Avenue N.W.                                       Disputed
           Washington, DC 20036
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred 11/30/2018
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,954.53
          Advanced Cleanroom                                                  Contingent
          Microclean Corp.                                                    Unliquidated
          3250 S Susan St., Ste. A                                            Disputed
          Santa Ana, CA 92704
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Advanced Cleanroom
          Microclean Corporation                                              Contingent
          c/o VeriCore, LLC                                                   Unliquidated
          10115 Kincey Ave., Ste. 100                                         Disputed
          Huntersville, NC 28078
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Airgas
          c/o D&S, Ltd.                                                       Contingent
          13809 Research Blvd.                                                Unliquidated
          Ste. 800                                                            Disputed
          Austin, TX 78750
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,929.07
          AIRGAS USA, LLC                                                     Contingent
          PO BOX 734445                                                       Unliquidated
          Chicago, IL 60673-4445                                              Disputed
          Date(s) debt was incurred 11/1/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,613.20
          Alliance Maintenance                                                Contingent
          318 West 39th Street,                                               Unliquidated
          7th Floor                                                           Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $232.13
          Allied Electronics                                                  Contingent
          PO BOX 2325                                                         Unliquidated
          Fort Worth, TX 76113                                                Disputed
          Date(s) debt was incurred      12/26/2018                          Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Alps Electric                                                       Contingent
          (North America), Inc.                                               Unliquidated
          P.O. BOX 677917                                                     Disputed
          Dallas, TX 75267-7917
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 9/26/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,559.85
          Amazon Web Svcs, Inc.                                               Contingent
          PO BOX 84023                                                        Unliquidated
          Seattle, WA 98124-8423                                              Disputed
          Date(s) debt was incurred 3/3/2019
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,195.00
          America II Electronics, Inc
          c/o Altus Receivables Mgmnt                                         Contingent
          Attn: Grace Allen                                                   Unliquidated
          2400 Veterans Blvd, Ste. 300                                        Disputed
          Kenner, LA 70062
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/21/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          America II Electronics, Inc.                                        Contingent
          PO Box 21355                                                        Unliquidated
          Saint Petersburg, FL 33742                                          Disputed
          Date(s) debt was incurred 12/21/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,203.60
          Apttus Corporation                                                  Contingent
          1400 Fashion Island Blvd,                                           Unliquidated
          Suite 100                                                           Disputed
          San Mateo, CA 94404
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 4/2/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,032.50
          Artegis Law Group, LLP                                              Contingent
          710 Lakeway Dr.,                                                    Unliquidated
           Suite 185                                                          Disputed
          Sunnyvale, CA 94085
                                                                             Basis for the claim:    Legal
          Date(s) debt was incurred 6/20/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,909,319.69
          Asia Optical Int'l, Ltd.                                            Contingent
          Palm Grove House                                                    Unliquidated
          P.O. Box 438                                                        Disputed
          TORTOLA, BVI
                                                                             Basis for the claim:    Trade debt/Critical Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,527.25
          AT&T                                                                Contingent
          P.O. Box 5019                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $155.42
          AT&T                                                                Contingent
          PO Box 5025                                                         Unliquidated
          Carol Stream, IL 60197-5025                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       2609
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,602.40
          AT&T                                                                Contingent
          P.O. Box 5019                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       1173
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,626.47
          AT&T                                                                Contingent
          P.O. Box 5019                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       7440
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,412.97
          AT&T Mobility                                                       Contingent
          P.O. Box 6463                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 5/24/2020
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,280.00
          Atlas Private
          Security, Inc.                                                      Contingent
          1735 N 1st Street                                                   Unliquidated
          #104                                                                Disputed
          San Jose, CA 95112
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      2/8/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,584.73
          AvNet Electronic                                                    Contingent
          Marketing                                                           Unliquidated
          PO Box 100340                                                       Disputed
          Pasadena, CA 91189-0340
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/10/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          AvNet Electronics
          c/o Glassbert Pollack & Assoc                                       Contingent
          Att: Robert Pollack                                                 Unliquidated
          100 Fourth St., Ste. 570                                            Disputed
          San Rafael, CA 94901
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,497.50
          Avocor                                                              Contingent
          9375 SW Commerce Circle,                                            Unliquidated
          Suite 7A                                                            Disputed
          Wilsonville, OR 97070
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/20/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,251.00
          BASF Corporation                                                    Contingent
          100 Park Ave                                                        Unliquidated
          Florham Park, NJ 07932                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,970.40
          Bay Alarm                                                           Contingent
          491 Gianni Street                                                   Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,850.00
          BDO USA LLP                                                         Contingent
          PO Box 677973                                                       Unliquidated
          Dallas, TX 75267-7973                                               Disputed
          Date(s) debt was incurred 2/21/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $847.79
          Bird & Bird ATMD LLP
          2 Shenton Way #18-01                                                Contingent
          SGX Centre 1                                                        Unliquidated
          SINGAPORE CHINA                                                     Disputed
            68804
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 2/9/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,814.00
          Blue Star Services Group, Inc.                                      Contingent
          6748 Preston Avenue                                                 Unliquidated
          Suite G                                                             Disputed
          Livermore, CA 94551
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,563.45
          Breakaway Communications                                            Contingent
          381 Park Avenue South                                               Unliquidated
          Suite 1216                                                          Disputed
          New York, NY 10016
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $942.71
          Bright House                                                        Contingent
          Networks, LLC                                                       Unliquidated
          PO Box 790450                                                       Disputed
          Saint Louis, MO 63179-0450
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/27/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,471.45
          Canteen Refreshment                                                 Contingent
          Services                                                            Unliquidated
          PO Box 50196                                                        Disputed
          Los Angeles, CA 90074-0196
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 9/24/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45.00
          Canteen Refreshment
          Services                                                            Contingent
          Brewmaster Coffee & Tea                                             Unliquidated
          PO Box 91337                                                        Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 8/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,350.00
          Carlson Quinn                                                       Contingent
          2000 Powell Street                                                  Unliquidated
          Suite 1600                                                          Disputed
          Emeryville, CA 94608
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      12/19/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,441.88
          Certent. Inc.                                                       Contingent
          P.O. Box 398688                                                     Unliquidated
          San Francisco, CA 94139                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Channeltivity                                                       Contingent
          1920 Abbott Street                                                  Unliquidated
          Suite 303                                                           Disputed
          Charlotte, NC 28203
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      4/22/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,329.00
          Chofn Intellectual Property                                         Contingent
          ZuoanGongshe Plaza, 12th FL                                         Unliquidated
          68 N Fourth Road W, Haidian                                         Disputed
          BEJING- CHINA
                                                                             Basis for the claim:    Professional service
          Date(s) debt was incurred 12/26/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,760.34
          Cintas Fire Protection                                              Contingent
          PO Box 636525                                                       Unliquidated
          Cincinnati, OH 45263-6525                                           Disputed
          Date(s) debt was incurred 5/12/2020
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,105.56
          Clix Marketing Holding Co.                                          Contingent
          13900 Harbour View Court                                            Unliquidated
          Prospect, KY 40059                                                  Disputed
          Date(s) debt was incurred 1/2/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $106,629.36
          CMP Advanced
          Mechanical Solutions Ltd.                                           Contingent
          1241 Cascades                                                       Unliquidated
          Chateauguay, Quebec J6J 4Z2                                         Disputed
          CANADA
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 7/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $860.20
          Comcast
          c/o Windham Professionals                                           Contingent
          Attn: Michael                                                       Unliquidated
          382 Main Street                                                     Disputed
          Salem, NH 03079-2412
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/9/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Comcast                                                             Contingent
          c/o Windham Professionals                                           Unliquidated
          382 Main St.                                                        Disputed
          Salem, NH 03079
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ComEd                                                               Contingent
          c/o Credit Collection Services                                      Unliquidated
          725 Canton Street                                                   Disputed
          Norwood, MA 02062
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 2/6/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $837.95
          ComEd                                                               Contingent
          PO Box 6111                                                         Unliquidated
          Carol Stream, IL 60197-6111                                         Disputed
          Date(s) debt was incurred 2/6/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 Debtor       Prysm, Inc.                                                                             Case number (if known)
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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,078.50
          Concur Technologies                                                 Contingent
          62157 Collections Center Dr.                                        Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,242.00
          Contrast Design Works
          Talent Table LLC                                                    Contingent
          1330 Broadway                                                       Unliquidated
          Suite 1530                                                          Disputed
          Oakland, CA 94612
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/20/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250.00
          Corporate Writers LLC                                               Contingent
          199 Coolidge Ave. #115                                              Unliquidated
          Watertown, MA 02472-1521                                            Disputed
          Date(s) debt was incurred 1/23/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,999.80
          CPA Global Ltd.                                                     Contingent
          P.O. Box 894160                                                     Unliquidated
          Alexandria, VA 22314                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,745.30
          Crane Worldwide                                                     Contingent
          San Francisco                                                       Unliquidated
          P.O. Box 844174                                                     Disputed
          Dallas, TX 75284
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      12/15/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,703.20
          Darwin Chambers                                                     Contingent
          2945 Washington Ave.                                                Unliquidated
          Saint Louis, MO 63103                                               Disputed
          Date(s) debt was incurred 12/21/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,455.42
          DELL Marketing L.P.                                                 Contingent
          PO BOX 910916                                                       Unliquidated
          Pasadena, CA 91110                                                  Disputed
          Date(s) debt was incurred      1/3/2019                            Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,230.37
          Deloitte Belastingadviseurs B.V.                                    Contingent
          3072 AP Rotterdam                                                   Unliquidated
          P.O. Box 2031                                                       Disputed
          Rotterdam, NETHERLANDS 3000
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DIRECTV
          c/o Sequium Asset Solutions, LLC                                    Contingent
          1130 Northchase Parkway,                                            Unliquidated
          Suite 150                                                           Disputed
          Marietta, GA 30067
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/16/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $313.29
          DIRECTV                                                             Contingent
          PO Box 105249                                                       Unliquidated
          Atlanta, GA 30348-5249                                              Disputed
          Date(s) debt was incurred 1/16/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,472.00
          Discartes Visual Compliance USA LLC                                 Contingent
          P.O. Box 404037                                                     Unliquidated
          Atlanta, GA 30384-4037                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,832,139.57
          Divco West Real Estate
          Services, LLC                                                       Contingent
          575 Market Street,                                                  Unliquidated
           35th Floor                                                         Disputed
          San Francisco, CA 94105
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred 4/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Duke Energy                                                         Contingent
          c/o Helvey & Associates                                             Unliquidated
          1015 E Center Street                                                Disputed
          Warsaw, IN 46580-3420
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/2/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,064.10
          Duke Energy                                                         Contingent
          PO Box 1326                                                         Unliquidated
          Charlotte, NC 28201-1326                                            Disputed
          Date(s) debt was incurred 1/2/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $124.50
          DVIGear, Inc.                                                       Contingent
          1059 Triad Court,                                                   Unliquidated
          Suite 8                                                             Disputed
          Marietta, GA 30062
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      3/13/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $740.00
          Edge Mechanical, Inc.                                               Contingent
          619 N County Rd. 1050 E                                             Unliquidated
          Indianapolis, IN 46234                                              Disputed
          Date(s) debt was incurred 1/23/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,000.00
          El Baba Smart
          Technology                                                          Contingent
          Dubai World Central                                                 Unliquidated
          PO Box 712948                                                       Disputed
          DUBAI, AE
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      5/12/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Emerald Expositions, LLC                                            Contingent
          31910 Del Obispo, Ste 200                                           Unliquidated
          San Juan Capistrano, CA 92675                                       Disputed
          Date(s) debt was incurred 3/29/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,930.00
          ENL Electronics Corp.                                               Contingent
          Fl 7, 180, Chan An St,                                              Unliquidated
          Lu Chou                                                             Disputed
          TAIPEI- TAIWAN
                                                                             Basis for the claim:    Trade debt/Critical Vendor
          Date(s) debt was incurred 11/4/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $226,431.26
          ESRT 1350 Boradway LLC                                              Contingent
          P.O. Box 28627                                                      Unliquidated
          New York, NY 10087-8627                                             Disputed
          Date(s) debt was incurred 12/17/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,047.50
          Extron Logistics, LLC                                               Contingent
          496 South Abbott Ave                                                Unliquidated
          Milpitas, CA 95035                                                  Disputed
          Date(s) debt was incurred 5/8/2020
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $98,723.86
          FedEx                                                               Contingent
          PO Box 7221                                                         Unliquidated
          Pasadena, CA 91109                                                  Disputed
          Date(s) debt was incurred      4/3/2020                            Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,831.25
          Fish & Richardson                                                   Contingent
          P.O. Box 3295                                                       Unliquidated
          Boston, MA 02241                                                    Disputed
          Date(s) debt was incurred      2/27/2019                           Basis for the claim:    Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gartner, Inc.                                                       Contingent
          c/o Shipman & Goodwin                                               Unliquidated
          300 Atlantic Street                                                 Disputed
          Stamford, CT 06901-3522
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 2/4/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,119.75
          Gartner, Inc.                                                       Contingent
          PO Box 911319                                                       Unliquidated
          Dallas, TX 75391-1319                                               Disputed
          Date(s) debt was incurred 2/4/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $701.25
          Grainger                                                            Contingent
          2261 Ringwood Ave.                                                  Unliquidated
          San Jose, CA 95131-1717                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/ Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.00
          Greywall Inc.                                                       Contingent
          144 Bear Swamp Rd.                                                  Unliquidated
          East Hampton, CT 06424                                              Disputed
          Date(s) debt was incurred 12/15/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,250.00
          HW Farren, LLC                                                      Contingent
          PO Box 5052                                                         Unliquidated
          White Plains, NY 10602-5052                                         Disputed
          Date(s) debt was incurred 5/29/2020
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,380.00
          Intelligent Systems                                                 Contingent
          14630 Deerwood Dr                                                   Unliquidated
          Carmel, IN 46033                                                    Disputed
          Date(s) debt was incurred      12/16/2018                          Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,998.51
          IP Sextant s.r.l                                                    Contingent
          Via A. Salandra, 18                                                 Unliquidated
          ROMA- ITALY                                                         Disputed
          00187 00187
                                                                             Basis for the claim:    Professional service
          Date(s) debt was incurred      3/25/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $624.98
          Iron Mountain                                                       Contingent
          P.O. Box 601002                                                     Unliquidated
          Pasadena, CA 91189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $497.37
          J&J Machine Company                                                 Contingent
          66 B Bringham St.                                                   Unliquidated
          Marlborough, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $240.54
          JENSEN Tools & Supply                                               Contingent
          Dept LA 21458                                                       Unliquidated
          Pasadena, CA 91185-1458                                             Disputed
          Date(s) debt was incurred 12/24/2018
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189.16
          JP Metal Fabrication, Inc.                                          Contingent
          3355 Woodward Avenue                                                Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,376.95
          Kastle New York LLC                                                 Contingent
          655 Third Avenue,                                                   Unliquidated
          Suite 1520                                                          Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/21/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,332.00
          Lean & Local                                                        Contingent
          Lean Box                                                            Unliquidated
          60 Massachusetts Ave                                                Disputed
          Boston, MA 02115
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 2/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          Lessonly, Inc.                                                      Contingent
          1129 E 16th St.                                                     Unliquidated
          Indianapolis, IN 46202                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,246.20
          Level 3 Communications                                              Contingent
          PO Box 910182                                                       Unliquidated
          Denver, CO 80291-0182                                               Disputed
          Date(s) debt was incurred 1/17/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,659.99
          LogMeIn                                                             Contingent
          P.O. Box 50264                                                      Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $219,871.00
          Lohika Systems Inc                                                  Contingent
          1001 Bayhill Drive                                                  Unliquidated
          # 108                                                               Disputed
          San Bruno, CA 94006
                                                                             Basis for the claim:    Trade debt/Critical Vendor
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,159.00
          Mechanical Mgmt, Inc.                                               Contingent
          1501 Main Street,                                                   Unliquidated
          Unit 27                                                             Disputed
          Tewksbury, MA 01876
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/7/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,551.07
          Microsoft Corp.                                                     Contingent
          1950 N Stemmons Fwy Suite 5010                                      Unliquidated
          LB # 842467                                                         Disputed
          Dallas, TX 75284
                                                                             Basis for the claim:    Trade debt/Critical Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $77,539.68
          Min Aik Technology Co. Ltd.
          12F-1, #492-1, Sec.1,                                               Contingent
          Wan Shou RD.,                                                       Unliquidated
          Kuei Shan Shiang, Tao Yuan Hsien                                    Disputed
          TAIWAN
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/17/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,089.80
          Momentum Microsystems, Inc.                                         Contingent
          2030 Duane Ave. # 110                                               Unliquidated
          Santa Clara, CA 95054                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/ Critical Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MyOfficeProducts, LLC                                               Contingent
          c/o HTBS Credit                                                     Unliquidated
          PO Box 930257                                                       Disputed
          Atlanta, GA 31193-0257
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/9/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $340.92
          MyOfficeProducts, LLC                                               Contingent
          P.O. BOX 32192                                                      Unliquidated
          New York, NY 10087-2192                                             Disputed
          Date(s) debt was incurred 1/9/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,435.71
          National Machining & Engineering                                    Contingent
          42285 Osgood Road                                                   Unliquidated
          Suite C                                                             Disputed
          Fremont, CA 94539
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,332.49
          Newport Corporation                                                 Contingent
          27631 Network Place                                                 Unliquidated
          Chicago, IL 60673-1276                                              Disputed
          Date(s) debt was incurred 7/3/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Newtek Small Business Finance, LLC                                  Contingent
          1981 Marcus Ave.                                                    Unliquidated
          Suite 130                                                           Disputed
          New Hyde Park, NY 11042
                                                                             Basis for the claim:    Paycheck Protection Program
          Date(s) debt was incurred 4/14/2020
          Last 4 digits of account number 7002                               Is the claim subject to offset?    No  Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,014.01
          OCR                                                                 Contingent
          PO Box 369                                                          Unliquidated
          Goldenrod, FL 32733                                                 Disputed
          Date(s) debt was incurred      10/31/2019                          Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80.14
          Olympic Products Inc.                                               Contingent
          2825 N Arlington Ave                                                Unliquidated
          Indianapolis, IN 46218                                              Disputed
          Date(s) debt was incurred 2/14/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,802.36
          OMEGA Engineering, Inc.                                             Contingent
          26904 Network Place                                                 Unliquidated
          Chicago, IL 60673-1269                                              Disputed
          Date(s) debt was incurred 1/14/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.00
          Outsource to 1                                                      Contingent
          5251 Kessler Blvd North Dr.                                         Unliquidated
          Indianapolis, IN 46228                                              Disputed
          Date(s) debt was incurred 1/16/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,268.21
          Patterson & Sheridan LLP                                            Contingent
          PO BOX 846274                                                       Unliquidated
          Dallas, TX 75284                                                    Disputed
          Date(s) debt was incurred 6/26/2019
                                                                             Basis for the claim:    Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,400.14
          PCM Tiger Direct                                                    Contingent
          File 55327                                                          Unliquidated
          NEED MAILING ADDRESS                                                Disputed
          Los Angeles, CA 90074-5327
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 4/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,776.32
          Perkins Coie                                                        Contingent
          PO Box 24643                                                        Unliquidated
          Seattle, WA 98124-0643                                              Disputed
          Date(s) debt was incurred 8/19/2019
                                                                             Basis for the claim:    Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,211.71
          Polymershapes LLC                                                   Contingent
          65 Middlesex Rd.                                                    Unliquidated
          Tyngsboro, MA 01879                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $91,700.28
          PQ Labs                                                             Contingent
          3754 Spinnaker Court                                                Unliquidated
          Fremont, CA 94538-6537                                              Disputed
          Date(s) debt was incurred 10/31/2019
                                                                             Basis for the claim:    Trade debt/Critical Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,650.77
          PR Newswire                                                         Contingent
          Association, LLC                                                    Unliquidated
          GPO Box 5897                                                        Disputed
          New York, NY 10087-5897
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 3/30/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          PR Newswire Association, LLC
          c/o ABC/Amega                                                       Contingent
          500 Seneca St.                                                      Unliquidated
          Ste. 400                                                            Disputed
          Buffalo, NY 14204
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 3/30/2019
          Last 4 digits of account number 7426                               Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,669.99
          Prodigio Design Ltd.
          4 Bakersgate Courtyard                                              Contingent
          Pirbright                                                           Unliquidated
          Surrey, UK GU24 ONJ                                                 Disputed
          ENGLAND
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 2/7/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $135.00
          PROShred Security                                                   Contingent
          3140 N. Shadeland Ave                                               Unliquidated
          Indianapolis, IN 46226                                              Disputed
          Date(s) debt was incurred 1/2/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Prudential Overal Supply Cleanroom Ser
          c/o STA International                                               Contingent
          Patricia Conetta                                                    Unliquidated
          225 Broadhollow Road, Ste. 150                                      Disputed
          Melville, NY 11747-4822
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/19/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,878.89
          Prundential Overall Supply                                          Contingent
          Cleanroom Service                                                   Unliquidated
          P.O.Box 11210                                                       Disputed
          Santa Ana, CA 92711-1210
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/19/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $603.06
          Pure Health                                                         Contingent
          Solutions, Inc.                                                     Unliquidated
          PO Box 5066                                                         Disputed
          Hartford, CT 06102-5066
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 5/22/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Referential, Inc.                                                   Contingent
          1150 Hillsdale Ave.,                                                Unliquidated
          Suite 100                                                           Disputed
          San Jose, CA 95118
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      12/28/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,302.65
          Republic Services, Inc.                                             Contingent
          P.O. Box 78829                                                      Unliquidated
          Phoenix, AZ 85062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,890.00
          SBMC Law, P.S.                                                      Contingent
          116 W Pacific Avenue                                                Unliquidated
          Suite 200                                                           Disputed
          Spokane, WA 99201
                                                                             Basis for the claim:    Legal
          Date(s) debt was incurred 4/30/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,750.00
          Schmitt Industries, Inc.                                            Contingent
          2765 NW Nicolai St                                                  Unliquidated
          Portland, OR 97210                                                  Disputed
          Date(s) debt was incurred 2/4/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,030.00
          Servicenow, Inc.                                                    Contingent
          PO BOX 731647                                                       Unliquidated
          Dallas, TX 75373-1647                                               Disputed
          Date(s) debt was incurred 12/30/2019
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,000.00
          SFO Technologies Pvt.Ltd
          Electronics Division                                                Contingent
          Plot No. 36/37,                                                     Unliquidated
          CSEZ, Kakkanad 682 037                                              Disputed
          COCHIN- INDIA
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/1/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $179.35
          Sharp Electronics                                                   Contingent
          Dept LA 21510                                                       Unliquidated
          Pasadena, CA 91185-5000                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,682.69
          SHI International Corporation                                       Contingent
          P.O. Box 41602                                                      Unliquidated
          Philadelphia, PA 19101-1602                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Spectrum Business
          c/o Access Receivables Mgmt                                         Contingent
          Attn: Gary Borror                                                   Unliquidated
          11350 McCormick Rd.-Executive Plaza III                             Disputed
          Hunt Valley, MD 21031
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/4/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,168.31
          Spectrum Business                                                   Contingent
          Time Warner Cable                                                   Unliquidated
          PO Box 742663                                                       Disputed
          Cincinnati, OH 45274-2663
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/4/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $67,083.40
          SPIRE HRA
          One O'Hare, LP                                                      Contingent
          1700 Broadway                                                       Unliquidated
          Suite 650                                                           Disputed
          Denver, CO 80290
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      1/15/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Squirrels LLC                                                       Contingent
          121 Wilbur Dr. NE                                                   Unliquidated
          North Canton, OH 44720                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,082.42
          Sun Strong Precision Metal Int'l
          Room 7-9,12F, Peninsula Tower                                       Contingent
          538 Castle Road                                                     Unliquidated
          Cheung Sha Wan, Kowloom                                             Disputed
          HONG KONG
                                                                             Basis for the claim:    Trade debt/Critical Vendor
          Date(s) debt was incurred 2/28/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $364.20
          Tekra Corporation                                                   Contingent
          8084 Solutions Center                                               Unliquidated
          Chicago, IL 60694                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $67.89
          Tektronix, Inc.                                                     Contingent
          PO Box 742644                                                       Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred 1/3/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $139.17
          Test Equity LLC                                                     Contingent
          100 Ames Pond Dr.                                                   Unliquidated
          Suite 202                                                           Disputed
          Tewksbury, MA 01876
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,288.44
          Text Hundred India
          Private Ltd.                                                        Contingent
          2nd Floor, TDI Centre,                                              Unliquidated
          Plot No.7, Jasola                                                   Disputed
          NEW DELHI- INDIA, AE 00011-0025
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/13/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,425.00
          The Scatter Works Inc.                                              Contingent
          139 NE Linden Ave                                                   Unliquidated
          Gresham, OR 97030                                                   Disputed
          Date(s) debt was incurred 1/15/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $242.71
          ThyssenKrupp
          Elevator Corporation                                                Contingent
          3100 Interstate North Cir SE                                        Unliquidated
          Suite 200                                                           Disputed
          Atlanta, GA 30339-2227
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,472.89
          Toll Global Forwarding                                              Contingent
          P.O. Box 894160                                                     Unliquidated
          Los Angeles, CA 90189-4160                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,149.80
          Town of Concord                                                     Contingent
          Attn: Municipal Lights                                              Unliquidated
          P.O. Box 590                                                        Disputed
          Concord, MA 01742-0590
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Triumph Modular, Inc.                                               Contingent
          194 Ayer Rd                                                         Unliquidated
          Littleton, MA 01460                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Trump Card Corp.
          c/o Baxter Bailey & Assoc.                                          Contingent
          1630 Goodman Road East                                              Unliquidated
          Suite 1                                                             Disputed
          Southaven, MS 38671
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,634.54
          Trump Card Corp.                                                    Contingent
          23807 Aliso Creek Rd.                                               Unliquidated
          Suite 200                                                           Disputed
          Laguna Niguel, CA 92677
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          UMEC TW
          3,27TH RD.TAICHUNG                                                  Contingent
          INDUSTRIAL PARK                                                     Unliquidated
          TAICHUNG                                                            Disputed
          TAIWAN
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 1/10/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,722.23
          UNIFIED2 Global                                                     Contingent
          Packaging Group                                                     Unliquidated
          223 Worcester Providence Tpke                                       Disputed
          Sutton, MA 01590
                                                                             Basis for the claim:    Trade debt/Key Vendor
          Date(s) debt was incurred 5/4/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,579.19
          Unigen Corporation                                                  Contingent
          39730 Eureka Dr                                                     Unliquidated
          Newark, CA 94560                                                    Disputed
          Date(s) debt was incurred      12/21/2018                          Basis for the claim:    Trade debt/Critical Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,659.40
          United Sheetmetal Inc.                                              Contingent
          44153 S. Grimmer Blvd.                                              Unliquidated
          Fremont, CA 94538                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt/Critical Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          VisualizeROI                                                        Contingent
          101A Clay Street,                                                   Unliquidated
          Suite 183                                                           Disputed
          San Francisco, CA 94111
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 2/12/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $221.28
          VWR International                                                   Contingent
          PO BOX 640169                                                       Unliquidated
          Pittsburgh, PA 15264                                                Disputed
          Date(s) debt was incurred      5/15/2019                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $458.32
          Waste Connections                                                   Contingent
          PO Box 660654                                                       Unliquidated
          Dallas, TX 75266-0654                                               Disputed
          Date(s) debt was incurred 7/4/2019
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $79,485.86
          Whale Rock LLC                                                      Contingent
          56 Winthrop St.                                                     Unliquidated
          Concord, MA 01742                                                   Disputed
          Date(s) debt was incurred      2/1/2019                            Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $157,415.20
          Wilson Sonsini                                                      Contingent
          Goodrich & Rosati                                                   Unliquidated
          P.O. Box 742866                                                     Disputed
          Los Angeles, CA 90074
                                                                             Basis for the claim:    Legal
          Date(s) debt was incurred 11/26/2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Prysm, Inc.                                                                             Case number (if known)
              Name

 3.145     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,496.23
           Windstream                                                         Contingent
           P.O. BOX 9001013                                                   Unliquidated
           Louisville, KY 40290-1013                                          Disputed
           Date(s) debt was incurred 1/15/2019
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $619.95
           Wisetek                                                            Contingent
           3200 Hubbard Rd                                                    Unliquidated
           Hyattsville, MD 20785                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,300.00
           Wolfe - SBMC                                                       Contingent
           116 W. Pacific Ave.,                                               Unliquidated
           Suite 300                                                          Disputed
           Spokane, WA 99201
                                                                             Basis for the claim:    Professional services
           Date(s) debt was incurred     2/28/2019
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.148     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Wooden McLaughlin, LLP                                             Contingent
           211 N. Pennsylvania St.                                            Unliquidated
           Indiana Square, Ste. 1800                                          Disputed
           Indianapolis, IN 46204
                                                                             Basis for the claim:    Legal
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.149     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $15,000.00
           Workato                                                            Contingent
           215 Castro Street,                                                 Unliquidated
           Suite 300                                                          Disputed
           Mountain View, CA 94041
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred 8/30/2019
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Shipman & Goodwin LLP
           Attn: Alison P. Baker, Esq.                                                                Line     3.71
           300 Atlantic St., 3rd Floor
           Stamford, CT 06901                                                                               Not listed. Explain


 4.2       Sternbach, Lawlor & Rella LLP
           Attn: Todd D. Lawlor, Esq.                                                                 Line     3.66
           261 Madison Ave, 9th Floor
           New York, NY 10016                                                                               Not listed. Explain




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 Debtor       Prysm, Inc.                                                                         Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.3       Wooden McLaughlin LLP
           Attn: Matthew M. Adolay, Esq.                                                         Line      3.1
           One Indiana Square
           Suite 1800                                                                                  Not listed. Explain

           Indianapolis, IN 46204


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.         $                          0.00
 5b. Total claims from Part 2                                                                        5b.    +    $                  7,853,788.57

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.         $                    7,853,788.57




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 Fill in this information to identify the case:

 Debtor name         Prysm, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Office Rent: Carmel, IN
              lease is for and the nature of              Office
              the debtor's interest
                                                                                        11711 N. College LLC
                  State the term remaining                3/30/2021                     c/o Chano Real Estate
                                                                                        Partners
              List the contract number of any                                           7215 E. 21st St.
                    government contract                                                 Indianapolis, IN 46219


 2.2.         State what the contract or                  Vendor Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                        Adobe
              List the contract number of any                                           345 Park Ave
                    government contract                                                 San Jose, CA 95110


 2.3.         State what the contract or                  Service Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                           ADP
                    government contract


 2.4.         State what the contract or                  Purchase Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining

              List the contract number of any                                           Alps Electric (North America), Inc.
                    government contract




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 Debtor 1 Prysm, Inc.                                                                                 Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

 2.5.        State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                             Amazon Web Services
             List the contract number of any                                                 410 Terry Ave North
                   government contract                                                       Seattle, WA 98109-5210


 2.6.        State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6/29/2021

             List the contract number of any                                                 Amgen- HQ
                   government contract


 2.7.        State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                             Arena Solutions, Inc.
             List the contract number of any                                                 PO Box 122637
                   government contract                                                       Dallas, TX 75312-2637


 2.8.        State what the contract or                   Contract- sole supplier
             lease is for and the nature of               of key components of
             the debtor's interest                        Prysm LPD Displays
                                                                                             Asia Optical Int'l, Ltd.
                  State the term remaining                                                   Palm Grove House
                                                                                             P.O. Box 438
             List the contract number of any                                                 TORTOLA, BVI
                   government contract


 2.9.        State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                   Atlassian - San Francisco
                                                                                             Level 6, 341 George St
             List the contract number of any                                                 Sydney NSW 2000
                   government contract                                                       Australia


 2.10.       State what the contract or                   Purchase
             lease is for and the nature of               Order/Agreement
             the debtor's interest                                                           Audio-Technia Corp.
                                                                                             Technia-House
                  State the term remaining                                                   1-8-3 Yushima
                                                                                             Bunkyo-Ku- Tokyo
             List the contract number of any                                                 JAPAN
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 Debtor 1 Prysm, Inc.                                                                                 Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

                    government contract


 2.11.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                   Avalara
                                                                                             255 S. King St
             List the contract number of any                                                 Ste. 1800
                   government contract                                                       Seattle, WA 98104


 2.12.       State what the contract or                   Executory
             lease is for and the nature of               Contract/Locton, Inc.
             the debtor's interest

                  State the term remaining                4/30/2021

             List the contract number of any                                                 Baker Audio Visual
                   government contract


 2.13.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Bomgar
                   government contract


 2.14.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                5/1/2021

             List the contract number of any                                                 Capgemini Technology Services India Ltd.
                   government contract


 2.15.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Channeltivity LLC
                   government contract


 2.16.       State what the contract or                   Vendor Agreement
             lease is for and the nature of                                                  Concur Technologies
             the debtor's interest                                                           62157 Collections Center Dr.
                                                                                             Chicago, IL 60693
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 Debtor 1 Prysm, Inc.                                                                                Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Executory
             lease is for and the nature of               Contract/Pepper Assets
             the debtor's interest                        Services

                  State the term remaining                6/7/2021

             List the contract number of any                                                 Dekom
                   government contract


 2.18.       State what the contract or                   Purchase
             lease is for and the nature of               Orders/Agreement
             the debtor's interest

                  State the term remaining                                                   DENKA Corp.
                                                                                             780 Third Ave.
             List the contract number of any                                                 8th Fl.
                   government contract                                                       New York, NY 10017


 2.19.       State what the contract or                   Office Rent: San Jose
             lease is for and the nature of               Office
             the debtor's interest

                  State the term remaining                9/30/2021                          Divco West Real Estate Service, LLC
                                                                                             150 California St.
             List the contract number of any                                                 Suite 1200
                   government contract                                                       San Francisco, CA 94111


 2.20.       State what the contract or                   Executory
             lease is for and the nature of               Contract/EXL Services
             the debtor's interest

                  State the term remaining                4/2/2023

             List the contract number of any                                                 Diversified Systems LLC
                   government contract


 2.21.       State what the contract or                   Vendor
             lease is for and the nature of               Agreement/Cloud
             the debtor's interest                        Service Agreement

                  State the term remaining

             List the contract number of any                                                 Egnye
                   government contract



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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

 2.22.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Egnyte
                   government contract


 2.23.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 EMS
                   government contract


 2.24.       State what the contract or                   Contact- sole supplier
             lease is for and the nature of               of key components of
             the debtor's interest                        Prsym LPD Displays
                                                                                             ENL Electronics Corp
                  State the term remaining                                                   Fl 7, 180, Chan An St.
                                                                                             Lu Chou
             List the contract number of any                                                 Taipei
                   government contract                                                       TAIWAIN


 2.25.       State what the contract or                   Vendor Agreement-
             lease is for and the nature of               Media Accounts
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 FB/Google/Linked/Twitter/YouTube
                   government contract


 2.26.       State what the contract or                   401K Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Fidelity
                   government contract


 2.27.       State what the contract or                   Executory
             lease is for and the nature of               Contract/GEMS
             the debtor's interest                        Academy

                  State the term remaining                9/15/2021
                                                                                             First Video Communications FZ-LLC
             List the contract number of any
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

                    government contract


 2.28.       State what the contract or                   Executory Contract/SIG
             lease is for and the nature of               Combibloc Obeikan
             the debtor's interest

                  State the term remaining                1/1/2021

             List the contract number of any                                                 First Video Communications FZ-LLC
                   government contract


 2.29.       State what the contract or                   Executory
             lease is for and the nature of               Contract/Dubai
             the debtor's interest                        Petroleum

                  State the term remaining                3/26/2023

             List the contract number of any                                                 First Video Communications FZ-LLC
                   government contract


 2.30.       State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Focus Manufacturing Co., Ltd
                   government contract


 2.31.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 GoDaddy
                   government contract


 2.32.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                             HubSpot, Inc.
             List the contract number of any                                                 PO Box 419842
                   government contract                                                       Boston, MA 02241-9842


 2.33.       State what the contract or                   Executory
             lease is for and the nature of               Contract/Larsen &
             the debtor's interest                        Toubro Limited                     Inflow Technologies PVT Ltd

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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

                  State the term remaining                11/30/2020

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Enterprise License
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 JW Player
                   government contract


 2.35.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Labview
                   government contract


 2.36.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                9/27/2020

             List the contract number of any                                                 Larsen & Toubro Limited
                   government contract


 2.37.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Law Room
                   government contract


 2.38.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                8/2/2022

             List the contract number of any                                                 Lehigh Valley Health Network
                   government contract



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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

 2.39.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                             Lessonly, Inc.
             List the contract number of any                                                 1129 E 16th St.
                   government contract                                                       Indianapolis, IN 46202


 2.40.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                             LogMeIn
             List the contract number of any                                                 P.O. Box 50264
                   government contract                                                       Los Angeles, CA 90074


 2.41.       State what the contract or                   Contact- sole supplier
             lease is for and the nature of               of key components of
             the debtor's interest                        Prsym LPD Displays

                  State the term remaining                                                   Lohika Systems Inc.
                                                                                             1001 Bayhill Drive
             List the contract number of any                                                 #108
                   government contract                                                        CA 94006


 2.42.       State what the contract or                   Lease Agreement-
             lease is for and the nature of               Bartlett Ave. MA
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Loje Realty Holdings LLC
                   government contract


 2.43.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                             Microsoft Corp.
             List the contract number of any                                                 P.O. Box 369
                   government contract                                                       Goldenrod, FL 32733


 2.44.       State what the contract or                   Purchase
             lease is for and the nature of               Orders/Agreement
             the debtor's interest

                  State the term remaining
                                                                                             MinAik and Eyesaver
             List the contract number of any
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

                    government contract


 2.45.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                9/30/2020

             List the contract number of any                                                 Miron Construction
                   government contract


 2.46.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                1/4/2021

             List the contract number of any                                                 Moenco
                   government contract


 2.47.       State what the contract or                   AVC Patent Portfolio
             lease is for and the nature of               License
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 MPEG LA, LLC
                   government contract


 2.48.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                   NetSuite, Inc.
                                                                                             2955 Campus Dr.
             List the contract number of any                                                 Ste. 100
                   government contract                                                       San Mateo, CA 94403


 2.49.       State what the contract or                   Business Associate
             lease is for and the nature of               Contract/Insurance
             the debtor's interest                        Broker

                  State the term remaining
                                                                                             NFP CORPORATE SERVICES, LLC
             List the contract number of any                                                 176 FEDERAL STREET
                   government contract                                                       Boston, MA 02110


 2.50.       State what the contract or                   Purchase
             lease is for and the nature of               Orders/Agreement
             the debtor's interest                                                           Nichia

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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Orcad
                   government contract


 2.52.       State what the contract or                   Purchase
             lease is for and the nature of               Orders/Agreement
             the debtor's interest

                  State the term remaining                                                   Panasonic Industrial Devices
                                                                                             Sale Company of America
             List the contract number of any                                                 P.O. Box 100361
                   government contract                                                       Pasadena, CA 91189-0361


 2.53.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                6/7/2021

             List the contract number of any                                                 Pepper Assets Services
                   government contract


 2.54.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                                 Polycom
                   government contract


 2.55.       State what the contract or                   Contact- sole supplier
             lease is for and the nature of               of key components of
             the debtor's interest                        Prsym LPD Displays

                  State the term remaining
                                                                                             PQ Labs
             List the contract number of any                                                 3754 Spinnaker Court
                   government contract                                                       Fremont, CA 94538-6537




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired
                                                                                         lease

 2.56.       State what the contract or                   Office Lease
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                December 31,2020
                                                                                             Prysm, Inc.
             List the contract number of any                                                 513 Fairview Way
                   government contract                                                       Milpitas, CA 95035


 2.57.       State what the contract or                   Office Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                November 30, 2023
                                                                                             Prysm, Inc.
             List the contract number of any                                                 45 Bartlett Street
                   government contract                                                       Marlborough, MA 01752


 2.58.       State what the contract or                   Office Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                September 30, 2021                 Prysm, Inc.- Headquarters location
                                                                                             180 Baytech Dr.
             List the contract number of any                                                 Suite 200
                   government contract                                                       San Jose, CA 95134


 2.59.       State what the contract or                   Water Cooler Rental
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                2/28/2022
                                                                                             Pure Health Solutions, Inc.
             List the contract number of any                                                 P.O. Box 5066
                   government contract                                                       Hartford, CT 06102


 2.60.       State what the contract or                   Consulting
             lease is for and the nature of               Agreement/Contractor
             the debtor's interest                        Agency

                  State the term remaining
                                                                                             R&D Technical Services, Inc.
             List the contract number of any                                                 PO Box 1162
                   government contract                                                       Santa Clara, CA 95052


 2.61.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                                   Salesforce.com, Inc.
                                                                                             P.O. Box 203141
             List the contract number of any                                                 Dallas, TX 75320
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.62.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                             SecureDocs
                   government contract


 2.63.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Servicenow, Inc.
             List the contract number of any                                             P.O. Box 731647
                   government contract                                                   Dallas, TX 75373-1647


 2.64.       State what the contract or                   Maintenance
             lease is for and the nature of               Agreement/Contract
             the debtor's interest

                  State the term remaining
                                                                                         Sharp Electronics
             List the contract number of any                                             Dept LA 21510
                   government contract                                                   Pasadena, CA 91185-5000


 2.65.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         SHI International Corporation
             List the contract number of any                                             P.O. Box 952121
                   government contract                                                   Dallas, TX 75395-2121


 2.66.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                             Slack
                   government contract


 2.67.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest                                                       Solidworks

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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.68.       State what the contract or                   Systems Integrator
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining

             List the contract number of any                                             Squirrels LLC
                   government contract


 2.69.       State what the contract or                   Contact-sole supplier
             lease is for and the nature of               of key components of
             the debtor's interest                        Prsym LPD Displays
                                                                                         Sun Strong Precision Metal Int'l Ltd.
                  State the term remaining                                               Room 7-9, 12F, Peninsula Tower
                                                                                         538 Castle Road
             List the contract number of any                                             Cheung Sha Wan
                   government contract                                                   Kowloom, Hong Kong


 2.70.       State what the contract or                   Executory
             lease is for and the nature of               Contract/Abu Dhabi
             the debtor's interest                        Police
                                                                                         Tera Audi Visual Advanced Systems LLC
                  State the term remaining                6/19/2021                      Office No. 12, Flr 9th Union Bank Bldg
                                                                                         Corniche Road
             List the contract number of any                                             Abu Dhabi, United Arab Emirates
                   government contract


 2.71.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                10/31/2021

             List the contract number of any                                             Triangle Experience Group, Inc.
                   government contract


 2.72.       State what the contract or                   Contact- sole supplier
             lease is for and the nature of               of key components of
             the debtor's interest                        Prsym LPD Displays

                  State the term remaining
                                                                                         Unigen Corporation
             List the contract number of any                                             39730 Eureka Dr.
                   government contract                                                   Newark, CA 94560




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.73.       State what the contract or                   Contract-sole supplier
             lease is for and the nature of               of key components of
             the debtor's interest                        Prysm LPD Displays

                  State the term remaining
                                                                                         United Sheetmetal Inc.
             List the contract number of any                                             44153 S. Grimmer Blvd.
                   government contract                                                   Fremont, CA 94538


 2.74.       State what the contract or                   Purchase
             lease is for and the nature of               Order/Agreement
             the debtor's interest

                  State the term remaining
                                                                                         United Sheetmetal Inc.
             List the contract number of any                                             44153 S. Grimmer Blvd.
                   government contract                                                   Fremont, CA 94538


 2.75.       State what the contract or                   Executory Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                11/16/2022

             List the contract number of any                                             Vistacom Inc.
                   government contract


 2.76.       State what the contract or                   Lease Agreement-
             lease is for and the nature of               Concord, MA
             the debtor's interest

                  State the term remaining                August 30,2020
                                                                                         Whale Rock LLC
             List the contract number of any                                             45 Winthrop St.
                   government contract                                                   Concord, MA 01742


 2.77.       State what the contract or                   Executory
             lease is for and the nature of               Contract/Sealed Air
             the debtor's interest                        Corporation

                  State the term remaining                1/29/2022

             List the contract number of any                                             Whitlock
                   government contract


 2.78.       State what the contract or                   Executory
             lease is for and the nature of               Contract/NASA
             the debtor's interest

                  State the term remaining                5/31/2021
                                                                                         Whitlock
             List the contract number of any
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.79.       State what the contract or                   Lease Agreement-
             lease is for and the nature of               Milpitas, CA
             the debtor's interest

                  State the term remaining
                                                                                         Winston D. Chang
             List the contract number of any                                             2827 Lakeview Court
                   government contract                                                   Fremont, CA 94538


 2.80.       State what the contract or                   Vendor Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                             Wistia
                   government contract




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 Fill in this information to identify the case:

 Debtor name         Prysm, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




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 Fill in this information to identify the case:

 Debtor name         Prysm, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                              $5,067,240.01
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                             $12,722,281.18
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                             $19,299,782.53
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               City of San Jose, CA                                        5/7/2020                         $11,707.05          Secured debt
               P.O. Box 39000                                                                                                   Unsecured loan repayments
               San Francisco, CA 94139                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Taxes

       3.2.
               AmazonWeb Services, Inc.                                    5/7/2020                         $14,576.24          Secured debt
               P.O. Box 84023                                                                                                   Unsecured loan repayments
               Seattle, WA 98124-8423                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Momentum Microsystems, Inc.                                 5/7/2020                           $7,897.00         Secured debt
               2030 Duane Ave. # 110                                                                                            Unsecured loan repayments
               Santa Clara, CA 95054                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               Dubai Multi Commodities                                     5/12/2020                        $17,159.09          Secured debt
               Centre (DMCC)                                                                                                    Unsecured loan repayments
               Jumeirah Lakes Tower                                                                                             Suppliers or vendors
               P.O. Box 4880
               DUBAI- UA
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               PG&E                                                        5/19/2020                        $11,117.39          Secured debt
               P.O. Box 997300                                                                                                  Unsecured loan repayments
               Sacramento, CA 95899                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Utilities

       3.6.
               Town of Concord                                             5/20/2020                          $6,461.78         Secured debt
               Municipal Light                                                                                                  Unsecured loan repayments
               PO Box 89 4160                                                                                                   Suppliers or vendors
               Los Angeles, CA 90189                                                                                            Services
                                                                                                                                Other   Utilities

       3.7.
               Gellert Scali Busenkell                                     5/26/2020                        $50,000.00          Secured debt
               & Brown, LLC                                                                                                     Unsecured loan repayments
               1201 N. Orange St.                                                                                               Suppliers or vendors
               Suite 300
               Wilmington, DE 19801
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               Asia Optical Int'l, Ltd.                                    5/26/2020                       $170,000.00          Secured debt
               Palm Grove House                                                                                                 Unsecured loan repayments
               P.O. Box 438                                                                                                     Suppliers or vendors
               TORTOLA, BVI
                                                                                                                                Services
                                                                                                                                Other



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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               United Sheetmetal Inc.                                      5/27/2020                        $10,312.41          Secured debt
               44153 S. Grimmer Blvd.                                                                                           Unsecured loan repayments
               Fremont, CA 94538                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.10
       .    Microsoft Corp.                                                5/27/2020                        $31,591.19          Secured debt
               P.O. Box 369                                                                                                     Unsecured loan repayments
               Goldenrod, FL 32733                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.11
       .    FedEx                                                          5/27/2020                        $12,282.77          Secured debt
               PO BOX 7221                                                                                                      Unsecured loan repayments
               Pasadena, CA                                                                                                     Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.12
       .    Saint-Gobain                                                   5/28/2020                          $7,540.69         Secured debt
               Performance Plastics Corp                                                                                        Unsecured loan repayments
               P.O. Box 743699                                                                                                  Suppliers or vendors
               Atlanta, GA 30374-3699
                                                                                                                                Services
                                                                                                                                Other

       3.13
       .    AmazonWeb Services, Inc.                                       5/28/2020                        $14,199.78          Secured debt
               P.O. Box 84023                                                                                                   Unsecured loan repayments
               Seattle, WA 98124-8423                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.14
       .
            Whale Rock LLC                                                 5/29/2020                        $39,742.93          Secured debt
               56 Winthrop St.                                                                                                  Unsecured loan repayments
               Concord, MA 01742                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.15
       .    Divco West Real Estate                                         5/29/2020                        $50,000.00          Secured debt
               Services LLC                                                                                                     Unsecured loan repayments
               575 Market St.                                                                                                   Suppliers or vendors
               35th Floor                                                                                                       Services
               San Francisco, CA 94105
                                                                                                                                Other   Rent

       3.16
       .    Sun Strong Precision Metal Int'l Ltd.                          5/29/2020                        $12,829.18          Secured debt
               Palm Grove House                                                                                                 Unsecured loan repayments
               P.O. Box 438                                                                                                     Suppliers or vendors
               TORTOLA, BVI
                                                                                                                                Services
                                                                                                                                Other



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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.17
       .    Toll Global Forwarding                                         5/29/2020                          $6,947.73         Secured debt
               P.O. Box 89 4160                                                                                                 Unsecured loan repayments
               Los Angeles, CA 90189-4160                                                                                       Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.18
       .    Gellert Scali Busenkell & Brown, LLC                           6/25/2020                        $20,000.00          Secured debt
               1201 N. Orange Street                                                                                            Unsecured loan repayments
               Suite 300                                                                                                        Suppliers or vendors
               Wilmington, DE 19801
                                                                                                                                Services
                                                                                                                                Other

       3.19
       .    Prysm Displays (India) Private Ltd.                            5/20/2020                        $63,625.00          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.20
       .    Asia Optical Int'l, Ltd.                                       5/26/2020                       $170,000.00          Secured debt
               Palm Grove House                                                                                                 Unsecured loan repayments
               P.O. Box 438                                                                                                     Suppliers or vendors
               TORTOLA, BVI
                                                                                                                                Services
                                                                                                                                Other

       3.21
       .    United Sheetmetal Inc.                                         5/27/2020                        $10,312.41          Secured debt
               44153 S. Grimmer Blvd.                                                                                           Unsecured loan repayments
               Fremont, CA 94538                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.22
       .    Microsoft Corp.                                                5/27/2020                        $31,591.19          Secured debt
               P.O. Box 369                                                                                                     Unsecured loan repayments
               Goldenrod, FL 32733                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.23
       .    FedEx                                                          5/27/2020                        $12,293.89          Secured debt
               PO BOX 7221                                                                                                      Unsecured loan repayments
               Pasadena, CA                                                                                                     Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.24
       .    FedEx                                                          5/27/2020                        $12,282.77          Secured debt
               PO BOX 7221                                                                                                      Unsecured loan repayments
               Pasadena, CA                                                                                                     Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.25
       .    Saint-Gobain                                                   5/28/2020                          $7,540.69         Secured debt
               Performance Plastics Corp                                                                                        Unsecured loan repayments
               P.O. Box 743699                                                                                                  Suppliers or vendors
               Atlanta, GA 30374-3699
                                                                                                                                Services
                                                                                                                                Other

       3.26
       .    Amazon Web Services                                            5/28/2020                        $14,199.78          Secured debt
               410 Terry Ave North                                                                                              Unsecured loan repayments
               Seattle, WA 98109-5210                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.27
       .    Whale Rock LLC                                                 5/29/2020                        $39,742.93          Secured debt
               56 Winthrop St.                                                                                                  Unsecured loan repayments
               Concord, MA 01742                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.28
       .    Divco West Real Estate Service, LLC                            5/29/2020                        $50,000.00          Secured debt
               150 California St.                                                                                               Unsecured loan repayments
               Suite 1200                                                                                                       Suppliers or vendors
               San Francisco, CA 94111                                                                                          Services
                                                                                                                                Other   Rent

       3.29
       .    Sun Strong Precision Metal Int'l Ltd.                          5/29/2020                        $12,829.18          Secured debt
               Palm Grove House                                                                                                 Unsecured loan repayments
               P.O. Box 438                                                                                                     Suppliers or vendors
               TORTOLA, BVI
                                                                                                                                Services
                                                                                                                                Other

       3.30
       .
            Toll Global Forwarding                                         5/29/2020                          $6,947.73         Secured debt
               P.O. Box 89 4160                                                                                                 Unsecured loan repayments
               Los Angeles, CA 90189-4160                                                                                       Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.31
       .    AT& T                                                          6/4/2020                         $10,720.00          Secured debt
               PO BOX 5025                                                                                                      Unsecured loan repayments
               Carol Stream, IL 60197                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.32
       .    Winston D. Chang                                               6/5/2020                           $7,500.00         Secured debt
               2827 Lakeview Court                                                                                              Unsecured loan repayments
               Fremont, CA 94538                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.33
       .    Winston D. Chang                                               6/5/2020                           $7,500.00         Secured debt
               2827 Lakeview Court                                                                                              Unsecured loan repayments
               Fremont, CA 94538                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.34
       .    Microsoft Corp.                                                6/9/2020                         $25,497.45          Secured debt
               P.O. Box 369                                                                                                     Unsecured loan repayments
               Goldenrod, FL 32733                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.35
       .    FedEx                                                          6/9/2020                         $12,821.59          Secured debt
               PO BOX 7221                                                                                                      Unsecured loan repayments
               Pasadena, CA                                                                                                     Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.36
       .    China Synergy Group                                            6/9/2020                         $10,568.00          Secured debt
               Rm605, 6Fl., Bldg No. 1 Hui Yin Ming                                                                             Unsecured loan repayments
               Zun                                                                                                              Suppliers or vendors
               No. 609 East Yun Ling Rd. Putuo Dist.
               Shanghai City
                                                                                                                                Services
               China                                                                                                            Other

       3.37
       .    R&D Technical Services, Inc.                                   6/15/2020                        $15,224.54          Secured debt
               PO Box 1162                                                                                                      Unsecured loan repayments
               Santa Clara, CA 95052                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.38
       .
            Prysm Displays (India) Private Ltd.                            6/22/2020                        $48,709.00          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.39
       .    R&D Technical Services, Inc.                                   6/25/2020                          $8,115.64         Secured debt
               PO Box 1162                                                                                                      Unsecured loan repayments
               Santa Clara, CA 95052                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.40
       .    PG&E                                                           6/25/2020                        $13,803.76          Secured debt
               P.O. Box 997300                                                                                                  Unsecured loan repayments
               Sacramento, CA 95899                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.41
       .    Arena Solutions, Inc.                                          6/26/2020                        $10,480.00          Secured debt
               PO Box 122637                                                                                                    Unsecured loan repayments
               Dallas, TX 75312-2637                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.42
       .    Town Treasuer                                                  7/9/2020                           $8,006.67         Secured debt
               PO Box 590                                                                                                       Unsecured loan repayments
               Concord, MA 01742-0590                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Municipal Light

       3.43
       .    OCR Services                                                   7/9/2020                         $12,129.90          Secured debt
               Warehouse                                                                                                        Unsecured loan repayments
               220 Railroad Ave.                                                                                                Suppliers or vendors
               Milpitas, CA 95035
                                                                                                                                Services
                                                                                                                                Other

       3.44
       .    R&D Technical Services, Inc.                                   7/9/2020                           $8,779.90         Secured debt
               PO Box 1162                                                                                                      Unsecured loan repayments
               Santa Clara, CA 95052                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.45
       .    United Sheetmetal Inc.                                         7/9/2020                         $11,040.00          Secured debt
               44153 S. Grimmer Blvd.                                                                                           Unsecured loan repayments
               Fremont, CA 94538                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.46
       .
            Toll Global Forwarding                                         7/9/2020                         $11,360.98          Secured debt
               P.O. Box 894160                                                                                                  Unsecured loan repayments
               Los Angeles, CA 90189                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.47
       .    CPA Global Limited                                             7/9/2020                           $7,315.71         Secured debt
               2318 Mill Rd.                                                                                                    Unsecured loan repayments
               12th Floor                                                                                                       Suppliers or vendors
               Alexandria, VA 22314
                                                                                                                                Services
                                                                                                                                Other

       3.48
       .    Microsoft Corp.                                                7/9/2020                         $26,041.11          Secured debt
               P.O. Box 369                                                                                                     Unsecured loan repayments
               Goldenrod, FL 32733                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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                                                                                                                               Check all that apply
       3.49
       .    HubSpot, Inc.                                                  7/9/2020                           $7,500.00         Secured debt
               PO Box 419842                                                                                                    Unsecured loan repayments
               Boston, MA 02241-9842                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.50
       .    AmazonWeb Services, Inc.                                       7/9/2020                         $14,607.24          Secured debt
               P.O. Box 84023                                                                                                   Unsecured loan repayments
               Seattle, WA 98124-8423                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.51
       .    Chubb                                                          7/9/2020                           $8,170.88         Secured debt
               PO Box 382001                                                                                                    Unsecured loan repayments
               Pittsburgh, PA 15250-8001                                                                                        Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.52
       .    Ogrin Partners Consulting Ltd                                  7/9/2020                         $11,249.52          Secured debt
               1301 China Life Bldg., No. 16                                                                                    Unsecured loan repayments
               Chaoyangmenwai Ave.                                                                                              Suppliers or vendors
               Chaoyang District, Beijing
               CHINA
                                                                                                                                Services
                                                                                                                                Other

       3.53
       .    Sun Strong Precision Metal Int'l Ltd.                          7/9/2020                         $11,165.23          Secured debt
               Palm Grove House                                                                                                 Unsecured loan repayments
               P.O. Box 438                                                                                                     Suppliers or vendors
               TORTOLA, BVI
                                                                                                                                Services
                                                                                                                                Other

       3.54
       .
            Whale Rock LLC                                                 7/13/2020                        $39,742.93          Secured debt
               56 Winthrop St.                                                                                                  Unsecured loan repayments
               Concord, MA 01742                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.55
       .    Delaware Secretary of State                                    7/17/2020                          $7,760.00         Secured debt
               Division of Corporations                                                                                         Unsecured loan repayments
               P.O. Box 5509                                                                                                    Suppliers or vendors
               Binghamton, NY 13902                                                                                             Services
                                                                                                                                Other

       3.56
       .    Epiq                                                           7/21/2020                        $15,000.00          Secured debt
               1635 Market Street                                                                                               Unsecured loan repayments
               Suite 410                                                                                                        Suppliers or vendors
               Philadelphia, PA 19103
                                                                                                                                Services
                                                                                                                                Other



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                                                                                                                               Check all that apply
       3.57
       .    PG&E                                                           7/23/2020                        $16,856.72          Secured debt
               P.O. Box 997300                                                                                                  Unsecured loan repayments
               Sacramento, CA 95899                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.58
       .    HW Farren, LLC                                                 7/23/2020                          $9,073.48         Secured debt
               P.O. Box 5052                                                                                                    Unsecured loan repayments
               White Plains, NY 10602-5052                                                                                      Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.59
       .    Servicenow, Inc.                                               7/28/2020                        $15,030.00          Secured debt
               P.O. Box 731647                                                                                                  Unsecured loan repayments
               Dallas, TX 75373-1647                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.60
       .    Arena Solutions, Inc.                                          10,480.00                               $0.00        Secured debt
               PO Box 122637                                                                                                    Unsecured loan repayments
               Dallas, TX 75312-2637                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.61
       .    NetSuite, Inc.                                                 7/28/2020                        $31,705.43          Secured debt
               2955 Campus Dr.                                                                                                  Unsecured loan repayments
               Ste. 100                                                                                                         Suppliers or vendors
               San Mateo, CA 94403
                                                                                                                                Services
                                                                                                                                Other

       3.62
       .
            EyeSaver Int'l Inc.                                            7,200.00                           $7,200.00         Secured debt
               348 Circuit St.                                                                                                  Unsecured loan repayments
               Hanover, MA 02339                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.63
       .    SHI International Corporation                                  7/23/2020                          $9,690.17         Secured debt
               P.O. Box 952121                                                                                                  Unsecured loan repayments
               Dallas, TX 75395-2121                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.64
       .    Whale Rock LLC                                                 7/31/2020                        $39,742.93          Secured debt
               56 Winthrop St.                                                                                                  Unsecured loan repayments
               Concord, MA 01742                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent




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                                                                                                                               Check all that apply
       3.65
       .    NFP Property and Casualty                                      7/31/2020                        $79,835.00          Secured debt
               Service, Inc.                                                                                                    Unsecured loan repayments
               160 W. Santa Clara St.                                                                                           Suppliers or vendors
               Suite 575
               San Jose, CA 95113                                                                                               Services
                                                                                                                                Other

       3.66
       .    Winston D. Chang                                               7/31/2020                          $7,500.00         Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.67
       .    Loje Realty Holdings LLC                                       7/31/2020                       $101,250.00          Secured debt
               45 Bartlett Street                                                                                               Unsecured loan repayments
               Marlborough, MA 01752                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.68
       .    Cerian Technology Venture                                      7/31/2020                        $30,000.00          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.69
       .    Loje Realty Holdings LLC                                       7/31/2020                          $7,080.00         Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.70
       .
            Ogrin Partners Consulting Ltd                                  8/3/2020                           $8,138.20         Secured debt
               1301 China Life Bldg., No. 16                                                                                    Unsecured loan repayments
               Chaoyangmenwai Ave.                                                                                              Suppliers or vendors
               Chaoyang District, Beijing
               CHINA
                                                                                                                                Services
                                                                                                                                Other

       3.71
       .    Loje Realty Holdings LLC                                       8/5/2020                        $108,330.00          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other   Rent

       3.72
       .    Cerian Technology Ventures                                     8/5/2020                         $33,000.00          Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.73
       .    NFP Property and Casualty                                      8/5/2020                         $79,835.00            Secured debt
               Service, Inc.                                                                                                      Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.74
       .    Empire State Realty Trust, Inc.                                8/5/2020                        $179,065.00            Secured debt
               P.O. Box 28627                                                                                                     Unsecured loan repayments
               New York, NY 10087-8627                                                                                            Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other   Rent


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Amit Jain                                                   6/25/2020                          $9,095.34          Reimbursement of out of
               21888 Villa Oaks Lane                                                                                             pocket expenses
               Saratoga, CA 95070
               President, CEO and Chairman of the
               Board

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address



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               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.1.    11711 North College LLC v.                        Commercial Lease             Hamilton County Superior                    Pending
               Anacore, LLC and Prysm, Inc.                      Agreement                    Court, Indiana                            On appeal
               29D01-1912-011428                                                              1 N. 8th St.
                                                                                                                                        Concluded
                                                                                              Noblesville, IN 46060

       7.2.    ERST 1350 Broadway, L.L.C                         Commercial                   Civil Court of the City of                  Pending
               v.                                                Lease/                       New York, NY                              On appeal
               Prysm, Inc.                                       Nonpayment                   111 Centre St.
                                                                                                                                        Concluded
               L&T Index No. 062026/19                                                        New York, NY 10013

       7.3.    150-180 Baytech Drive CA                          Commercial                   Superior Court of Santa                   Pending
               Owner LLC                                         Unlawful Detainer            Clara, CA                                 On appeal
               v                                                 Unlimited                                                                Concluded
               Prysm, Inc. fka Spudnik, Inc.
               19CV350439

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss              Value of property
       how the loss occurred                                                                                                                                        lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address




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                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Gellert Scali Busenkell
                 & Brown, LLC                                                                                                  May 26,
                 1201 N. Orange St.                                                                                            2020 and
                 Suite 300                                                                                                     June 25,
                 Wilmington, DE 19801                                                                                          2020                 $70,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Epiq
                 1635 Market Street
                 Suite 410
                 Philadelphia, PA 19103                                                                                        7/21/2020            $15,000.00

                 Email or website address
                 www.epiqglobal.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers          Total amount or
                                                                                                                       were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     180 Baytech Dr.                                                                                           2009-2020
                 Sute 200
                 San Jose, CA 95134

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
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    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  A small amount of personally identifiable information is collected
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Prysm, Inc. 401 (K)                                                                        EIN: 79356

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or           Date account was             Last balance
                Address                                          account number           instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address


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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Extron Logistics                                              Any Prsym Operations                 Inventory.                            No
       48380 Milmont Drive                                           personnel via advanced               Finish goods and materials            Yes
       Fremont, CA 94538                                             permission by Operations             pending return for repair
                                                                     Manager

       OCR Services                                                  Any Prysm Operations                 Inventory. Finished goods.            No
       Warehouse                                                     personnel via advanced                                                     Yes
       220 Railroad Ave.                                             permission by Operations
       Milpitas, CA 95035                                            Manager

       Prysm Middle East DMCC Offices                                Prsym employeees only                Inventory. Finished goods             No
       P.O. Box 643979 # AG 26-1                                                                          and materials pending return          Yes
       Silver Tower                                                                                       for repair
       Jumeirah Lakes Towers
       DUBAI, UAE

       Toll Dubai Warehouse                                          Toll warehouse                       Inventory. Finished goods             No
       M02 Makeen Building                                           employees                            and materials pending return          Yes
       PO Box No. 5599                                                                                    for repair
       DUBAI, UAE

       Prysm Displays Pvt. Ltd.                                      Prsym employees only                 Inventory. Finished goods             No
       Golden Enclave, Ground Floor Tower                                                                 and materials pending return          Yes
       Municipal Corp. No. 129/299                                                                        for repair
       Ward 73-BANGALORE
       INDIA-56008



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
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       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Provides sales and support to                    EIN:
             Prysm Displays (India)
             Limited                                          Prysm customers
             Golden Enclave, Ground Fl.,                                                                       From-To      March 22, 2007 to present
             Twr C.,
             Municipal Corp. No. 129/299,
             Ward No. 73
             Kodihalli, Varthur Village
             Hobli
             Bangalore, 560-017 India

    25.2.                                                     Inactive since December 2018                     EIN:
             Prysm Europe Ltd.
             513 Fairview Way
             Milpitas, CA 95035                                                                                From-To


    25.3.                                                     Inactive since December 2018                     EIN:
             Prysm Europe BVBA
             513 Fairview Way
             Milpitas, CA 95035                                                                                From-To


    25.4.                                                     Provides sales and support of                    EIN:
             Prysm Middle East DMCC
             AG-26-1, Silver Tower                            Prysm displays in EMEA
             P.O. Box 643979                                                                                   From-To      May 24, 2011 to present
             Jumeirah Lakes Towers
             Dubai- UAE

    25.5.                                                     Inactive since December 2014                     EIN:
             Anacore, Inc.
             513 Fairview Way
             Milpitas, CA 95035                                                                                From-To




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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.6.                                                     Inactive since January 2017                      EIN:
             Kaybus, Inc.
             513 Fairview Way
             Milpitas, CA 95035                                                                                From-To


    25.7.                                                     Inactive since 2017                              EIN:
             Kaybus India Private Limited
             513 Fairview Way
             Milpitas, CA 95035                                                                                From-To


    25.8.                                                     It is used for shipping and storage              EIN:
             Prysm Hong Kong Limited
             513 Fairview Way                                 of Prysm hardware displays.
             Milpitas, CA 95035                                                                                From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Martha L. Ayala                                                                                                            Former employee
                    513 Fairview Way
                    Milpitas, CA 95035
       26a.2.       Jasbir Singh                                                                                                               Active employee
                    513 Fairview Way
                    Milpitas, CA 95035
       26a.3.       Ngoc T. Vo                                                                                                                 Active employee
                    513 Fairview Way
                    Milpitas, CA 95035
       26a.4.       Elena Volkova                                                                                                              Active employee
                    513 Fairview Way
                    Milpitas, CA 95035
       26a.5.       Olga Mamaenko                                                                                                              Former employee
                    513 Fairview Way                                                                                                           and current
                    Milpitas, CA 95035                                                                                                         consultant

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Deloitte Tax LLP                                                                                                           September 2016 -
                    P.O. Box 844736                                                                                                            November 2018
                    Dallas, TX 75284-4736
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Ravix Group, Inc.                                                                                                          March 2017 -
                    226 Airport Parkway                                                                                                        September 2018
                    Suite 40
                    San Jose, CA 95110




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       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.3.       Ernst & Young VAT REP BV                                                                                       February 2016 -
                    Pauline Van Potte;sberghelaan 12                                                                               current
                    Gent. BELGIUM 9051
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.4.       Blick Rothenberg                                                                                               September 2016 -
                    16 Great Queen Street                                                                                          March 2020
                    Covent Garden
                    London, UK
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.5.       KLC Kennic Lui & Co.                                                                                           December 2016 -
                    5/F Ho Lee Commercial Bldg.                                                                                    January 2020
                    38-44 D'Aguilar Street
                    Central, Hong Kong
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.6.       Ernst & Young LLP                                                                                              February 2015 -
                    One Colmore Square                                                                                             current
                    Birmingham, UK
                    B4 6HQ
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.7.       Moss Adams LLP                                                                                                 February 2016 -
                    P.O. Box 101822                                                                                                June 2019
                    Pasadena, CA 91189
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.8.       Ernst & Young (EUR)                                                                                            November 2015 -
                    Pauline Van Pottelsberghelaan 12                                                                               March 2020
                    Gent. BELGIUM 9051
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.9.       Avalara, Inc.                                                                                                  June 2016 -
                    Dept. CH 16781                                                                                                 February 2020
                    Warrenville, IL 60555-6781
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.10.      BDO USA LLP                                                                                                    December 2016 -
                    P.O. Box 677973                                                                                                July 2019
                    Dallas, TX 75267-7973
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.11.      SOA Projects, Inc.                                                                                             February 2017 - May
                    495 N. Whisman Road                                                                                            2019
                    Suite 100
                    Mountain View, CA 94043
       Name and address                                                                                                            Date of service
                                                                                                                                   From-To
       26b.12.      Nationale Bank van Belgie                                                                                      December 2017 -
                    de Berlaimontlaan 14                                                                                           October 2019
                    Brussels, BELGIUM 1000




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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.13.      Deloitte Accountancy                                                                                                January 2018 -
                    Gateway Building                                                                                                    March 2020
                    Luchthaven National 1J
                    Zaventem, BELGIUM B-1930
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.14.      Accretive Strategies                                                                                                January 2018 -
                    Consulting Group, LLC                                                                                               December 2018
                    7155 Redwood Retreat Rd.
                    Ste. 12
                    Gilroy, CA 95020
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.15.      Deloitte Belastingadviseurs BV                                                                                      November 2018 -
                    3072 AP Rotterdam                                                                                                   current
                    P.O. Box 2031
                    Rotterdam CA, NETHERLANDS 3000
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.16.      Brent Wakefield CPA                                                                                                 February 2018 -
                    1630 Grace Avenue                                                                                                   current
                    San Jose, CA 95125
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.17.      Kapur Consulting, Inc.                                                                                              March 2020 - March
                    43529 Southerland Way                                                                                               2020
                    Fremont, CA 94539

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Jasbir Singh
                    513 Fairview Way
                    Milpitas, CA 95035
       26c.2.       Ngoc T. Vo
                    513 Fairview Way
                    Milpitas, CA 95035
       26c.3.       Elena Volkova
                    513 Fairview Way
                    Milpitas, CA 95035
       26c.4.       Fairview Equity Security Holders



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None




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       Name and address
       26d.1.       GII Prysm Investments
                    Gulf Islamic Investments
                    501 Tower 2, Blvd. Plaza, Downtown
                    DUBAI, UAE
       26d.2.       Kuwait Investment Authority
                    Ministries Complex- Block No. 3
                    P.O. Box 64- Safat 13001
                    KUWAIT
       26d.3.       Artiman Ventures Special
                    Opportunities Fund LP
                    2000 University Ave. #602
                    Palo Alto, CA 94303

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Amit Jain                                      21888 Villa Oaks Lane                               Director
                                                      Saratoga, CA 95070

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Roger Hajjar                                   1050 Camino Ricardo                                 Director
                                                      San Jose, CA 95125

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Yatin Mundkhur                                 1731 Embarcadero Rd                                 Director
                                                      Suite 212
                                                      Palo Alto, CA 94303
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Tim Wilson                                     1731 Embarcadero Rd.                                Director
                                                      Suite 212
                                                      Palo Alto, CA 94303
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Aseem Saklecha                                 7188 Sharon Drive                                   Director
                                                      San Jose, CA 95129

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Artiman Ventures Special                       Opportunities Fund LP                               Major Stockholder                     34%
                                                      1731 Embarcadero Rd.
                                                      Suite 212
                                                      Palo Alto, CA 94303




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 20
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                                                               United States Bankruptcy Court
                                                                          District of Delaware
 In re      Prysm, Inc.                                                                                    Case No.
                                                                                  Debtor(s)                Chapter       11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 45th Parallel LLC                                                   Common Stock 200,422
 200 California St., Ste. 500
 San Francisco, CA 94111

 522 Fifth Avenue Fund L.P.                                          Common Stock 26,699
 522 Fifth Avenue Fund L.P.
 320 Park Ave., 15th Fl.
 NY1-U016
 New York, NY 10022

 Adam Cuzzort                                                        Common Stock 75,248
 16922 Oak Manor Drive
 Roann, IN 46974

 Adveq Euroope IV A C.V.                                             Common Stock 40,049
 Adveq Management US., Inc. FAO
 Amber Kulak
 100 Park Ave, 28th Fl
 New York, NY 10017

 Adveq Secondaries C.V.                                              Common Stock 81,314
 Adveq Mgmnt U.S., Inc. FAO
 Amber Kulak
 100 Park Ave., 28th Fl.
 New York, NY 10017

 Airwolf, LLC                                                        Common Stock 2,311,964
 c/o Kent T. Spellman, Manager
 3232 Speen St.
 Natick, MA 01760

 Akhil Saklecha                                                      Common Stock 28,709
 7188 Sharon Dr
 San Jose, CA 95129

 Akhil Saklecha                                                      Series AA      162,858
 7188 Sharon Drive                                                   Preferred
 San Jose, CA 95129                                                  Stock

 Akhil Saklecha                                                      Series BB      41,152
 7188 Sharon Dr                                                      Preferred
 San Jose, CA 95129                                                  Stock

 Akhil Saklecha                                                      Series CC      26,556
 7188 Sharon Dr                                                      Preferred
 San Jose, CA 95129                                                  Stock



Sheet 1 of 28 in List of Equity Security Holders
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Akihiro Machida                                                     Common Stock 12,500
 1679 Meadowlark Lane
 Sunnyvale, CA 94087

 Alan Burrough                                                       Common Stock 75,000
 851 Arnold Way
 San Jose, CA 95128

 Alan Kelch                                                          Common Stock 3,230
 5241 Pine Hill Dr.
 Noblesville, IN 46062

 Alan Nelson                                                         Common Stock 3,000
 3 Michelle Lane
 North Oxford, MA 01537

 Alex Duvanenko                                                      Common Stock 938



 Allianz IART Vintage FCPR                                           Common Stock 121,365
 Idinvest Partners c/o Allianz Vie
 Ms. Fainbloom, 1117 Avenue des
 Champs-Elysees, PARIS
 FRANCE 75008

 Allianz Vie                                                         Common Stock 455,117
 Idinvest Partners
 Ms. Fainbloom
 117 Avenue des Champs-Elysees
 Paris, France

 Alpine Manager Inc.                                                 Common Stock 460
 Salary Deferral Plan U/A
 Dated 1/1/06 FBO Scott Mason
 200 California St., Ste. 500
 San Francisco, CA 94111

 Altamont Holdings LLC                                               Common Stock 2,529



 Amit Jain                                                           Common Stock 2,755,000
 21888 Villa Oaks Lane
 Saratoga, CA 95070




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Amit Mahajan                                                        Common Stock 4,100
 C-708, Magnifica Block Vrigade Gardenia
 J.P. Nagar, 7th Phase
 Bangalore, 560078
 INDIA

 Amos Amir                                                           Common Stock 32,473



 Anand Budni                                                         Common Stock 22,600
 217- 1st Floor 2nd Main
 41G Layout, RMV
 2nd Stage, Bangalore
 INDIA

 Andrew Singer                                                       Common Stock 2,800
 142 E. Bloomfield Lane
 Westfield, IN 46074

 Andrew Weston                                                       Common Stock 5,396



 Antoine Nasrallah                                                   Common Stock 30,341



 Anup Jayapal Rao                                                    Common Stock 1,200
 72, 1st Cross Shirdi Sai Nagar K.
 Narayanapura Main Road
 Bangalore 560045
 INDIA

 Anurag Nigam Revocable                                              Common Stock 2,184
 Trust DTD July 2000
 Attn: Anurag Nigam Trustee
 1490 Jefferson St., #303
 San Francisco, CA 94123

 Artiman Partners IB (TTGP), L.L.C                                   Common Stock 22,135
 1731 Embarcadero Rd.
 Suite 212
 Palo Alto, CA 94303

 Artiman Venture, LP                                                 Series CC      1,250,964
 Attn: Yatin Mundkur                                                 Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Artiman Venture, LP                                                 Secured DD     22,097,410
 Attn: Yatin Mundkur                                                 Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Venture, LP                                                 Common Stock 901,092
 Attn: Yatin Mundkur
 1731 Embarcadero Rd.
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures III Affiliates                                     Series EE      3,794
 Fund, L.P.                                                          Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures III Principals                                     Series EE      7,356
 Fund I, L.P.                                                        Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures III, L.P.                                          Series EE      421,395
 1731 Embarcadero Rd.                                                Preferred
 Suite 212                                                           Stock
 Palo Alto, CA 94303

 Artiman Ventures Select 2014                                        Series EE      7,836
 Principals Fund, L.P.                                               Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Select 2014, L.P.                                  Common Stock 85,291
 Attn: Yaton Mundkur
 1731 Embarcadero Rd.
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Select 2014, L.P.                                  Series EE      456,943
 1731 Embarcadero Rd.                                                Preferred
 Suite 212                                                           Stock
 Palo Alto, CA 94303




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Artiman Ventures Side Fund II, L.P.                                 Common Stock 11,779
 Attn: Yatin Mundkur
 1731 Embarcadero Rd.
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Side Fund II, L.P.                                 Series AA      112,019
 Attn: Yatin Mundkur                                                 Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Side Fund II, L.P.                                 Series BB      21,107
 Attn: Yatin Mundkur                                                 Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Side Fund II, L.P.                                 Series CC      16,352
 Attn: Yatin Mundkur                                                 Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Side Fund II, L.P.                                 Series DD      288,876
 Attn: Yatin Mundkur                                                 Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Side Fund, L.P.                                    Common Stock 5,822
 Attn: Yatin Mundkur
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures Side Fund, L.P.                                    Seriess AA     55,369
 1731 Embarcadero Rd.                                                Preferred
 Suite 212                                                           Stock
 Palo Alto, CA 94303

 Artiman Ventures Side Fund, L.P.                                    Series BB      10,433
 1731 Embarcadero Rd.                                                Preferred
 Suite 212                                                           Stock
 Palo Alto, CA 94303

 Artiman Ventures Side Fund, L.P.                                    Series CC      8,080
 1731 Embarcadero Rd.                                                Preferred
 Suite 212                                                           Stock
 Palo Alto, CA 94303

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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Artiman Ventures Side Fund, L.P.                                    Series DD      140,136
 1731 Embarcadero Rd.                                                Preferred
 Suite 212                                                           Stock
 Palo Alto, CA 94303

 Artiman Ventures Special                                            Series DD      5,298,613
 Opportunities Fund LP                                               Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures, L.P.                                              Common Stock 901,092
 Attn: Yatin Mundkur
 1731 Embarcadero Rd.
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures, L.P.                                              Series AA      8,568,868
 Atnn: Yatin Mundkur                                                 Preferred
 1731 Embaracdero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Artiman Ventures, L.P.                                              Series BB      1,614,550
 Attn: Yatin Mundkur                                                 Preferred
 1731 Embarcadero Rd.                                                Stock
 Suite 212
 Palo Alto, CA 94303

 Arun Johary                                                         Common Stock 40,000
 1199 Mountain Swallow Court
 San Jose, CA 95120

 Aseem Saklecha                                                      Series BB      20,576
 7188 Sharon Drive                                                   Preferred
 San Jose, CA 95129                                                  Stock

 Aseem Saklecha                                                      Series CC      26,556
 7188 Sharon Drive                                                   Preferred
 San Jose, CA 95129                                                  Stock

 Aseem Ssaklecha                                                     Series AA      114,836
 1151 W. Washington                                                  Preferred
 #141                                                                Stock
 Chicago, IL 60607




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Ayush Jain Trust                                                    Common Stock 750,000
 Akhil Saklecha Trustee
 24443 SHado Ridge Lane
 Akron, OH 44333

 Balasubramania Thangaiah                                            Common Stock 6,250
 51/36 1st Floor, 5th Corss, 4th Main
 Byrasandra, Jayanagar 1st Block East
 Bangalore, 560011
 INDIA

 Bell Atlantic Master Pension Trust                                  Common Stock 910,234
 The Bank of New York Mellon for
 Bell Atlantic Master Trust BNY Mellon
 500 Grant St. Aim 151-1935
 Pittsburgh, PA 15258

 Black Meadow Limited                                                Series CC      37,789
 Attn: Agnita Solomon                                                Preferred
 Mill Mall Twr, 2nd Fl., Wickhams Cay 1                              Stock
 P.O. Box 4406 Road Town
 Tortola, BVI

 BP-11A                                                              Common Stock 553



 Brandon Fischer                                                     Common Stock 643,808
 4142 Pete Dye Blvd
 Carmel, IN 46033

 Brian Bonn                                                          Common Stock 100,000
 789 Sugar Pine Road
 Scotts Valley, CA 95066

 Brian C. Williams                                                   Common Stock 10,922



 Brian T. Massey                                                     Common Stock 40,000
 37 Ferrecchia Dr.
 Marlborough, MA 01752

 Bruce Borchers                                                      Common Stock 25,000
 3384 Grenwood Dr
 Scotts Valley, CA 95066

 Cai Xiaoxin                                                         Common Stock 14,809




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 California Emerging Ventures II, LLC                                Common Stock 151,706
 c/o Grove Street Advisors, LLC
 2221 Washington St., Bldg 1, Ste. 201
 Newton Lower Falls, MA 02462

 Cam-Loan Bui                                                        Common Stock 2,000
 5517 Don Octavio Court
 San Jose, CA 95123

 Canol Creek Ltd.                                                    Common Stock 10,921
 Attn: Sleem Hasan
 1 Mapp Street
 Belize City
 BELIZE

 Charles Beazell                                                     Common Stock 120,000
 2701 Darby Dr.
 Oakland, CA 94611

 Chris Gillespie                                                     Common Stock 1,562
 2347 Vendale Ave
 San Jose, CA 95124

 Christopher Hart                                                    Common Stock 18,000
 187 West St
 Carlisle, MA 01741

 Christopher Poore                                                   Common Stock 20,000
 9151 Mallard Pointe
 Zionsville, IN 46077

 Christopher T. Sununu                                               Common Stock 11,250
 121 Water Stree
 Unit 1W
 P.O. Box 1001
 Exeter, NH 03833

 Compagnie Montaures SARL                                            Common Stock 6,372



 Continuum Fund Ltd.                                                 Common Stock 901,130
 Wafra Invest Advisory Group
 350 Park Ave., 24th Fl.
 New York, NY 10022

 Corniche Capital Holdings Inc.                                      Series CC      26,867
 MDE'S Bldg., 2nd Fl., Purcell Estate                                Preferred
 PO Box 4406                                                         Stock
 TORTOLLA, VG 1110, BVI
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 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Credit Agricole Private Equity Fund                                 Common Stock 151,706
 Of Funds FCPR c/o Omnes Capital
 Adrien Le Bail 37-31 rue du Rocher
 75008 PARIS, FRANCE

 Credit Agricole Private Equity Secondary                            Common Stock 60,682
 Fund of Funds FCPR: c/o Omnes Capital
 Adrien e Bail 37-31
 rue du Rocher, 75008,
 Paris, FRANCE

 CSFB FBO                                                            Common Stock 295,882
 David & Stacy Welsh Irrevoable Trust

 CSK-VC Sustainabilty Investment Fund                                Common Stock 823,045
 Attn: Hiromichi Tabata
 4th Fl, CSK Minami Aoyama Bldg
 3-3-3 Minami-Aoyama-Minato-ku
 Tokyo, JAPAN 1070062

 Dahlia A. Sicar S.C.A.                                              Common Stock 172,945
 Euro Private Equity
 5-7 Rue de Monttesuy 75340
 Cedex 07 Paris FRANCE

 Dahlia B. Sicar S.C.A.                                              Commom         57,648
 Euro Private Equity                                                 Stock
 5-7 Rue de Monttesuy 75340
 Cedex 07 Paris FRANCE

 Darrin Brooks                                                       Common Stock 37,6223
 3614 E. Carmel Drive
 Carmel, IN 46033

 David Inori                                                         Common Stock 10,000
 465 Stony Point Road
 #241
 Santa Rosa, CA 95401

 David Kent                                                          Common Stock 405,000
 43 Wayside Inn Rd.
 Framingham, MA 01701

 David Kindler                                                       Common Stock 405,000
 78 Elsinore St.
 Concord, MA 01742




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 David McInnis                                                       Common Stock 2,529
 P.O. Box 777
 Kentfield, CA 94914

 David S. Wetherell                                                  Common Stock 3,033



 DDRWJ Investment Company                                            Common Stock 151,706
 A General Partnership
 1300 Evans Ave. No. 880154
 San Francisco, CA 94188

 Dino Carlos                                                         Common Stock 18,819
 13130 Knights Way
 Fishers, IN 46037

 Don Krall                                                           Common Stock 164,791
 1155 El Abra Way
 San Jose, CA 95125

 Dr . Sam Eletr                                                      Common Stock 15,171



 Dr. Philippe Thevenaz                                               Common Stock 45,513



 Dr. Phillippe J. Pouletty                                           Common Stock 15,171



 Edward King                                                         Common Stock 10,000
 2225 Kenwood Ave
 San Jose, CA 95128

 Eichtaedt Family Trust                                              Common Stock 1,443



 Elias Antoun                                                        Common Stock 61,728
 1890 Dry Creek Road
 San Jose, CA 95124

 Ensemble 2003 Capital Partners LP                                   Common Stock 15,171



 Ensemble Partners                                                   Common Stock 15,171




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Fei Li                                                              Common Stock 37,321



 Flagg Living Trust                                                  Series BB      952
 U/A DTD 2/11/2002                                                   Preferred
 1199 Camino Vallecito                                               Stock
 Lafayette, CA 94549

 Flagg Living Trust U/A                                              Series AA      5,073
 DTD 02/11/2002                                                      Preferred
 Camino Vallecito                                                    Stock
 Lafayette, CA 94549

 Flagg Living Trust U/A                                              Series CC      539
 DTD 02/11/2002                                                      Preferred
 Camino Vallecito                                                    Stock
 Lafayette, CA 94549

 Flagg Living Trust U/A                                              Series DD      188
 DTD 02/11/2002                                                      Preferred
 Camino Vallecito                                                    Stock
 Lafayette, CA 94549

 Frank Thibodeau                                                     Common Stock 2,500
 5826 Balboa Drive
 Oakland, CA 94611

 Fred Gerson                                                         Common Stock 6,385



 Galba Anstalt                                                       Common Stock 60,682



 Gary Ferroni                                                        Common Stock 2,529



 George Laplante                                                     Common Stock 6,320



 GII Prsym Investments Limited                                       Common Stock 9,057,914
 P.O. Box 215931
 Blvd Plaza II, Ste. 1102
 Downtown, DUBAI U.A.E.




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Glenn Wastyn                                                        Common Stck    7,500
 Aalstersesteenweg 375 28
 Apt 20H
 9400 Ninove
 9400 BELGIUM

 Gore Creek LLC                                                      Series AA      2,279
                                                                     Preferred
                                                                     Stock

 Gore Creek LLC                                                      Series BB      427
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 Gore Creek LLC                                                      Series CC      242
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 Gore Creek LLC                                                      Series DD      85
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 Greenoaks Capital Management LLC                                    Common Stock 22,136
 Attn: Neil Mehta Managing Member
 58 Greenoaks Dr.
 Atherton, CA 94027

 Gulf Islamic Investments L.L.C,                                     Common Stock 671,883
 an Abu Dhabi, LLC
 P.O. Box 215931 Blvd. II, Ste. 1102
 Downtown Dubai, U.A.E.

 Hajjar Children Trust Fund                                          Common Stock 1,500,000
 Elias Antoun Trustee
 1890 Dry Creek Rd
 San Jose, CA 95124

 Harmony Partner Group LLC                                           Series AA
                                                                     Preferred
                                                                     Stock

 Harmony Partner Group LLC                                           Series BB      1,233
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108


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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Harmony Partner Group LLC                                           Series CC      699
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 Harmony Partner Group LLC                                           Series DD      244
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 Helmut Schoen                                                       Common Stock 53,436



 Hollyport Secondary                                                 Common Stock 455,117
 Opportunities V-SLP
 13 Castle St
 St. Helier, Jersey CH
 JE4 JUT

 I-En (Brian) Chen                                                   Common Stock 750
 448 Oak Grove Dr.
 Unit #403
 Santa Clara, CA 95054

 IBM Pension Plan Trust                                              Common Stock 758,528
 c/o JP Morgan Chase, N.A.,
 As Directed Trustee
 4 New York Plaza
 New York, NY 10004

 James G. Sununu                                                     Common Stock 11,250
 121 Water Street, Unit 1W
 P.O. Box 1001
 Exeter, NH 03833

 James Gilchrist                                                     Common Stock 18,819
 5612 Winthrop Ave.
 Indianapolis, IN 46220

 James Moore                                                         Common Stock 2,529



 James P. Burnett                                                    Common Stock 5,000
 121 Water Street
 Unit 1W
 P.O. Box 1001
 Exeter, NH 03833



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 James T. McCann                                                     Common Stock 14,200



 Jasbir Singh                                                        Common Stock 386,000
 44227 Hunter Place
 Fremont, CA 94539

 Jason Litt                                                          Common Stock 3,541



 Jayesh Parekh                                                       Common Stock 2,560



 Jean-Paul Delattre                                                  Common Stock 2,124



 Jeanette Hajjar                                                     Common Stock 372,500
 1050 Camino Ricardo
 San Jose, CA 95125

 Jeffrey Diep                                                        Common Stock 7,500
 18 High School Ave
 Quincy, MA 02169

 Jennifer M. Combs                                                   Common Stock 15,170



 Jo Ann Heidi Roizen                                                 Common Stock 40,000
 275 Eleanor Dr
 Redwood City, CA 94062

 John Kryzanowski                                                    Series AA      42,079
 480 Throckmorton Ave                                                Preferred
 Mill Valley, CA 94941                                               Stock

 John Kryzanowski                                                    Series BB      7,890
 480 Throckmorton Ave                                                Preferred
 Mill Valley, CA 94941                                               Stock

 John Kryzanowski                                                    Series CC      4,473
 480 Throckmorton Ave                                                Preferred
 Mill Valley, CA 94941                                               Stock

 John Kryzanowski                                                    Series DD      1,561
 480 Throckmorton Ave                                                Preferred
 Mill Valley, CA 94941                                               Stock


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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 John L. Ritter                                                      Common Stock 100,000
 185 West Bare Hill Rd.
 Harvard, MA 01451

 John M. Watson                                                      Common Stock 112,135
 456 North Broadway
 Haverhill, MA 01832

 Joshua Hurst                                                        Common Stock 21,075
 12846 Rotterdam Road
 Fishers, IN 46037

 JRSL LLC                                                            Common Stock 63,478
 c/o Nancy Adler, Manager
 2750 Broadway Street
 San Francisco, CA 94115

 Julia Lovin                                                         Common Stock 6,250
 304 La Cuesta
 Los Altos, CA 94024

 Julian Carey                                                        Common Stock 37,500
 666 Post Street
 # 303
 San Francisco, CA 94109

 Kalenpendu Shastri                                                  Series DD      2,077,718
 7540 Windsor Dr.                                                    Preferred
 Suite 210                                                           Stock
 Allentown, PA 18195

 Karthik Venkatraman                                                 Common Stock 1,500
 #34 Parangusapuram St.
 Kodambakkang, Chennai
 600 024
 INDIA

 Kevin Carrington                                                    Common Stock 27,093
 220 Dwight Road
 Burlingame, CA 94010

 Kevin Hohnbaum                                                      Common Stock 10,000



 Konomi, Inc.                                                        Common Stock 10,000
 Attn: Masao Konomi
 1-11-36 Akasaka Minato-ku
 Tokyo, 107-0052
 JAPAN
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 In re:    Prysm, Inc.                                                                           Case No.
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Kopercrest Capital Holdings Inc.                                    Series CC      21,843
 Mill Mall Tower, 2nd Fl                                             Preferred
 Wickhams Cay 1, P.O. Box 4406                                       Stock
 Road Town, TORTOLA, BVI

 Krishnan Varadarajan                                                Common Stock 13,900
 #15 25th Main 17th Cross
 J.P. Nagar, 6th Phase
 Bangalore, Karnataka 560078
 INDIA

 Kuwait Investment Authority                                         Series EE      17,857,143
 Ministries Complex- Block No. 3                                     Preferred
 P.O. Box 64- Safat 13001                                            Stock
 KUWAIT

 Larry Gibbins                                                       Common Stock 21,000
 18677 Casa Blanca Lane
 Saratoga, CA 95070

 Lawrence H. Feld                                                    Common Stock 2,529
 Survivor's Trust U/A DTD 12/11/1995

 Laxmi Katta                                                         Common Stock 435



 LCP VII Holdings, L.P.                                              Common Stock 303,411
 c/o Thomas Giannetti, CFO
 660 Madison Ave.
 New York, NY 10065

 Lenore Ruben 2008 Family Trust                                      Common Stock 6,068
 c/o Lenore Ruben, Trustee
 173 Riverside Dr.
 # 11D
 New York, NY 10024

 Liverpool Victoria Friendly Society                                 Common Stock 682,675
 Limited Frizzell House Bournemouth
 Attn: Vince Rennie, CIO
 BHI 2NF

 Macintosh II LLC                                                    Common Stock 1,522




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 MAH Holdings Limited                                                Common Stock 433,181
 c/o JAXA Chartered Accountants
 P.O. Box 92363
 Dubai, U.A.E.

 Manikandan Parasuraman Shanmuganathan Common Stock 8,000
 999 Vallalar Nagar Third Street
 M.C. Road & Post Thanjavur
 Tamilnadu, MUMBAI

 Manish Dhoke                                                        Common Stock 2,958
 305 Ratna Nest 11/6 1st Cross SR Layout
 Murugesh Palya, Wind Tunnel Rd
 Bangalore 560017
 INDIA

 Manoj Goel                                                          Common Stock 6,875
 21537 Saratoga Heights Dr.
 Saratoga, CA 95070

 Manvi Gupta                                                         Common Stock 455,024
 Flat 1303 Bin Fardan Tower
 Khalidiya St
 P.O. Box 31522
 Abu Dhabi, UAE

 Mark Hayes                                                          Common Stock 1,217



 Mark Pajdowski                                                      Common Stock 6,041
 135 Riviera Dr
 # 435
 Los Gatos, CA 95032

 Mathew Davis Wolf                                                   Common Stock 91,023
 711 Louisiana
 Suite 1660
 Houston, TX 77002

 Michael C. Sununu                                                   Common Stock 11,250
 121 Water Street, Unit 1W
 P.O. Box 1001
 Exeter, NH 03833

 Michael J. Danaher & Carol Lee Danaher                              Common Stock 4,464
 Trustees of the Danaher Family Trust
 Dated June 29, 2004
 650 Page Mill Road
 Palo Alto, CA 94304

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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Michael J. Danher                                                   Common Stock 14,562
 c/o WSGR
 650 Page Mill Road
 Palo Alto, CA 94304

 Michael Lu                                                          Common Stock 6,000
 619 Alger Drive
 Palo Alto, CA 94306

 Michele Lacobelle                                                   Common Stock 4,166
 2408 Tierra Court
 Rosamond, CA 93560

 Millennium Ventures LLC                                             Common Stock 75,853
 c/o Mr. R.B. Keller
 1701 SE Columbia Ridge Dr.
 Site 100
 Vancouver, WA 98661

 Minnesota Life Insurance Co.                                        Common Stock 151,706
 400 Robert Street North
 Saint Paul, MN 55101

 Montauk TriGuard Fund V LP                                          Common Stock 78,887
 300 Spectrum Center Dr.
 Suite 880
 Irvine, CA 92618

 Montauk TriGuard Fund VII, LP                                       Common Stock 57,280
 Montauk Triguard Partners
 300 Spectrum Center Dr.
 Suite 880
 Irvine, CA 92618

 Mr. R.B. Keller                                                     Common Stock 45,513



 Mr. Thomas B. Walker III                                            Common Stock 30,341



 Mr. Yves M. Perben                                                  Common Stock 91,023
 9 Chermin Charles Georg
 9 Geneve 1209
 SWITZERLAND




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 N. Venkata Subramanian                                              Common Stock 43,500
 Sree Cranesh
 #2673 E. Boack Sahakala
 Nagar, Bangalore, 560092
 INDIA

 Nayan Mehta                                                         Common Stock 14,583
 58 Greenoaks Drive
 Atherton, CA 94027

 NDIRA, Inc. FBO Sanne Higgins IRA                                   Common Stock 60,682



 Nicolas Elbaze                                                      Common Stock 260,770



 Nihon Phoenix Partners LLC                                          Common Stock 16,373
 Attn: Harry C. Beatty c/o
 Kent, Beatty & Gordon
 425 Park Ave
 New York, NY 10022

 North Point Partner LLC                                             Series AA      13,153
                                                                     Preferred
                                                                     Stock

 North Point Partner LLC                                             Series BB      2,467
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 North Point Partner LLC                                             Series CC      1,399
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 North Point Partner LLC                                             Series DD      488
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 Northern Lights Ventures I LLC                                      Common Stock 7,225




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 OB Capital Ltd.                                                     Common Stock 21,836
 Attn: Conrad Bonoiton
 Level 2B, Caravelle House
 Manglier Street, Victoria
 Mahe, SEYCHELLES

 Ocelda Limited                                                      Common Stock 53,436



 Ontario Teachers' Pension                                           Common Stock 10,921,800
 Plan Board
 c/o Katherine McCormick
 2765 Sand Hill Road
 Menlo Park, CA 94025

 Open Sesame Investments Inc.                                        Common Stock 10,916
 Attn: Agnita Solomon
 Mill Mall Tower, 2nd Fl, Wickhams Cay 1
 P.O. Box 4406 Tortola
 B.V.I

 Orlando Limited per pro                                             Common Stock 60,682
 Commerce Corporate Srvcs Limited
 11 Dr. Roy's Dr. P.O. Box 694
 Grand Cayman, KY-1107
 Cayman Islands

 PAR SF II, LLC                                                      Common Stock 557,693
 200 California St., Ste. 500
 San Francisco, CA 94111

 Pascal Castres Saint Martin                                         Common Stock 3,642



 Patrick Tan                                                         Common Stock 590,000
 3 Wilson St.
 Wellesley, MA 02482

 Paul Rugg                                                           Common Stock 5,433
 351 Whitney Street
 Northborough, MA 01532

 Pavan Voruganti                                                     Common Stock 4,100
 626 7th Main, 14th Cross
 ISRO Layout
 Bangalore, 560078
 INDIA



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 PEG Pooled VC                                                       Common Stock 395,390
 Institutional Investors LLC
 Attn: Brendan C. Cameron
 320 Park Ave., 15th Fl.
 New York, NY 10022

 PEG Pooled VC Private Investors LLC                                 Common Stock 63,367
 Attn: Brendan C. Cameron
 320 Park Ave., 15th Floor
 New York, NY 10022

 PEH Holdings, L.P.                                                  Common Stock 336,786
 c/o Gwen McLaughlin, Director
 P.O. Box 847,
 Georgetown, Cayman Islands
 KY1-1103

 PEH Parallel Holdings, L.P.                                         Common Stock 118,330
 c/o Gwen McLaughlin, Director
 P.O. Box 847
 Georgetown, Cayman Islands
 KY1-1103

 Phillip Malyak                                                      Common Stock 405,000
 40 Culloden Dr.
 Canton, MA 02021

 Phillippe Cases                                                     Common Stock 224,462



 Praveen Gupta                                                       Common Stock 875
 3353 Alma Street #235
 Palo Alto, CA 94306

 Predica S.A.                                                        Common Stock 91,023



 Promerica Capital LLC                                               Series AA      19,729
 Spinnaker Capital LLC                                               Preferred
 One Joy St.                                                         Stock
 Boston, MA 02108

 Promerica Capital LLC                                               Series BB      3,699
 Spinnaker Capital LLC                                               Preferred
 One Joy St.                                                         Stock
 Boston, MA 02108




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Promerica Capital LLC                                               Series CC      2,098
 Spinnaker Capital LLC                                               Preferred
 One Joy St.                                                         Stock
 Boston, MA 02108

 Promerica Capital LLC                                               Series DD      733
 Spinnaker Capital LLC                                               Preferred
 One Joy St.                                                         Stock
 Boston, MA 02108

 Prysm AV Investors, L.L.C.
 2000 University Ave. #602
 Palo Alto, CA 94303

 Qingpin Wang                                                        Common Stock 24,893



 Raju G. Varadha                                                     Common Stock 230,000
 1755/12-2, 8th Cross 5th B
 Main Road, R.P.C. Layout
 Karnataka, INDIA
 560040

 Rich Ngoc Tran                                                      Common Stock 10,000
 9 Taj Dr.
 Worcester, MA 01605

 River Edge Partners LLC                                             Series AA      11,416
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 River Edge Partners LLC                                             Series BB      2,140
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 River Edge Partners LLC                                             Series CC      1,213
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108

 River Edge Partners LLC                                             Series DD      424
 Spinnaker Capital LLC                                               Preferred
 One Joy Street                                                      Stock
 Boston, MA 02108




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                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Robert E. Kusy                                                      Common         17,500
 72 Lee Street West                                                  Street
 West Boylston, MA 01583

 Rochelle R. Kivell Descendants Trust                                Common Stock 6,068



 Rockee M. Tanimoto                                                  Common Stock 2,100
 P.O. Box 4331
 Santa Clara, CA 95056

 Roger Hajjar                                                        Common Stock 3,902.500
 1050 Camino Ricardo
 San Jose, CA 95125

 Ruben Gruber                                                        Common Stock 1,707



 Ruchi Jain Trust                                                    Common Stock 750,000
 Akhil Saklecha, Trustee
 24443 Shadow Ridge Lane
 Akron, OH 44333

 RWG Investments LLC                                                 Common Stock 7,225



 Ryan Mau Vu                                                         Common Stock 2,125
 5975 Hansen Drive
 Pleasanton, CA 94566

 S. Atiq Raza and Nandini Saraiya                                    Series EE      17,262
 JTWROS                                                              Preferred
                                                                     Stock

 Sangho Byun                                                         Common Stock 100
 3133 Shelter Cove Place
 Davis, CA 95616

 Scott Matson Living Trust                                           Common Stock 89,430



 Sergey Bukesov                                                      Common Stock 40,000
 204 Parker Street Acton
 Village of Nagog Woods, MA 01718




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Shawn Worsell                                                       Common Stock 10,000
 1434 Maddux Drive
 Redwood City, CA 94061

 Sirac Participations SA                                             Common Stock 91,023



 Societe Civile Ofrec                                                Common Stock 95,077
 c/o Nicole Ortiz
 34 Avenue, Raphael
 75016 Paris
 FRANCE

 Solomon Family Trust                                                Common Stock 158,097
 Dated 1/10/05

 Sreenivasarao Banda                                                 Common Stock 18,997
 301 Main Street
 Unit 32F
 San Francisco, CA 94105

 Stanhope Investments                                                Common Stock 2,184,359
 Silver Tower, Corniche Rd.
 P.O. Box 61999
 Abu Shabi, UAE

 Stephanie Hom                                                       Common Stock 22,165
 1711 20th Ave
 San Francisco, CA 94122

 Stephen D. LaForge                                                  Common Stock 1,245
 474 Park Place Petaluma
 Petaluma, CA 94954

 Stephen L. Combs                                                    Common Stock 2,500
 282 20th Avenue
 San Francisco, CA 94121

 Stephen Lasecki                                                     Common Stock 10,625
 2969 NW Shevlin Meadow Dr.
 OR 97703

 Strategic Partners IV VC                                            Common Stock 481,403
 Holdings L.P.
 345 Park Ave.
 New York, NY 10154




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Strategic Partners VII                                              Common Stock 455,117
 Investments , L.P.
 345 Park Ave
 New York, NY 10154

 Sudhir Ispahani                                                     Common Stock 2,066
 2681 Mount Royal Drive
 Castle Rock, CO 80104

 Sujith Shivanna                                                     Common Stock 900
 Shivaloka, 6th Cross
 Ashok Nagar, Tumkur
 572102
 INDIA

 Sunay Narkar                                                        Common Stock 5,000
 305 Gaurav Arcade I First Cross
 Manorayan Palya
 Bangalore, Karnataka State
 560 032 INDIA

 Sununu Enterprises LLC                                              Common Stock 35,000
 Attn: James Sununu
 121 Water St. Unit 1W
 P.O. Box 1001
 Exeter, NH 03833

 Sununu Holdings LLC                                                 Common Stock 11,250
 c/o James G. Sununu
 121 Water St., Unit 1W
 P.O. Box 1001
 Exeter, NH 03833

 Surendrareddy Tippareddy                                            Common Stock 550
 Paluru (Post) & (Vill) Kandukur (Mandal)
 Prakasam (D.T.) Andhra Pradesh
 523 105
 INDIA

 Susan Kent                                                          Common Stock 24,375
 126 May Avenue
 Santa Cruz, CA 95062

 Sutrave Purushotham Rao,                                            Common Stock 600
 Prashanth Kumar,
 #48 Arunachalam Mudaliar Road
 Bhorathi Nagar, Bangalore-1
 INDIA



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 SVB Financial Group                                                 Common Stock 152,202
 Silicon Valley Bank
 80 East Rio Salado Pkwy
 Suite 600
 Tempe, AZ 85281

 Swadesh Family Trust                                                Common Stock 14,238



 Takeshi Hagio                                                       Common Stock 5,000
 58-17 Yatsumachi
 Kanazawa-ku Yokohama City
 Kanagawa-ken
 236-0016

 Tao Shen                                                            Common Stock 32,143



 Terracotta Limited                                                  Common Stock 60,682
 Terracotta Limited
 23-25 Broad Street, St. Helier
 Jersey, VE4 8ND
 Channel Islands

 The Chellam Family Trust                                            Common Stock 115,340
 dated 1/28/88
 Attn: Kris Chellam, Trustee
 15144 El Camino Grande
 Saratoga, CA 95070

 The LV=Pension Trustee Limited                                      Common Stock 75,853



 The Wilson 1999 Trust                                               Common Stock 257,013
 U/D/T 7/23/9

 ThinkTiv, Inc.                                                      Common Stock 20,254
 1011 San Jacinto Blvd.
 #202
 Austin, TX 78701

 Timon J. Malloy                                                     Common Stock 15,171



 Trocadero Investments Ltd.                                          Common Stock 117,890




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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Udden Ltd.                                                          Common Stock 6,561
 Attn: Agnita Solomon
 Mill Mall Tower 2nd Floor
 Wickhams Cay 1, P.O. Box 4406 Road Town
 Tortola, BVI

 Vendome Capital LLC                                                 Common Stock 399,031
 Thomas G. McKinley Managing Member
 325 Front St.
 PMB 410
 Evanston, WY 82930

 Venkatesan Ramamoorthy                                              Common Stock 37,500
 47/S2-Siri Apartment
 7th Cross, 6th Main,
 Malleswaram, Bangalore 560003
 INDIA

 Warren-Long Trust                                                   Common Stock 3,792
 U/A DTD 05/17/2002

 Waynie Mayo                                                         Common Stock 3,333
 291 W. Capitol Ave
 Milpitas, CA 95035

 William J. Raduchel Revocable Trust                                 Common Stock 15,171



 William McAdam                                                      Common Stock 2,529



 WS Investment Co., LLC                                              Common Stock 118,750
 WSGR Attn: James Terranova
 650 Page Mill Rd.
 Palo Alto, CA 94304

 WS Investment Company LLC (2005D)                                   Common Stock 22,967
 WSGR Attn: James Terranova
 777 California St
 2nd Floor
 Palo Alto, CA 94304

 WS Investment Company, LLC                                          Common Stock 72,815
 WSGR Attn: James Terranova
 650 Page Mill Rd
 Palo Alto, CA 94304




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                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      Prysm, Inc.                                                                                     Case No.
                                                                                  Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Prysm, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Artiman Ventures Special
 Opportunities Fund LP
 1731 Embarcadero Rd.
 Suite 212
 Palo Alto, CA 94303
 Kuwait Investment Authority
 Ministries Complex- Block No. 3
 P.O. Box 64- Safat 13001
 KUWAIT




 None [Check if applicable]




   
 Date                                                                Charles J. Brown, III DE 3368
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Prysm, Inc.
                                                                     Gellert Scali Busenkell & Brown, LLC
                                                                     1201 N. Orange Street
                                                                     Suite 300
                                                                     Wilmington, DE 19801
                                                                     302-425-5813 Fax:302-425-5814
                                                                     cbrown@gsbblaw.com




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                          CERTIFICATE OF RESOLUTION
                     AUTHORIZING PREPARATION FOR FILING OF
                    VOLUNTARY PETITION FOR REORGANIZATION
                   UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

               At a special meeting of the Board of Directors (the “Board of Directors”) of
Prysm, Inc., a Delaware corporation (the “Corporation”), duly constituted and held on July 29,
2020, the following resolutions were discussed and thereafter adopted by unanimous consent:

                WHEREAS, the Board of Directors of the Corporation has evaluated and
considered the financial condition, results of operations and projected cashflows of the
Corporation, the Corporation’s efforts to secure additional debt or equity financing, the results of
those efforts, the offer received by the Corporation to acquire the Corporation and its software
business through a reorganization of the Corporation, options available to the Corporation and
prospects for maximizing the value of the Corporation and returns to the stakeholders of the
Corporation and information and recommendations of its executive officers of, and counsel to,
the Corporation concerning the financial condition of the Corporation; and

               NOW, THEREFORE, BE IT:

                RESOLVED, that in the judgment of the Board of Directors, it is in the best
interests of the Corporation, its creditors, stockholders and other interested parties, that a petition
for reorganization of the Corporation be filed under the provisions of Chapter 11 of Title 11 of
the United States Code (the “Bankruptcy Code”);

               RESOLVED, that the terms of the proposed Chapter 11 Plan of Prysm, Inc., the
draft Interim Order Authorizing the Corporation to Obtain Post-Petition Secured Financing from
ESW Capital, LLC and the Restructuring Support Agreement, all in the form provided to the
Board of Directors (the “Reorganization Documents”) are hereby approved and the Authorized
Officer (as defined below) is hereby authorized and directed to execute and deliver to the
appropriate parties, in the name and on behalf of the Corporation, the Reorganization
Documents, together with all schedules and exhibits thereto, and such other agreements,
instruments and documents as may be necessary or appropriate to consummate the transactions
contemplated thereby, together with such changes and modifications as such Authorized Officers
may deem necessary or appropriate, such Authorized Officer’s approval to be conclusively
evidenced by the execution and delivery of any such agreement, instrument, certificate or related
document.

              RESOLVED, that the Chief Executive Officer (the “Authorized Officer”) is
hereby authorized, empowered and directed, on behalf of the Corporation, to take all necessary
actions and make all necessary preparations for the Corporation to commence a case under
Chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”), and to commence the Chapter 11
Case, in the venue that the Authorized Officer deems appropriate and at such time that the
Authorized Officer deems appropriate, in the exercise of his discretion and professional
expertise;
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               RESOLVED, that the Authorized Officer of the Corporation shall be and hereby
is authorized and directed to do and perform all such acts and things to be prepared to execute
and file all petitions, plans, pleadings, schedules, lists, statements, applications, documents,
certificates and other papers, and to take such other steps as may be deemed necessary or
desirable in order to conduct a case under Chapter 11 of the Bankruptcy Code and to effectuate a
reorganization of the Corporation under Chapter 11 as is deemed appropriate;

                RESOLVED, that the Corporation shall employ, subject to any requisite
bankruptcy court approval, the law firm of Gellert Scali Busenkell and Brown, LLC as general
reorganization counsel to represent and assist the Corporation in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights and
obligations, including filing any pleadings; and in connection therewith, the Authorized Officer
is hereby authorized and directed to cause to be filed an appropriate application for authority to
retain the services of Gellert Scali Busenkell & Brown, LLC;

               RESOLVED, that the Corporation shall employ, subject to any requisite
bankruptcy court approval, such other professionals and persons as the Authorized Officer
determines are necessary in order to conduct the Chapter 11 Case and to operate the business
while subject to the jurisdiction of the Bankruptcy Court;

               RESOLVED, that the Authorized Officer may, in his sole discretion, terminate or
assign the 401(k) program for employees of the Corporation;

                RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Officer, the Authorized Officer and such other officers of the Corporation
as any Authorized Officer shall from time to time designate, and any employees or agents
(including counsel) designated by or directed by any such Authorized Officer, be authorized and
empowered to cause the Corporation to enter into, execute, deliver, certify, file and/or record,
and perform such agreements, instruments, motions, declarations, affidavits, applications for
approvals or ruling of governmental or regulatory authorities, certificates and other documents,
and to take such other actions as in the judgment of such officer shall be or become necessary,
proper and desirable to conduct the Chapter 11 Case and to effectuate a reorganization or
liquidation of the Corporation as is deemed appropriate; and

                RESOLVED, that any and all actions heretofore or hereafter taken by the officers
or directors of the Corporation in the name of and on behalf of the Corporation in furtherance of
any or all of the foregoing resolutions are hereby ratified and confirmed in their entirety.

               I, the undersigned, Corporate Secretary of Prysm, Inc., do hereby certify that the
foregoing is a true, complete and accurate copy of the resolutions duly adopted by the Board of
Directors of said Corporation by unanimous consent; and I do further certify that these
resolutions have not been altered, amended, repealed or rescinded and are now in full force and
effect.

               The undersigned further certifies that the Board of Directors had at the time of the
adoption of said resolutions full power and authority to adopt said resolutions, and that the Board
of Directors now has said power and authority.
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               IN WITNESS WHEREOF, I have hereunto subscribed my name and affixed the
corporate seal of Prysm, Inc. this 29 day of July, 2020.



                                         By:


                                         Name: Asaf Kharal
                                         Title: Corporate Secretary
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PRYSM, INC.          Case 20-11924-JTD  Doc 1 CLEANROOM
                                    ADVANCED    Filed 08/05/20    Page 159 of 166 II ELECTRONICS, INC
                                                                        AMERICA
513 FAIRVIEW WAY                    MICROCLEAN CORPORATION              C/O ALTUS RECEIVABLES MGMN
MILPITAS, CA 95035                  C/O VERICORE, LLC                   ATTN: GRACE ALLEN
                                    10115 KINCEY AVE., STE. 100         2400 VETERANS BLVD, STE. 300
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                                    HUNTERSVILLE, NC 28078              KENNER, LA 70062

CHARLES J. BROWN, III            AIRGAS                                 AMERICA II ELECTRONICS, INC.
GELLERT SCALI BUSENKELL & BROWN, C/O
                                  LLC D&S, LTD.                         PO BOX 21355
1201 N. ORANGE STREET            13809 RESEARCH BLVD.                   SAINT PETERSBURG, FL 33742
SUITE 300                        STE. 800
WILMINGTON, DE 19801             AUSTIN, TX 78750

11711 N. COLLEGE LLC                AIRGAS USA, LLC                     AMGEN- HQ
9339 PRIORITY WAY WEST DR           PO BOX 734445
SUITE 120                           CHICAGO, IL 60673-4445
INDIANAPOLIS, IN 46240


11711 N. COLLEGE LLC                AKHIL SAKLECHA                      APTTUS CORPORATION
C/O CHANO REAL ESTATE               360 W. HUBBARD ST.,                 1400 FASHION ISLAND BLVD,
PARTNERS                            APT. 2909                           SUITE 100
7215 E. 21ST ST.                    CHICAGO, IL 60654                   SAN MATEO, CA 94404
INDIANAPOLIS, IN 46219

AAN INVESTMENT LLC                  ALLIANCE MAINTENANCE                AR JAIN MANAGEMENT LLC
7540 WINDSOR DR.                    318 WEST 39TH STREET,               180 BAYTECH DR.
SUITE 210                           7TH FLOOR                           SAN JOSE, CA 95134
ALLENTOWN, PA 18195                 NEW YORK, NY 10018


ACC BUSINESS                        ALLIED ELECTRONICS                  ARENA SOLUTIONS, INC.
PO BOX 105306                       PO BOX 2325                         PO BOX 122637
ATLANTA, GA 30348-5306              FORT WORTH, TX 76113                DALLAS, TX 75312-2637




ADDUCI MASTRIANI                    ALPS ELECTRIC                       ARTEGIS LAW GROUP, LLP
 & SCHAUMBERG                       (NORTH AMERICA), INC.               710 LAKEWAY DR.,
1133 CONNECTICUT AVENUE N.W.        P.O. BOX 677917                      SUITE 185
WASHINGTON, DC 20036                DALLAS, TX 75267-7917               SUNNYVALE, CA 94085


ADOBE                                                                ARTIMAN VENTURES SPECIAL
                                    ALPS ELECTRIC (NORTH AMERICA), INC.
345 PARK AVE                                                         OPPORTUNITIES FUND LP
SAN JOSE, CA 95110                                                   1731 EMBARCADERO RD.
                                                                     SUITE 212
                                                                     PALO ALTO, CA 94303

ADP                                 AMAZON WEB SERVICES                 ASEEM SAKLECHA
                                    410 TERRY AVE NORTH                 7188 SHARON DRIVE
                                    SEATTLE, WA 98109-5210              SAN JOSE, CA 95129




ADVANCED CLEANROOM                  AMAZON WEB SVCS, INC.               ASIA OPTICAL INT'L, LTD.
MICROCLEAN CORP.                    PO BOX 84023                        PALM GROVE HOUSE
3250 S SUSAN ST., STE. A            SEATTLE, WA 98124-8423              P.O. BOX 438
SANTA ANA, CA 92704                                                     TORTOLA, BVI
AT&T               Case   20-11924-JTD  Doc
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                                          AUDIO     08/05/20
                                                VISUAL         Page 160 of 166HOUSE
                                                                     BRIGHT
P.O. BOX 5019                                                        NETWORKS, LLC
CAROL STREAM, IL 60197                                               PO BOX 790450
                                                                     SAINT LOUIS, MO 63179-0450


AT&T                               BASF CORPORATION                  CANTEEN REFRESHMENT
PO BOX 5025                        100 PARK AVE                      SERVICES
CAROL STREAM, IL 60197-5025        FLORHAM PARK, NJ 07932            PO BOX 50196
                                                                     LOS ANGELES, CA 90074-0196


AT&T MOBILITY                      BAY ALARM                         CANTEEN REFRESHMENT
P.O. BOX 6463                      491 GIANNI STREET                 SERVICES
CAROL STREAM, IL 60197             SANTA CLARA, CA 95054             BREWMASTER COFFEE & TEA
                                                                     PO BOX 91337
                                                                     CHICAGO, IL 60693

ATLAS PRIVATE                      BDO USA LLP                       CAPGEMINI TECHNOLOGY SERVIILT
                                                                                                 N
SECURITY, INC.                     PO BOX 677973
1735 N 1ST STREET                  DALLAS, TX 75267-7973
#104
SAN JOSE, CA 95112

ATLASSIAN - SAN FRANCISCO          BIRD & BIRD ATMD LLP              CARLSON QUINN
LEVEL 6, 341 GEORGE ST             2 SHENTON WAY #18-01              2000 POWELL STREET
SYDNEY NSW 2000                    SGX CENTRE 1                      SUITE 1600
AUSTRALIA                          SINGAPORE CHINA                   EMERYVILLE, CA 94608
                                    68804

AUDIO-TECHNIA CORP.                BLACK MEADOW LIMITED              CERTENT. INC.
TECHNIA-HOUSE                      1C CANTONMENT RD. #39-29          P.O. BOX 398688
1-8-3 YUSHIMA                      SINGAPORE 085301                  SAN FRANCISCO, CA 94139
BUNKYO-KU- TOKYO                   REPUBLIC OF SINGAPORE
JAPAN

AVALARA                            BLUE STAR SERVICES GROUP, INC.    CHANNELTIVITY
255 S. KING ST                     6748 PRESTON AVENUE               1920 ABBOTT STREET
STE. 1800                          SUITE G                           SUITE 303
SEATTLE, WA 98104                  LIVERMORE, CA 94551               CHARLOTTE, NC 28203


AVNET ELECTRONIC                   BOMGAR                            CHANNELTIVITY LLC
MARKETING
PO BOX 100340
PASADENA, CA 91189-0340


AVNET ELECTRONICS                  BP-11A                            CHOFN INTELLECTUAL PROPERT
C/O GLASSBERT POLLACK & ASSOC      SPINNAKER CAPITAL LLC             ZUOANGONGSHE PLAZA, 12TH FL
ATT: ROBERT POLLACK                ONE JOY STREET                    68 N FOURTH ROAD W, HAIDIAN
100 FOURTH ST., STE. 570           BOSTON, MA 02108                  BEJING- CHINA
SAN RAFAEL, CA 94901

AVOCOR                             BREAKAWAY COMMUNICATIONS          CINTAS FIRE PROTECTION
9375 SW COMMERCE CIRCLE,           381 PARK AVENUE SOUTH             PO BOX 636525
SUITE 7A                           SUITE 1216                        CINCINNATI, OH 45263-6525
WILSONVILLE, OR 97070              NEW YORK, NY 10016
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CLIX MARKETING HOLDING   CO.            Doc 1 LTD.
                                  CPA GLOBAL   Filed 08/05/20   Page 161 of 166
                                                                      DIVCO  WEST REAL ESTATE
13900 HARBOUR VIEW COURT          P.O. BOX 894160                     SERVICES, LLC
PROSPECT, KY 40059                ALEXANDRIA, VA 22314                575 MARKET STREET,
                                                                       35TH FLOOR
                                                                      SAN FRANCISCO, CA 94105

CMP ADVANCED                       CRANE WORLDWIDE                    DIVCO WEST REAL ESTATE SERLL
MECHANICAL SOLUTIONS LTD.          SAN FRANCISCO                      150 CALIFORNIA ST.
1241 CASCADES                      P.O. BOX 844174                    SUITE 1200
CHATEAUGUAY, QUEBEC J6J 4Z2        DALLAS, TX 75284                   SAN FRANCISCO, CA 94111
CANADA

COMCAST                            DARWIN CHAMBERS                    DIVERSIFIED SYSTEMS LLC
C/O WINDHAM PROFESSIONALS          2945 WASHINGTON AVE.
ATTN: MICHAEL                      SAINT LOUIS, MO 63103
382 MAIN STREET
SALEM, NH 03079-2412

COMCAST                            DEKOM                              DUKE ENERGY
C/O WINDHAM PROFESSIONALS                                             C/O HELVEY & ASSOCIATES
382 MAIN ST.                                                          1015 E CENTER STREET
SALEM, NH 03079                                                       WARSAW, IN 46580-3420


COMED                              DELL MARKETING L.P.                DUKE ENERGY
C/O CREDIT COLLECTION SERVICES     PO BOX 910916                      PO BOX 1326
725 CANTON STREET                  PASADENA, CA 91110                 CHARLOTTE, NC 28201-1326
NORWOOD, MA 02062


COMED                              DELOITTE BELASTINGADVISEURS B.V. DVIGEAR, INC.
PO BOX 6111                        3072 AP ROTTERDAM                1059 TRIAD COURT,
CAROL STREAM, IL 60197-6111        P.O. BOX 2031                    SUITE 8
                                   ROTTERDAM, NETHERLANDS 3000      MARIETTA, GA 30062


CONCUR TECHNOLOGIES                DENKA CORP.                        EDGE MECHANICAL, INC.
62157 COLLECTIONS CENTER DR.       780 THIRD AVE.                     619 N COUNTY RD. 1050 E
CHICAGO, IL 60693                  8TH FL.                            INDIANAPOLIS, IN 46234
                                   NEW YORK, NY 10017


CONTRAST DESIGN WORKS              DIRECTV                          EGNYE
TALENT TABLE LLC                   C/O SEQUIUM ASSET SOLUTIONS, LLC
1330 BROADWAY                      1130 NORTHCHASE PARKWAY,
SUITE 1530                         SUITE 150
OAKLAND, CA 94612                  MARIETTA, GA 30067

CORNICHE CAPITAL HOLDINGS INC.     DIRECTV                            EGNYTE
                                   PO BOX 105249
MDE'S BLDG., 2ND FL., PURCELL ESTATE
PO BOX 4406                        ATLANTA, GA 30348-5249
TORTOLA, VG 1110, BVI


CORPORATE WRITERS LLC              DISCARTES VISUAL COMPLIANCE USA EL
                                                                   LLCBABA SMART
199 COOLIDGE AVE. #115             P.O. BOX 404037                 TECHNOLOGY
WATERTOWN, MA 02472-1521           ATLANTA, GA 30384-4037          DUBAI WORLD CENTRAL
                                                                   PO BOX 712948
                                                                   DUBAI, AE
                   CaseLLC
EMERALD EXPOSITIONS,     20-11924-JTD
                                   FISH &Doc 1 Filed 08/05/20
                                           RICHARDSON           Page 162 of 166 PARTNER GROUP LLC
                                                                      HARMONY
31910 DEL OBISPO, STE 200          P.O. BOX 3295                      SPINNAKER CAPITAL LLC
SAN JUAN CAPISTRANO, CA 92675      BOSTON, MA 02241                   ONE JOY STREET
                                                                      BOSTON, MA 02108


EMS                                FLAGG LIVING TRUST                 HUBSPOT, INC.
                                   U/A DTD 2/11/2002                  PO BOX 419842
                                   1199 CAMINO VALLECITO              BOSTON, MA 02241-9842
                                   LAFAYETTE, CA 94549


ENL ELECTRONICS CORP               FOCUS MANUFACTURING CO., LTD       HW FARREN, LLC
FL 7, 180, CHAN AN ST.                                                PO BOX 5052
LU CHOU                                                               WHITE PLAINS, NY 10602-5052
TAIPEI
TAIWAIN

ENL ELECTRONICS CORP.              GARTNER, INC.                      INFLOW TECHNOLOGIES PVT LT
FL 7, 180, CHAN AN ST,             C/O SHIPMAN & GOODWIN
 LU CHOU                           300 ATLANTIC STREET
TAIPEI- TAIWAN                     STAMFORD, CT 06901-3522


ESRT 1350 BORADWAY LLC             GARTNER, INC.                      INTELLIGENT SYSTEMS
P.O. BOX 28627                     PO BOX 911319                      14630 DEERWOOD DR
NEW YORK, NY 10087-8627            DALLAS, TX 75391-1319              CARMEL, IN 46033




EXTRON LOGISTICS, LLC              GII PRYSM INVESTMENTS            IP SEXTANT S.R.L
496 SOUTH ABBOTT AVE               GULF ISLAMIC INVESTMENTS         VIA A. SALANDRA, 18
MILPITAS, CA 95035                                                  ROMA- ITALY
                                   501 TOWER 2, BLVD. PLAZA, DOWNTOWN
                                   DUBAI, UAE                       00187 00187


FB/GOOGLE/LINKED/TWITTER/YOUTUBE GODADDY                              IRON MOUNTAIN
                                                                      P.O. BOX 601002
                                                                      PASADENA, CA 91189




FEDEX                              GORE CREEK LLC                     J&J MACHINE COMPANY
PO BOX 7221                        SPINNAKER CAPITAL LLC              66 B BRINGHAM ST.
PASADENA, CA 91109                 ONE JOY STREET                     MARLBOROUGH, MA 01752
                                   BOSTON, MA 02108


FIDELITY                           GRAINGER                           JENSEN TOOLS & SUPPLY
                                   2261 RINGWOOD AVE.                 DEPT LA 21458
                                   SAN JOSE, CA 95131-1717            PASADENA, CA 91185-1458




FIRST VIDEO COMMUNICATIONS FZ-LLCGREYWALL INC.                        JOHN KRYZANOWSKI
                                 144 BEAR SWAMP RD.                   820 GRAPESTONE LANE
                                 EAST HAMPTON, CT 06424               SONOMA, CA 95476
                   CaseINC.
JP METAL FABRICATION,    20-11924-JTD   Doc
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                                          VALLEY    08/05/20
                                                 HEALTH      Page
                                                         NETWORK    163 of 166 CORP.
                                                                     MICROSOFT
3355 WOODWARD AVENUE                                                 P.O. BOX 369
SANTA CLARA, CA 95054                                                GOLDENROD, FL 32733




JW PLAYER                         LESSONLY, INC.                     MIN AIK TECHNOLOGY CO. LTD.
                                  1129 E 16TH ST.                    12F-1, #492-1, SEC.1,
                                  INDIANAPOLIS, IN 46202             WAN SHOU RD.,
                                                                     KUEI SHAN SHIANG, TAO YUAN H
                                                                     TAIWAN

KALPENDU SHASTRI                  LEVEL 3 COMMUNICATIONS             MINAIK AND EYESAVER
5529 WILLOW WAY                   PO BOX 910182
OREFIELD, PA 18069                DENVER, CO 80291-0182




KASTLE NEW YORK LLC               LOGMEIN                            MIRON CONSTRUCTION
655 THIRD AVENUE,                 P.O. BOX 50264
SUITE 1520                        LOS ANGELES, CA 90074
NEW YORK, NY 10017


KOPERCREST CAPITAL HOLDINGS INC. LOHIKA SYSTEMS INC                  MOENCO
MILL MALL TOWER, 2ND FL          1001 BAYHILL DRIVE
WICKHAMS CAY 1, P.O. BOX 4406    # 108
ROAD TOWN, TORTOLA, BVI          SAN BRUNO, CA 94006


KUWAIT INVESTMENT AUTHORITY       LOHIKA SYSTEMS INC.                MOMENTUM MICROSYSTEMS, IN
MINISTRIES COMPLEX- BLOCK NO. 3   1001 BAYHILL DRIVE                 2030 DUANE AVE. # 110
P.O. BOX 64- SAFAT 13001          #108                               SANTA CLARA, CA 95054
KUWAIT                            CA 94006


LABVIEW                           LOJE REALTY HOLDINGS LLC           MPEG LA, LLC




LARSEN & TOUBRO LIMITED           MACINTOSH II LLC                   MYOFFICEPRODUCTS, LLC
                                  SPINNAKER CAPITAL LLC              C/O HTBS CREDIT
                                  ONE JOY STREET                     PO BOX 930257
                                  BOSTON, MA 02108                   ATLANTA, GA 31193-0257


LAW ROOM                          MECHANICAL MGMT, INC.              MYOFFICEPRODUCTS, LLC
                                  1501 MAIN STREET,                  P.O. BOX 32192
                                  UNIT 27                            NEW YORK, NY 10087-2192
                                  TEWKSBURY, MA 01876


LEAN & LOCAL                      MICROSOFT CORP.                    NATIONAL MACHINING & ENGINE
LEAN BOX                          1950 N STEMMONS FWY SUITE 5010     42285 OSGOOD ROAD
60 MASSACHUSETTS AVE              LB # 842467                        SUITE C
BOSTON, MA 02115                  DALLAS, TX 75284                   FREMONT, CA 94539
NETSUITE, INC.      Case   20-11924-JTD  Doc 1 TO
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                                                                       PR of 166
                                                                           NEWSWIRE ASSOCIATION, LL
2955 CAMPUS DR.                     5251 KESSLER BLVD NORTH DR.        C/O ABC/AMEGA
STE. 100                            INDIANAPOLIS, IN 46228             500 SENECA ST.
SAN MATEO, CA 94403                                                    STE. 400
                                                                       BUFFALO, NY 14204

NEWPORT CORPORATION                 PANASONIC INDUSTRIAL DEVICES       PRODIGIO DESIGN LTD.
27631 NETWORK PLACE                 SALE COMPANY OF AMERICA            4 BAKERSGATE COURTYARD
CHICAGO, IL 60673-1276              P.O. BOX 100361                    PIRBRIGHT
                                    PASADENA, CA 91189-0361            SURREY, UK GU24 ONJ
                                                                       ENGLAND

                                PATTERSON & SHERIDAN LLP
NEWTEK SMALL BUSINESS FINANCE, LLC                                     PROMERICA CAPITAL LLC
1981 MARCUS AVE.                PO BOX 846274                          SPINNAKER CAPITAL LLC
SUITE 130                       DALLAS, TX 75284                       ONE JOY ST.
NEW HYDE PARK, NY 11042                                                BOSTON, MA 02108


NFP CORPORATE SERVICES, LLC         PCM TIGER DIRECT                   PROSHRED SECURITY
176 FEDERAL STREET                  FILE 55327                         3140 N. SHADELAND AVE
BOSTON, MA 02110                    NEED MAILING ADDRESS               INDIANAPOLIS, IN 46226
                                    LOS ANGELES, CA 90074-5327


NICHIA                              PEPPER ASSETS SERVICES             PRUDENTIAL OVERAL SUPPLY CS
                                                                       C/O STA INTERNATIONAL
                                                                       PATRICIA CONETTA
                                                                       225 BROADHOLLOW ROAD, STE. 15
                                                                       MELVILLE, NY 11747-4822

NORTH POINT PARTNER LLC             PERKINS COIE                       PRUNDENTIAL OVERALL SUPPLY
SPINNAKER CAPITAL LLC               PO BOX 24643                       CLEANROOM SERVICE
ONE JOY STREET                      SEATTLE, WA 98124-0643             P.O.BOX 11210
BOSTON, MA 02108                                                       SANTA ANA, CA 92711-1210


OCR                                 POLYCOM                            PRYSM AV INVESTORS, L.L.C.
PO BOX 369                                                             2000 UNIVERSITY AVE. #602
GOLDENROD, FL 32733                                                    PALO ALTO, CA 94303




OLYMPIC PRODUCTS INC.               POLYMERSHAPES LLC                  PRYSM, INC.
2825 N ARLINGTON AVE                65 MIDDLESEX RD.                   45 BARTLETT STREET
INDIANAPOLIS, IN 46218              TYNGSBORO, MA 01879                MARLBOROUGH, MA 01752




OMEGA ENGINEERING, INC.             PQ LABS                            PRYSM, INC.- HEADQUARTERS L
26904 NETWORK PLACE                 3754 SPINNAKER COURT               180 BAYTECH DR.
CHICAGO, IL 60673-1269              FREMONT, CA 94538-6537             SUITE 200
                                                                       SAN JOSE, CA 95134


ORCAD                               PR NEWSWIRE                        PURE HEALTH
                                    ASSOCIATION, LLC                   SOLUTIONS, INC.
                                    GPO BOX 5897                       PO BOX 5066
                                    NEW YORK, NY 10087-5897            HARTFORD, CT 06102-5066
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PURE HEALTH SOLUTIONS,   INC.          Doc 1 Filed
                                  SERVICENOW,   INC. 08/05/20    Page 165 of 166 BUSINESS
                                                                       SPECTRUM
P.O. BOX 5066                     PO BOX 731647                        TIME WARNER CABLE
HARTFORD, CT 06102                DALLAS, TX 75373-1647                PO BOX 742663
                                                                       CINCINNATI, OH 45274-2663


R&D TECHNICAL SERVICES, INC.       SERVICENOW, INC.                    SPIRE HRA
PO BOX 1162                        P.O. BOX 731647                     ONE O'HARE, LP
SANTA CLARA, CA 95052              DALLAS, TX 75373-1647               1700 BROADWAY
                                                                       SUITE 650
                                                                       DENVER, CO 80290

REFERENTIAL, INC.                  SFO TECHNOLOGIES PVT.LTD            SQUIRRELS LLC
1150 HILLSDALE AVE.,               ELECTRONICS DIVISION                121 WILBUR DR. NE
SUITE 100                          PLOT NO. 36/37,                     NORTH CANTON, OH 44720
SAN JOSE, CA 95118                 CSEZ, KAKKANAD 682 037
                                   COCHIN- INDIA

REPUBLIC SERVICES, INC.            SHARP ELECTRONICS                   STERNBACH, LAWLOR & RELLA LL
P.O. BOX 78829                     DEPT LA 21510                       ATTN: TODD D. LAWLOR, ESQ.
PHOENIX, AZ 85062                  PASADENA, CA 91185-5000             261 MADISON AVE, 9TH FLOOR
                                                                       NEW YORK, NY 10016


RIVER EDGE PARTNERS LLC            SHI INTERNATIONAL CORPORATION       SUN STRONG PRECISION METAIN LT
SPINNAKER CAPITAL LLC              P.O. BOX 41602                      ROOM 7-9, 12F, PENINSULA TOW
ONE JOY STREET                     PHILADELPHIA, PA 19101-1602         538 CASTLE ROAD
BOSTON, MA 02108                                                       CHEUNG SHA WAN
                                                                       KOWLOOM, HONG KONG

S. ATIQ RAZA AND                   SHI INTERNATIONAL CORPORATION       SUN STRONG PRECISION METALIN
NANDINI SARAIYA, JTWROS            P.O. BOX 952121                     ROOM 7-9,12F, PENINSULA TOWE
1781 ARASTRADERO RD.               DALLAS, TX 75395-2121               538 CASTLE ROAD
PALO ALTO, CA 94304                                                    CHEUNG SHA WAN, KOWLOOM
                                                                       HONG KONG

SALESFORCE.COM, INC.               SHIPMAN & GOODWIN LLP               TEKRA CORPORATION
P.O. BOX 203141                    ATTN: ALISON P. BAKER, ESQ.         8084 SOLUTIONS CENTER
DALLAS, TX 75320                   300 ATLANTIC ST., 3RD FLOOR         CHICAGO, IL 60694
                                   STAMFORD, CT 06901


SBMC LAW, P.S.                     SLACK                               TEKTRONIX, INC.
116 W PACIFIC AVENUE                                                   PO BOX 742644
SUITE 200                                                              LOS ANGELES, CA 90074
SPOKANE, WA 99201


SCHMITT INDUSTRIES, INC.           SOLIDWORKS                          TERA AUDI VISUAL ADVANCED S  LL
2765 NW NICOLAI ST                                                     OFFICE NO. 12, FLR 9TH UNION B
PORTLAND, OR 97210                                                     CORNICHE ROAD
                                                                       ABU DHABI, UNITED ARAB EMIRA


SECUREDOCS                         SPECTRUM BUSINESS                TEST EQUITY LLC
                                   C/O ACCESS RECEIVABLES MGMT      100 AMES POND DR.
                                   ATTN: GARY BORROR                SUITE 202
                                                                    TEWKSBURY,
                                   11350 MCCORMICK RD.-EXECUTIVE PLAZA III     MA 01876
                                   HUNT VALLEY, MD 21031
TEXT HUNDRED INDIACase 20-11924-JTD   Doc GLOBAL
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                                                                   WHITLOCK
PRIVATE LTD.                     PACKAGING GROUP
2ND FLOOR, TDI CENTRE,           223 WORCESTER PROVIDENCE TPKE
PLOT NO.7, JASOLA                SUTTON, MA 01590
NEW DELHI- INDIA, AE 00011-0025

THE SCATTER WORKS INC.           UNIGEN CORPORATION                WILSON SONSINI
139 NE LINDEN AVE                39730 EUREKA DR                   GOODRICH & ROSATI
GRESHAM, OR 97030                NEWARK, CA 94560                  P.O. BOX 742866
                                                                   LOS ANGELES, CA 90074


THYSSENKRUPP                     UNIGEN CORPORATION                WINDSTREAM
ELEVATOR CORPORATION             39730 EUREKA DR.                  P.O. BOX 9001013
3100 INTERSTATE NORTH CIR SE     NEWARK, CA 94560                  LOUISVILLE, KY 40290-1013
SUITE 200
ATLANTA, GA 30339-2227

TOLL GLOBAL FORWARDING           UNITED SHEETMETAL INC.            WINSTON D. CHANG
P.O. BOX 894160                  44153 S. GRIMMER BLVD.            2827 LAKEVIEW COURT
LOS ANGELES, CA 90189-4160       FREMONT, CA 94538                 FREMONT, CA 94538




TOWN OF CONCORD                  VISTACOM INC.                     WISETEK
ATTN: MUNICIPAL LIGHTS                                             3200 HUBBARD RD
P.O. BOX 590                                                       HYATTSVILLE, MD 20785
CONCORD, MA 01742-0590


TRIANGLE EXPERIENCE GROUP, INC. VISUALIZEROI                       WISTIA
                                101A CLAY STREET,
                                SUITE 183
                                SAN FRANCISCO, CA 94111


TRIUMPH MODULAR, INC.            VWR INTERNATIONAL                 WOLFE - SBMC
194 AYER RD                      PO BOX 640169                     116 W. PACIFIC AVE.,
LITTLETON, MA 01460              PITTSBURGH, PA 15264              SUITE 300
                                                                   SPOKANE, WA 99201


TRUMP CARD CORP.                 WASTE CONNECTIONS                 WOODEN MCLAUGHLIN LLP
C/O BAXTER BAILEY & ASSOC.       PO BOX 660654                     ATTN: MATTHEW M. ADOLAY, ES
1630 GOODMAN ROAD EAST           DALLAS, TX 75266-0654             ONE INDIANA SQUARE
SUITE 1                                                            SUITE 1800
SOUTHAVEN, MS 38671                                                INDIANAPOLIS, IN 46204

TRUMP CARD CORP.                 WHALE ROCK LLC                    WOODEN MCLAUGHLIN, LLP
23807 ALISO CREEK RD.            56 WINTHROP ST.                   211 N. PENNSYLVANIA ST.
SUITE 200                        CONCORD, MA 01742                 INDIANA SQUARE, STE. 1800
LAGUNA NIGUEL, CA 92677                                            INDIANAPOLIS, IN 46204


UMEC TW                          WHALE ROCK LLC                    WORKATO
3,27TH RD.TAICHUNG               45 WINTHROP ST.                   215 CASTRO STREET,
INDUSTRIAL PARK                  CONCORD, MA 01742                 SUITE 300
TAICHUNG                                                           MOUNTAIN VIEW, CA 94041
TAIWAN
